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 Toxicological Assessment of Dewayne Johnson and Toxicological Risk
Assessment of Glyphosate and Roundup® and Ranger PRO® Formulations


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                                               Toxicologist


                                          December 21, 2017




                                               Prepared for

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                                     Executive Summary
•    History: Available from Monsanto since 1974, glyphosate is a non-selective herbicide
     used on both food crops (either prior to planting or just prior to harvesting) and non-
     food crops. Since that time, use of glyphosate (the active ingredient in Roundup®) has
     greatly expanded and is now used in conjunction with genetically modified organisms
     (GMOs) present in agriculture, forestry, industrial rights-of-way and residential
     applications worldwide. The IARC (International Agency for Research on Cancer)
     recently classified glyphosate as a “probable human carcinogen.”

•    Complaint: Filed by Mr. Dewayne Johnson, the complaint alleges that he has been
     repeatedly exposed to glyphosate contained within Monsanto Roundup® formulations
     and Ranger PRO® in his workplace without adequate warning of its carcinogenicity.
     Mr. Johnson states that his exposures initiated in June of 2012 through the summer
     of 2015. He was diagnosed with T-cell lymphoma1 in August of 2014 while he
     continued to use the products and his condition worsened. He applied Roundup a
     minimum of 20-40 days per year, but deposition testimony reports a higher application
     frequency.2 Each application lasted several hours. His exposures also included some
     severe acute exposures including the soaking of his upper body with glyphosate.

•    Exposure: Toxicologists generally focus on three primary routes of exposure:
     ingestion, inhalation and dermal absorption. This toxicological assessment is primarily
     concerned with dermal absorption of glyphosate. Aspects of absorption are explored
     in some detail.

•    Absorption Characteristics: Dermal contact can occur during mixing, loading and
     application as well as accidental equipment failures such as hose disconnections or
     re-entry after application. Monsanto has attempted to claim (unsuccessfully) that
     dermal penetration through human skin is lower than in rat skin. It is not. Additionally,
     there is evidence of omissions in Monsanto-sponsored dermal absorption study data




1   Final diagnosis was that of a CD4 folliculotropic and syringotropic mycosis fungoides with
    granulomatous features. It should be noted that mycosis fungoides is not related to mushrooms or is
    the disease a fungal infection, but rather, a form of non-Hodgkin’s lymphoma (NHL).
2   Mr. Johnson’s deposition testimony details a substantially higher frequency of glyphosate use.
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    which purport to reduce the apparent percentage of glyphosate absorbed thus
    bringing the value below the minimum required for regulatory approval.

•   Absorption Factors: Additives within Roundup® formulations increase glyphosate
    dermal absorption. These include (a) “co-formulants” (ingredients other than
    glyphosate) such as surfactants (compounds which lower surface tension) and
    humectants (to inhibit moisture loss) and (b) adjuvants (chemicals which modify the
    effect of other agents). Other factors affecting absorption include skin damage such
    as lesions, cracks and other irregularities, lack of personal protective gear, etc. Co-
    formulants are of particular concern as they can be more toxic than glyphosate itself.

•   Pharmacokinetics: This refers to the amount and the rate at which a substance is
    directly absorbed, distributed and metabolized by the body and how much is excreted.
    While normally an objective measurement, there are examples cited herein showing
    that the percent absorbed versus excreted is higher than that purported by the
    manufacturer. Additionally, Monsanto (knowingly or unknowingly) has regularly
    misstated glyphosate dermal absorption recovery in its communications. These are
    regarded as pertinent issues with respect to credibility and weight of evidence.

•   Industrial Secrecy: IARC relied solely on independent research to render its
    conclusion. Monsanto-sponsored studies played little or no part in the IARC
    classification ruling. Similarly, this toxicological assessment has primary relied upon
    independent studies though Monsanto-sponsored studies were also assessed, noting
    inconsistencies and consistencies where appropriate.

•   Regulatory Considerations: Regulatory rulings play a role no more or less important
    in a toxicological assessment than any other objective evidence. It is noteworthy that
    there is presently disagreement within the U.S. EPA itself with respect to some of the
    issues raised in this assessment. Although the State of California listed glyphosate as
    a carcinogen on July 7, 2017, this toxicological assessment does not assume any
    position of advocacy. The opinions expressed herein are based on objective, reliable
    evidence without deviation from the assessment methodology.

•   Carcinogenic Studies: This assessment takes into account numerous studies and
    cancer bioassays in animals as well as chronic dietary studies and carcinogenicity



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    studies in rats and mice. The results of each study were assessed on their merits and
    their review occupies a considerable portion of this report.

•   Human Epidemiological Studies: Due to the volume of epidemiological studies as
    well as the need for a fully qualified epidemiological assessment, I will be deferring
    any detailed epidemiological opinions in this matter to Christopher J. Portier, Ph.D.,
    Director of the National Center for Environmental Health and Director of the Agency
    for Toxic Substances and Disease Registry (ATSDR); Beate Ritz, M.D., Ph.D.,
    Professor of Epidemiology at the University of California, Los Angeles (UCLA) Fielding
    School of Public Health and former chair of the UCLA Epidemiology Department; and
    Alfred I. Neugut, M.D., Ph.D., Professor of Cancer Research and Professor of
    Medicine and Epidemiology at Columbia University.

•   Animal Carcinogenicity Studies: The toxicological methodology for carcinogenic
    assessment is specific and was applied consistently herein as standard risk
    assessment criteria. This includes dose-response data, extrapolation methods,
    potential for genotoxicity and other considerations. Extensive footnotes have been
    inserted throughout.

•   Animal and Human studies: It is my opinion to reasonable toxicological certainty
    that correct application of the U.S. EPA methodology results in a finding from the
    available animal studies, as referenced herein, that glyphosate is probably
    carcinogenic. Additionally, the prevailing objective human epidemiological evidence
    (as summarized in this assessment and as documented within the epidemiological
    expert reports and noted in numerous citations) supports the contention that
    glyphosate is a human carcinogen in doses applied in real world applications.
    Additionally, adjuvant formulations and various mixtures of glyphosate have greater
    potential for carcinogenic health risks primarily due to increased dermal absorption.

•   Cancer Risk: Cancer risk is the outcome of pragmatic application of the assessment
    methodology per U.S. EPA guidelines. The calculated cancer risk ranges from a low
    of 9.8 x 10-5 (lowest dietary exposure) to a high of 6.1 x 10-4 (for applicators) based
    on applicator dose measurements. A full mathematical analysis is presented on page
    107. Appendix A shows how the cancer slope factor was derived using U.S. EPA
    modeling software designed for this purpose.


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•   Toxicological Conclusions: Mr. Dewayne Johnson was diagnosed with mycosis
    fungoides (an infrequently encountered, rare T-cell lymphoma) approximately 2.25
    years following his frequent mixing and application duties applying glyphosate
    herbicides for the Benicia Unified School District. Mycosis fungoides is a rare
    malignancy encountered in only 5.6 persons per million. Mr. Johnson’s absorbed
    dose of glyphosate was within the range of that encountered within the generally
    accepted toxicological and epidemiological literature among hydraulic applicators.
    Review of Mr. Johnson’s medical records, deposition testimony and history fails to
    reveal any family history, genetic predisposition, prior occupational chemical
    exposures or lifestyle risk factors that increased his likelihood of developing this
    lymphoma other than his exposure to glyphosate.

    Based on the documented and inherent properties of glyphosate to produce
    lymphoma in animal studies as well as the results of statistically significant human
    epidemiological studies, I am certain to reasonable toxicological certainty that Mr.
    Johnson’s glyphosate exposures induced or significantly contributed to the onset of
    his T-cell lymphoma.



               Part A: Dewayne Johnson Medical History
Background

Mr. Dewayne Johnson was born on January 20, 1972, (current age 45) in Vallejo,
California, where he currently lives. He is African-American. His weight as of 2014 was
noted as 162 pounds. He has no known allergies. Other than a possible hernia repair in
the past, there is no other surgical history noted.

His family history is significant for a 70 year old mother with cardiovascular disease. His
father died at age 80 with Alzheimer’s disease and cardiovascular disease. His siblings
are healthy although one has Crone’s disease. His three children, ages 8-21, are
reportedly all healthy.

Of particular interest, his family history is uniformly negative for lymphoma, leukemia, skin
cancers, dermatitis, allergies and/or asthma.



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Mr. Johnson occasionally consumes alcohol. He is a short-term smoker who began
smoking in 2004 and quit in March 2006, although there are some records that record
him as a “never” smoker. He has never used illicit drugs or been in the military.



Medical Chronology

The following physicians are noted in the Chronological Medical Records (Table 1).

   •   Kim, Youn-Hee, MD – Cutaneous T-Cell Lymphoma clinic at Stanford
   •   Ofodile, Onaopemipo, MD - Dermatologist at Permanente Medical Group
   •   Thach-Guaim, Truoung, MD – Oncologist at Permanente Medical Group
   •   Tsai, Eunice, MD – Cutaneous lymphoma specialist at Kaiser

                                            Table 1
                   Dewayne Johnson: Chronological Medical Records

  Date     Physician   Complaint/Symptoms                   Diagnosis
 9/26/13   Regional    Motor vehicle accident (MVA)         Left shoulder abrasion, right shoulder
           Medical     with left knee injury (abrasions);   contusion and left knee abrasion. No other
           Center of   left side chest pain (possibly       pathology noted. Discharged. It was
           San Jose    abrasions due to seatbelt)           determined on 8/21/15 after a medical
                                                            chart review that none of his symptoms
                                                            after this date were related to this MVA.
                                                            (pg. 896/1233)
 4/30/14               Estimated date of exposure to        Treated with prednisone and “a cream.”
                       Ranger Pro® chemical
 6/23/14   LaClinica   Presents with rash; affected         Diagnosed with tinea corporis; prescribed
           (Urgent     areas are scattered on body          terbinafine, prednisone 10 mg, cephalexin
           Care)       including scalp, neck, arms,         500 mg.
                       elbows, hands, chest, back,
                       trunk, abdomen, groin, buttocks,
                       legs, knees. Described as scaly.




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   Date      Physician       Complaint/Symptoms                   Diagnosis
  7/23/14    Permanente      Noted use of pesticide Ranger        Atopic dermatitis, eczema. Physician
             Medical         Pro® for 2 years at work.            writes “it is my opinion that the patient’s
             Group           Pesticide exposure on left side      current medical condition, more likely than
                             of face. Did not develop any         not, was not caused or aggravated by
                             skin irritation at that time.        factors of employment based on MSDS of
                             However, developed skin rash         the pesticide, timing and clinical
                             to body (trunk, both arms and        irritations.”
                             legs, not face) about 1 month
                             after incident with itching. (Date
                             of incident noted as 4/30/14 –
                             three months prior to this date.3)
  7/29/14    Permanente      Finger caught between a motor        Crush injury of left hand/laceration;
             Medical         and cage on sprayer4 at work;        prescribed ibuprofen.
             Group           smashed by cage. Stated “a few
                             pounds of pressure got me at
                             once.” Pain and swelling
   8/1/14                    Presents for rash (scattered)        Notes scalp with hyper-pigmented
                             lasting several months which         patches; trunk, arms, legs, buttocks with
                             started on his legs. No recent       diffusely scattered annular erythematous
                             medications or travel. Describes     scaly patches. Biopsy of right thigh
                             affected areas as stinging.          collected. Consideration of psoriasis v.
                             Aggravating factors include          pityriasis rosea v. syphilis?
                             sweating. Relieving factors
                             include oral steroids/ not
                             relieved by antifungal cream.




3 Sought additional treatment on this date because rash seemed worse upon re-exposure.

4 Sprayer reportedly on the back of his truck.


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  Date     Physician       Complaint/Symptoms                    Diagnosis
  8/4/14   University of   Pathology report                      Right thigh biopsy “epidermotropic T cell
           California at                                         lymphoma with an unusual
           San                                                   immunophenotype, IHC CD3+, CD7+,
           Francisco                                             CD56+/- (gamma/delta stain) and negative
           (UCSF)                                                for CD4, CD8, CD30 and Beta F1 (usually
                                                                 + in alpha/beta T cells), FISH negative for
                                                                 EBV m RNA. Coupling the results of these
                                                                 stains with the findings on H&E section,
                                                                 this specimen appears to represent a
                                                                 cytotoxic and epidermotropic T cell
                                                                 lymphoma. Furthermore, the GM3 and
                                                                 partial CD56 positivity point to a
                                                                 gamma/delta T cell lymphoma.
                                                                 Gamma/delta T cells typically behave in
                                                                 an aggressive fashion. Nevertheless, there
                                                                 are rare case reports of both GM3 and
                                                                 CD56 positivity in mycosis fungoides so
                                                                 cannot be excluded.”
 8/18/14   Solano          Presents with widespread non-         “Unusual cutaneous lymphoma.” Biopsy
           Dermatology     pruritic papulosquamous               consistent with gamma/delta T cell
           .               eruption of several months            lymphoma. Referred to UCSF cutaneous
                           duration, minimally relieved by       lymphoma clinic
                           oral steroids.
 8/26/14   UCSF            Initial consultation for evaluation   History of Present Illness states that Mr.
           Dermatology     of diffuse papulosquamous rash        Johnson first noticed a skin rash on
                           concerning for cutaneous              chest/trunk and face in the fall of 2013
                           lymphoma                              which he initially thought was due to his
                                                                 detergent; however changing to a
                                                                 hypoallergenic detergent did not have a
                                                                 significant effect. Noted waxing and
                                                                 waning of rash. “Three months ago started
                                                                 to note the rash spreading through body
                                                                 and becoming significantly more scaly with
                                                                 itch and occasional stinging sensation.”




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    Date      Physician       Complaint/Symptoms                 Diagnosis
    9/30/14   University of   Undergoing workup                  Widespread papulosquamous eruption for
              California at                                      over the past year which has become
              SF (UCSF)                                          more pronounced in the last 3 months.
                                                                 Biopsy consistent with CTCL that is GM3+
                                                                 and Beta F1 negative. Pathology
                                                                 differential includes mycosis fungoides
                                                                 mycosis fungoides) with an unusual and
                                                                 cytotoxic immunophenotype versus a
                                                                 relatively indolent variant of gamma/delta
                                                                 T cell lymphoma vs. peripheral T cell
                                                                 lymphoma not otherwise specified. Would
                                                                 favor mycosis fungoides as the diagnosis
                                                                 although most CTCL, including mycosis
                                                                 fungoides, generally are composed of
                                                                 alpha/beta T cells.
    10/1/14   Permanente      Melanoma – Noticed first lesion    “Skin cancer all over; was seen at UCF;
              Medical         on right medial knee six months    has had multiple skin biopsies.” No
              Group           ago and now spread over body.      palpable lymphadenopathy. Unclear
                              Feels that lesions are changing    etiology though concerning given spread
                              form and starting to itch.         over last 6 months.
    10/3/14   Permanente      Consultation. Physical exam        T cell lymphoma. Noted as a one year
              Medical         notes that skin is 80% covered;    history of progressive skin lesions, initially
              Group           lymphatics - tiny 5-8 mm in        flat and red but older lesions are plaque-
                              upper neck, palpable               like with hyperkeratosis. Some
                              lymphadenopathy5                   improvement with Prednisone. Continuing
                              Blood sent for T cell receptor     work up to subtype. Requested that
                              gene rearrangement to              Sezary cells be ruled out. Also seen by Dr.
                              Stanford. Results were positive,   Ofodile, dermatologist for full skin
                              TCR gamma                          examination. Notable for diffuse
                                                                 erythematous scaly thin plaques scattered
                                                                 extensively. No nodules or ulcerations
                                                                 appreciated. Scattered small shotty LAD6
                                                                 on cervical nodes bilaterally. Notes
                                                                 atypical immunophenotype, further workup
                                                                 pending to rule out systemic involvement.
                                                                 Will begin with skin specific treatment with
                                                                 topical corticosteroids and light therapy.
                                                                 Prescribed triamcinolone acetonide 0.1%
                                                                 topical ointment.




5   Clinical chemistry for ALT noted as 50, Reference range 0-36 U/L’ alkaline phosphatase high at 197,
    Reference range 37-117 U/L
6   Lymphadenopathy.
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  Date     Physician      Complaint/Symptoms              Diagnosis
 10/3/14   Vallejo        Peripheral blood collected on   No malignant population of T cells
           Medical        this date tested for flow       identified by immunophenotyping.
           Center         cytometry                       Comment: T cells are a mixture of CD4
           regional lab                                   and CD8 positive cells with adequate ratio.
                                                          There is no CD3 positive/CD4
                                                          negative/CD8 negative T cell population
                                                          identified. Gamma/Delta T cells account
                                                          for approximately 3% of lymphocytes and
                                                          1% of total events. They are within normal
                                                          range. For this case, flow cytometry may
                                                          not be sensitive to detect a small
                                                          population of abnormal T cells. Non
                                                          lymphoid blasts account for less than 0.5%
                                                          of total events.
 10/5/14                  CT of neck                      Adenopathy in the neck, axilla and groin,
                                                          (Mildly enlarged lymph nodes.), Possible
                                                          soft tissue mass noted in the area of the
                                                          left palatine tonsil. Patient denies pain,
                                                          bleeding, dysphagia, dysphonia, cigarettes
 10/8/14   Permanente                                     Mammographic right breast mass (right
           Medical                                        axillary abnormal lymph node).
           Group




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     Date      Physician      Complaint/Symptoms                  Diagnosis
    10/9/147                  Biopsy of right axilla after        Biopsy reveals enlarged 2.6 x 1.6 cm
                              findings on CT scan dated           lymph node with cortical thickening
                              10/5/14                             measuring up to 1 cm. Dermatopathic
                                                                  lymphadenitis, negative for malignancy; no
                                                                  clinical concern for breast cancer
                              Pathology reports:                  Pathology report: “Do not find support for
                                                                  CTCL in the current material. Flow
                              CD3, CD20, CD56, CD4, CD 8
                                                                  cytometry was negative for malignancy
                              as positive on
                                                                  population (FL014-5908). Additionally the
                              immunohistochemistry (pg.
                                                                  immunostains do not support a T cell
                              144/1233)
                                                                  lymphoma. The possibility of an underlying
                                                                  lymphoma exits; however, there is no
                                                                  support in the current material.” “Lymph
                                                                  node biopsy – patients with mycosis
                                                                  fungoides and extensive skin involvement
                                                                  may have enlarged lymph nodes
                                                                  demonstrating histologic findings of
                                                                  dermatopathic lymphadenitis, showing
                                                                  sinus histiocytosis, an abundance of
                                                                  pigment-laden microphages and a small
                                                                  number of atypical lymphocytes.”8
    10/14/14   Permanente                                         Notes that Mr. Johnson is a 42 year old
               Medical                                            with stage IIA CTCL.
               Group
    10/15/14   Dr. Ofodile,   Mr. Johnson reports using           Mycosis fungoides, Stage 2; Notes that
               dermatology    triamcinolone infrequently,         topical treatment with corticosteroids and
                              reports getting new red bumps       phototherapy is appropriate for stage IIA
                              on legs looks like ”spider bites”   disease. Will start PUVA (psoralen and
                                                                  ultraviolet A) therapy.
    10/21/14   Permanente                                         Lymph node biopsy does not support
               Medical                                            USCF working diagnosis.
               Group
    10/22/14                  Discussion with UCSF                “Treat with cutaneous therapy such as
                              dermatopathologist/oncologist       PUVA. Do not over treat even if peripheral
                                                                  blood T cells come back positive” which
                                                                  she doubts. (pg. 171/1233)




7   A note from this date states that tissue immunophenotyping has been completed and “the
    immunophenotyping panel was developed and its performance characteristics were determined and
    deemed acceptably by Kaiser Permanente Regional Laboratory. These tests have not been cleared or
    approved by the US FDA.” (pg. 139/1233)
8   Page 144 of 1233.
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  Date      Physician      Complaint/Symptoms                  Diagnosis
 10/27/14   Dr. Ofodile,   New small bumps, the size of        Scheduled for appointment on 11/3 at
            dermatology    BB pellets on skin, not             which time the primary encounter
                           symptomatic                         diagnosis was mycosis fungoides, Stage
                                                               2. Medication changed to clobetasol
                                                               0.05% topical ointment
 11/3/14                   First treatment of light therapy;   Entire body treated; initial dose in J: 0.3,
                           widespread erythematous scaly       initial duration of treatment time = 0.31.
                           patches and plaques on entire       Doses/duration varied with subsequent
                           body; scattered new papules on      PUVA treatments. Pathology reveals
                           extremities.                        disease progression with increased large
                                                               cells and tumor stage disease. Baseline
                                                               labs needed to initiate bexarotene
 12/12/14   Dr. Ofodile,   Follow-up                           Exam notable for firm, pink papules on
            dermatology                                        forearms; post inflammatory hyper-
                                                               pigmented patches on trunk, scattered
                                                               annular, erythematous plaques on scalp
                                                               and face. Improvement of patch stage
                                                               disease with phototherapy although newly
                                                               developed firm papules are less
                                                               responsive to phototherapy.




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  Date      Physician      Complaint/Symptoms                  Diagnosis
 12/23/14   Permanente     42 year old male here for           Mycosis fungoides, possibly CD8
            Medical        evaluation of possible mycosis      epidermotropic aggressive variant,
            Group          fungoides. Over a year ago, had     consider adding methotrexate or
                           raised lesion on right thigh, red   bexarotene to UVB. Consider referral to
                           but not associated with             Stanford Clinic.
                           significant itching. Initially      Punch biopsy left arm- some CD30
                           thought related to job as pest      expression. Repeat biopsy for confirmation
                           inspector for public schools,       (UCSF). Differential diagnosis mycosis
                           W/C evaluation directed to          fungoides vs. CD30 lymphoprolierative
                           dermatology, referred to UCSF.      disorder (lyp or large cell transformed
                           Biopsies revealed                   mycosis fungoides) v. other tumor.
                           epidermotropic T-cell               UCSF dermatopathology states repeat
                           lymphoma, Differential              testing shows diagnosis of epidermotropic
                           diagnosis - mycosis fungoides       T cell lymphoma with cytotoxicity with one
                           with an unusual and cytotoxic       section showing a deep infiltrate with large
                           immunophenotype (CD4-, CD8-,        lymphocytes (right forearm/left chest)
                           CD3+, CD7+, CD30-, CD56+/-          Infiltrate is suggestive of lymphomatoid
                           gamma/delta+, TIA-1+), a            papulosis. Seen many cases of mycosis
                           relatively indolent variant of      fungoides with developing concurrent
                           gamma/delta T cell lymphoma         lymphomatoid papulosis. If these clinical
                           and peripheral T cell lymphoma,     lesions resolve in 4-6 weeks, suggestive of
                           NOS. He was started on UVB          lymphomatoid papulosis (pg. 319-
                           therapy with improvement of         324/1233)
                           skin patches. Axillary lymph
                           node biopsy 10/9/14 revealed
                           dermatopathic lymphadenitis.
                           Developed new types of lesions
                           recently. Biopsy was done at
                           USCF. (Page 300/1233)
  1/3/15                   CT Scan of entire body (page        Scattered areas of mild skin thickening
                           8/8, Kaiser Permanente              associated with mild uptake probably
                           Dermatology.pdf)                    related to cutaneous lymphoma. Neck
                                                               nodes, axillary nodes and inguinal nodes
                                                               less conspicuous. Nodes appear
                                                               nonspecific but are favored to be reactive
                                                               rather than malignant in nature.
  1/9/15    Eunice Tsai,                                       PEWT/CT scan confirms no internal organ
            MD                                                 disease so mycosis fungoides is only on
                                                               skin. Biopsy confirmed mycosis fungoides
                                                               but a slightly more aggressive variation.
                                                               Starting methotrexate 2.5 mg with reduced
                                                               UV dose during PUVA therapy. On
                                                               1/30/15, notes to be off methotrexate (1
                                                               week course) and treatment increased
                                                               again.



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    Date      Physician      Complaint/Symptoms                    Diagnosis
    1/29/15   Jeffrey Gao,   Mr. Johnson has been working          No redness, swelling; new skin lesion in
              MD             full time as a maintenance            his left shoulder area, no skin wound.
                             worker. Noted to be “spraying         Herbicide noted to be Ranger Pro® by
                             herbicide9 using a back pack          Monsanto. Patient returned to full work
                             sprayer with full Tyvek suite, full   duty and released from care with no
                             hood and respiratory protection;      permanent impairment.
                             spill from leaky tank on left         Causation: “The stated mechanism is
                             shoulder area with minimal            consistent with my clinical exam findings
                             burning at time,” total exposure      and no information has been presented
                             was about 15 minutes. Washed          that would indicate a cause other than the
                             area with soap and water              alleged employment event/exposure.”
                             several times, no more skin
                             irritation
    2/9/15                                                         Returning to methotrexate and continuing
                                                                   phototherapy.
    3/4/15    Stanford       Biopsies taken - Right thigh          Invasive keratinizing squamous cell
              Cancer         lesion with significant pain          carcinoma of thigh, well-differentiated (pg.
              Center         despite oral antibiotics. Not         476/1233); (Surgical excision on 3/30/15)
                             purulent.                             Additional biopsies consistent with
                                                                   Mycosis fungoides exhibiting
                                                                   epidermotropism and syringotropism
    3/14/15   Permanente     Right foot pain. Noted to be          Foot notable for scaly erythematous
              Medical        working 40 hours per week at          patches and plaques scattered diffusely on
              Group          this time.                            bilateral feet. Inflamed callus vs. mycosis
                                                                   fungoides,l Not caused by aggravated by
                                                                   factors of employment
    3/17/15                  Letter to Dr. Ofodile,                “I’m getting to the point where I feel a little
                             dermatologist, from Mr. Johnson       foolish spraying and applying chemicals –
                                                                   do you feel it’s safe to do the kind of work
                                                                   that I am doing with the kind of skin
                                                                   condition that I have?”
    3/18/15   Stanford       Final pathology report                Final diagnosis is a CD4 folliculotropic and
                                                                   syringotropic mycosis fungoides with
                                                                   granulomatous features. Given recent
                                                                   squamous cell carcinoma, patient may not
                                                                   be a good candidate for electron beam
                                                                   radiation or further phototherapy.




9   Noted to be a backpack sprayer. “Noticed dampness on my back – I thought it was sweat and kept
    spraying but back became more wet. Noted leakage from sprayer.” (pgs. 402/1233)
                                                                                                               17
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  Date     Physician      Complaint/Symptoms                 Diagnosis
 4/29/15   Permanente     Plaque on frontal scalp cultured   Biopsy taken. Result: superficial and deep
           Medical        with MSSA over 1 month ago         perivascular interstitial and periadnexal
           Group          and treated with doxy; failed to   mixed inflammatory-cell infiltrate with
                          completely heal, now larger in     occasional epidermal T lymphocytes. Per
                          size, painful, oozing              pathologist, ”Bulk of features, particularly
                                                             in dermis, are in keeping with a
                                                             fundamentally inflammatory process.
                                                             However, there are CD4 T lymphocytes in
                                                             the epidermis some appear
                                                             hyperchromatic and convoluted. This may
                                                             represent the patient’s underlying mycosis
                                                             fungoides. However, features in the
                                                             dermis are not sufficient to compel me to a
                                                             diagnosis of tumor or plaque stager
                                                             mycosis fungoides.“ (pg. 605/1233)
 5/11/15   Dr. Ofodile,   Progress note                      Bexarotene v. brentuximab vedotin (BV)
           dermatology                                       via a clinical trial at Stanford. If skin biopsy
                                                             reveals >10% CD30 cells, will be eligible
                                                             to receive BV. Mr. Johnson opted for oral
                                                             bexarotene 225 mg/day/no enrollment in
                                                             clinical trial
 6/30/15   Permanente     Fracture of left hand              Placed on modified duty at school district
           Medical
           Group
 7/16/15   Permanente     Peripheral blood analysis          Mildly increased CD4+/CD26- T cell
           Medical                                           population.
           Group
  8/4/15   Permanente     Whole body PET/CT scan             Scattered areas of skin thickening and
           Medical                                           mild FDG uptake likely representing the
           Group                                             patient’s known cutaneous lymphoma.
                                                             Compared to prior PET/CT, many lesions
                                                             appear less prominent demonstrating a
                                                             decrease in size and intensity of uptake.
                                                             At least two new areas of skin uptake
                                                             involving the right upper thigh and left
                                                             medial calf representing new areas of
                                                             disease. Previously noted cervical, axillary
                                                             and inguinal nodes appear relatively stable
                                                             in size demonstrating stable to mildly
                                                             decreased FDG uptake.




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      Date      Physician    Complaint/Symptoms                Diagnosis
      9/3/15    Permanente   Follow-up                         Skin appears progressive; getting new
                Medical                                        thicker plaques with some ulcerations. On
                Group                                          525 mg of bexarotene (Targretin) (max
                                                               dose) daily since 8/20/15. Two skin
                                                               punches to rule out large cell
                                                               transformation revealed mycosis
                                                               fungoides with large cell transformation on
                                                               left upper arm while left medial calf
                                                               revealed mycosis fungoides, patch stage.
     9/17/15    Permanente   Progression of disease despite    Consider initiation of Bentuximab with
                Medical      maximum dose of bexarotene        oncology. This drug has high risk of
                Group                                          neuropathies10 – consult for evaluation of
                                                               baseline neuropathy revealed no
                                                               symptoms of neuropathy.
     11/4/15    Richard,     Cancer staging summary            Stage IIB (TC, N0, M0)/consent for total
                Hoppe, MD,                                     electron beam therapy received
                Stanford
     11/10/15   Permanente                                     Began total body electron bean radiation
                Medical                                        therapy (TBEBT) 1.5 weeks ago at
                Group                                          Stanford with 5 treatments received at this
                                                               time. Tolerating well with noticeable
                                                               flattening of facial lesions/Interferon
                                                               injections. After total treatment of 3 more
                                                               weeks, 80% improvement in mycosis
                                                               fungoides; some scaly patches on back.
                                                               Stopped interferon due to difficulty
                                                               tolerating. (Completed treatment 11/20/15)
      1/6/16                 Noted to be working full duty
     1/20/16    Permanente   Sore area on left shin, eroded,   Prescribed nitrogen mustard topically;
                Medical      swollen, no purulent drainage     diagnosed as recurrent mycosis fungoides
                Group                                          after total electron beam radiation; will
                                                               contact Stanford to see if more TBEBT is
                                                               needed.
      2/4/16    Permanente   Peripheral blood collection       Percentage of CD4+/CD26 negative T
                Medical                                        cells is slightly increased. Possible Sezary
                Group                                          syndrome (a different T-cell lymphoma).
     2/25/16                 Total skin electron beam          Started repeat course at Stanford; boosted
                             therapy, dose 36 gy               by Actimmune (Completed 2nd course
                                                               April 2016)




10   20% incidence of peripheral motor neuropathy; 50% incidence of peripheral sensory neuropathy
                                                                                                       19
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  Date      Physician     Complaint/Symptoms                Diagnosis
  3/4/16    Permanente                                      Some evidence that the lymphoma is in
            Medical                                         his blood as there was an increase count
            Group                                           of CD4+/CD26 cells on his serum flow
                                                            cytometry. Suggest intravenous systemic
                                                            therapy.( Pg.1189/1233)
  7/8/16                  Evaluation of subcutaneous        DDX includes cellulitis and early abscess.
                          nodule                            Alternatively, infiltrative neoplasm,
                                                            although less likely, cannot be excluded.
                                                            (Resolved as of 7/14/16)
 10/28/16   Thach-        Follow-up                         Mycosis fungoides with large cell
            Guaim                                           transformation, stage IIB; Fully active, able
            Truong, MD,                                     to carry on all pre-disease performance
            Oncology                                        w/o restriction
 12/9/16    Thach-        Follow-up                         Chemotherapy-induced peripheral
            Guaim                                           neuropathy; hold brentuximab
            Truong, MD
 1/12/17                  PET/CT scan of entire body        Mild residual disease involving bilateral
                                                            axillary and inguinal lymph nodes as well
                                                            as multiple skin lesions of bilateral lower
                                                            extremities; mild increased uptake of the
                                                            gall bladder, new increased uptake of
                                                            posterior nasopharyngeal wall
 4/18/17                  PET/CT scan of entire body        Compared to 1/12/17, mild interval
                                                            increase in axillary and inguinal lymph
                                                            node uptake and a significant interval
                                                            increase in the number, size and intensity
                                                            of skin lesions suggesting interval
                                                            progression of disease.
  6/1/17    Thach-        Severe, open sores that won’t     Oncologist states Mr. Johnson is resistant
            Guaim         close                             to treatment
            Truong, MD
 6/22/17    Permanente    Letter from Dr. Truong,           Mr. Johnson carries a diagnosis of
            Medical       Oncology                          progressed mycosis fungoides with large
            Group                                           cell transformation for which he is
                                                            undergoing active chemotherapy. Median
                                                            survival after diagnosis for this type of
                                                            lymphoma is typically 1.5 years.
 6/29/17                  Peripheral blood collection; CT   Increased percentage of CD4+/CD26- T
                          scan of entire body               cells. CT scan reveals significant interval
                                                            progression of skin disease since 4/18/17;
                                                            probable malignant cervical node,
                                                            bilaterally axillary, bilateral pelvic and
                                                            bilateral inguinal nodes; probable marrow
                                                            involvement of mycosis fungoides.


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Employment History

Table 2 provides summarized employment information. Subsequent sections describe
Mr. Johnson’s employment activities and bearing upon this current matter in greater
detail, particularly in the summarized deposition(s).

Mr. Johnson estimated that he averaged 48 hours of work per week (average of eight
hours overtime per week) for the Benicia Unified School District (BUSD). Mr. Johnson’s
job duties included setting animal traps and relocating nuisance animals, preparing and
applying the herbicides Roundup® and Ranger Pro® Weed Killer. His formal medical
records report his spraying between 20-40 pesticide applications yearly, but deposition
testimony reports far higher application frequency than these numbers.

Mr. Johnson has also applied Dolomark® baseball line chalk, performed landscaping,
gardening, cleaning and managed irrigation systems. He also used Henry’s Wet Patch
Cement® to patch roofs. He reports that he wears personal protective equipment (PPE)
and a Tyvek suit when in contact with ant sprays, fertilizer, etc.11




11 Solono Dermatology records, page 35 of 56.


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                                                   Table 2
                        Dewayne Johnson: Summarized Employment History


     Time Period12     Employment/Job Description
      2005-2007        Waterproof worker in San Francisco (sealed windows and caulked,
                       glazing)13

      2008-2010        Employment with temp company in Napa, California

      Early 2000s      Vallejo Unified School District14 (approximately 9 years)

      2007-2010        Caretaker for his grandmother

     (unspecified)     Vacaville Unified School District15

      2010-2012        Wine warehouse worker for Allied (stacked pallets or boxed wine)

      June 2011        Began as a part-time utility worker and then later a maintenance department
                       grounds man for the Benicia Unified School District in California16




12   Per Mr. Johnson, He is “not really good with that type of stuff, dates.” Thus, the dates shown in the
     table are estimated from the available records.
13   On this job, he was exposed to silicone and 100% isopropyl alcohol which was used to clean areas
     before silicone was applied to seams to waterproof structures. Although he did not use a mask when
     working with silicone, he was required to use a full-face canister mask when working with the alcohol.
14   At this position, he was exposed to bleach and other basic learning chemicals such as Comet or Ajax.
     He testified that he used a mask and gloves when cleaning.
15   Same type of duties and exposures as above.
16   Per Mr. Johnson’s workmen’s compensation deposition on October 28, 2015, he began as a part-time
     worker (25 hours) and after 1-2 years became full time as a utility worker. He performed general
     maintenance including gardening, pruning trees, cleaning gutters, and spraying pesticides (Ranger
     Pro® and Roundup®), etc., especially in the summer. He specifically noted that as of October 2015,
     he had sprayed every summer of his employ with the exception of the first year. He also became the
     Integrated Pest Manager (IPM) in September 2012 for the school and as such was responsible to keep
     documentation of the different pesticide applications performed on the school grounds.
                                                                                                             22
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Deposition of Dewayne Johnson: December 8, 2017

The following notes were derived from the available deposition record to provide exposure
data and historical context. As the deposition transcript is very long, content is split into
related sections to facilitate comprehension of key points.

Acute Exposure Characterizations

•     Mr. Johnson testified that his first major exposure was at the Mary Farmer school
      location in the Benicia Unified School District. This was the exposure from leakage of
      the 50 gallon tank17 (as described in his October, 2015 deposition). “The hose came
      [dis-attached] from the back of the truck and it was just juice everywhere, flying out
      the back of the truck. So that’s when I had to hop in because the switches are in the
      back. There’s no safety switch there ... I reach in the back there and turn it off and
      that’s when I got it on the back of my neck and the back of my head and everywhere
      and on my face.”18
•     Mr. Johnson testified that there were noticeable and visible consequences of his initial
      exposure. He stated, “When I got ahold of that liquid on my skin that day, it got red, it
      got irritated. I finished the day off. It was seven hours. Maybe six hours. We spray
      two hours in the morning. So after that, I just waited until I could work and went home
      and showered and changed clothes like nothing ever happened. We didn’t have an
      eye wash or shower station. That came a few months later after my exposure.” He
      later testified that upon returning to the main facility (about 15-20 minutes after his
      exposure), he wiped down with soap and wet paper towels from the sink and then
      continued with his day (wearing the contaminated clothing). He did not see a physician
      or call a poison control center.
•     Mr. Johnson did not provide a precise date for his initial exposure; however, later in
      the deposition at 2:28:22 he states that it was in 2012. At this time, he did not yet have
      his Qualified Applicator Certificate (QAC).


17   Mr. Johnson testified that he asked for a cutoff switch to be installed on the 50 gallon tank after his
     initial exposure, but this was never done. Consequently, he began using the backpacks more than the
     tank.
18   At 12:37, he stated. “Cause it got down to my neck and got down to about the tip of my shoulder. I
     was able to rinse a lot of that off. I don’t know if I’m wiping it in or I’m taking it off. ..But I’m using what
     I had at the time.”
                                                                                                                   23
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•   Mr. Johnson told the acting supervisor for the day (“John”), about his initial exposure.
    No incident report was written because “we had been trained that the glyphosate was
    okay enough for us to drink. So we didn’t really worry like, you got it on your skin;
    you’re going to die tomorrow.”
•   Mr. Johnson stated that that a woman from Horizon Company (from which the district
    purchased herbicides) had informed them during a two hour training session that
    “glyphosate was okay enough for us to drink.” This woman said that if he was exposed
    to the glyphosate on his skin, he should shower off or go to the sink and rinse out.
•   During his second major exposure in 2015 (as described in his workman’s
    compensation deposition), “I went home at that time. I got exposed from the
    backpack. I said I’m leaving right now. I left, went home and showered and even
    came back.” He was wearing his Tyvek suit at the time but it soaked through and his
    clothes were again “saturated,” especially the lower back area and around his waist.
    Again, he is unsure of precise dates but this happened after his mycosis fungoides
    diagnosis. Mr. Johnson stated that no report was filed because “we didn’t have that
    in place.” However, he did tell his supervisor (“Roy”).
•   On the day of his second major exposure, Mr. Johnson presented to Dr. Gao regarding
    the leaking backpack exposure as a W/C claim. Dr. Gao’s notes state that Mr.
    Johnson had been wearing a full Tyvek suit and hood as well as respirator protection.
    Dr. Gao’s notes state that the spill was on his shoulder area with a total exposure time
    of about 15 minutes. However, Mr. Johnson stated that Dr. Gao “assumed” the 15
    minute exposure time and it was actually closer to 45 minutes before he returned to
    his home and showered.

Chronic Exposure Characterizations

•   The term “drift exposure” refers to airborne aerosol coming into contact with the
    applicator. Mr. Johnson testified that he experienced drift exposure “all the time.”
    There was no way to control the drift even by spraying on calm days or changing out
    nozzles size to increase droplet size. He wore goggles and a sweatshirt-type hoodie
    which he would pull close around his face when working. Though he wore no
    facemask, he testified that once he had all that on, the only part of his face exposed
    was the tip of his nose and his cheeks as well as a bit of his forehead.



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•    With regard to the number of times he sprayed, Mr. Johnson testified that “we would
     go out during the spray months (June, July, August). We could go out four weeks in
     a month. I would say 12 times in a month. Because we only do 3-4 days in a row. We
     have to keep this stuff in the morning so we only had two hours. So we might get 2-3
     days to do the same site. Other guys would be using the backpacks and I’d be using
     the power sprayer connected to the truck.” During the other nine months, he might
     spray around some trees or along a fence line.
•    Mr. Johnson also recounted being splashed on the side of his head one time as well.
     But “my face has never been as bad as the rest of my body.”
•    Mr. Johnson testified that he always wore PPE including a Tyvek suit which appears
     to have been merely water-resistant, allowing penetration of drift of the applied liquid
     herbicide. “If I poured the water bottle on the Tyvek suit, it went straight through to
     your skin. It’s just the way that suit worked.” He also wore boots and goggles. He
     wore paper masks when applying Ranger Pro; however, after his diagnosis, he began
     using a respirator.
•    During prior jobs (he was working several different jobs at the same time at one point),
     he always wore a Tyvek suit or used PPE. He used a new Tyvek suit each day.
•    Mr. Johnson performed his own diluting and mixing of the Ranger Pro with water. He
     kept his “recipe” (“a little book that they give you”) in his pocket. The dilution
     proportions were based on what was being sprayed (type of weed)19 and how much
     footage was to be sprayed per the Ranger Pro pamphlet. “I know I used five gallons
     to 10 ounces with it.” He also kept the MSDS in the glove box of his work truck in
     case it was needed by EMS. He said could smell the Roundup as soon as the bottle
     was opened.




19 He states that if you were spraying “something serious like ivy or pampas grass, you have a higher

    ratio of liquid pesticide that you add into the water.”
                                                                                                        25
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Medical Symptoms and Treatment

•   As of the date of deposition, Mr. Johnson is experiencing “serious, very chronic pain”
    and has started seeing a pain management physician within the last two weeks. He
    had been taking up to 15 Aleve per day for pain prior to that.
•   Mr. Johnson described the “mother lesion” or “mother mark” which was the first mark
    he noticed on the inside of his right knee. He told the physician that the only thing he
    could have been exposed to was the pesticides he applied at work. He believes he
    first noticed a skin rash on his chest, trunk and face in the fall of 2013.
•   Prior to his diagnosis of mycosis fungoides, Mr. Johnson had never been diagnosed
    with any other cancer, immune system deficiency or the AIDS virus. “I have never
    had any medical problems before this problem started.” This includes any skin
    irritation, eruption or boils (with the exception of chicken pox). He has no family history
    of cancer of any kind nor is there a family history of an immune deficiency or an
    autoimmune disease.
•   After diagnosis with mycosis fungoides (August-September 2014), Mr. Johnson
    continued to apply Ranger Pro up until approximately late 2015. He stopped working
    for the school district as Integrated Pest Manager (IPM) in the summer of 2016 when
    Dr. Kim put him on permanent disability.
•   None of Mr. Johnson’s physicians have told him that Ranger Pro causes mycosis
    fungoides. “They won’t say.” This includes Dr. Kim who is a specialist in cutaneous
    T-cell lymphoma. “They say it could be the sun, exposure to chemicals, it could be a
    lot of things.”
•   Mr. Johnson believes that Dr. Pincus, from UCSF, told him that his cancer was “kind
    of unexplainable. Could lean towards definitely T-cell lymphoma but with signs of
    different cancers…” However, the attorney for Monsanto (Mr. Cople) told Mr. Johnson
    that Dr. Pincus responded “under oath that she does not have an opinion on whether
    occupational exposures to such things as herbicides can cause mycosis fungoides.”
•   Mr. Johnson saw Dr. Fishman on June 26, 2017. Dr. Fishman reviewed Mr.
    Johnson’s employment responsibilities as IPM. Mr. Johnson told Dr. Fishman that he
    sprayed 3-4 times per week and it could vary from 20 to 50 gallons or more;
    specifically, at the high school it could have been a hundred gallons. In his report, Dr.
    Fishman states that he doesn’t understand how Mr. Johnson was exposed to Ranger

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    Pro in 2012 given the PPE he was wearing. He defers his opinion on this to an
    environmental hygienist.
•   Dr. Fishman also notes a medical record from July 23, 2014, in which it is stated by
    Dr. Chanson that “it is my opinion that patient’s current medical condition more likely
    than not was not caused or aggravated by factors of employment. I base this opinion
    on MSDS of the pesticide, timing and clinical presentations.”
•   However, Dr. Fishman also notes in his report that males are twice as likely as females
    to develop mycosis fungoides and African Americans are also twice as likely to
    develop it. (Mr. Johnson is African American.) Dr. Fishman wrote in his report that
    “at the present time, I am concluding through reasonable medical probability that the
    applicant’s mycosis fungoides is non-industrial etiology without identifiable industrial
    factors….The only factors impacting an onset of mycosis fungoides for this case are
    male gender and African American.”
•   Mr. Johnson’s skin condition improved with Valchlor (nitrogen mustard cream);
    however, Mr. Johnson testified that he believed he was steered away from this
    treatment due to high cost and possible adverse effects. (“She didn't want me to use
    the Valchlor, and I think it's because it can give you worse cancer and it's so
    expensive. It's ten thousand dollars an order.”) Records later note that the lymphoma
    is now in his blood. Intravenous systemic therapy (chemotherapy) was recommended
    which he is now undertaking under the direction of Dr. Truong. At that time he was
    told that his prognosis is for 3 to 5 years life expectancy.
•   Mr. Johnson also describes recently experiencing a metallic taste in his mouth.

Background and Employment-Related Information

•   Mr. Johnson is unsure of dates but appears from testimony that he was hired by
    Benicia Unified School District in California in June 2011 as a mail carrier, then
    became a custodian followed by work as a maintenance man. He did not begin using
    Ranger Pro until approximately June 2012 when he became the IPM. He did not
    become certified until sometime later, however, as required by the State of California.
    “…We kind of jumped the gun and we got the spraying and the stuff going before we




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      got the license. They wanted me to have that license – it’s a legal requirement for
      Ranger Pro if you are over the gallon mark.”20
•     Mr. Johnson stated that he had never been exposed to Ranger Pro or Roundup or
      any other product containing glyphosate until he started as IPM at Benicia in June
      2012. As IPM, Mr. Johnson was to start a program to stop the use of Ranger Pro and
      use more natural, non-chemical methods for weed control. It appears that did not
      happen during his employment tenure.
•     As IPM, Mr. Johnson prepared the Benicia Unified School District Pesticide
      Application Tracking sheets which indicated the dates of spraying, the site and amount
      of product as well as the number of times applied and what was being treated (such
      as a baseball diamond or a right of way). He estimates that half of his employment
      time was spent spraying or related tasks and the other half was spent on paperwork.
•     They were using “a lot” of Roundup at the school district (described as “regular stuff
      you can purchase at Home Depot”) but Mr. Johnson testified that Roundup is for
      smaller spaces while Ranger Pro is the industrial version. “We started out using
      Roundup21 which wasn’t doing the ticket for the large amounts we needed. We started
      using Ranger Pro because it’s supposed to be the industrial version of Roundup and
      comes in a gallon, a small can like Roundup or in big 50 gallon buckets.” They
      purchased these herbicides from Horizon Company.
•     Additionally, Roundup would not always work on some of the more difficult weeds. “It
      was my decision to say, this is not working. Roundup is not concentrated enough. I
      should just keep putting more Roundup...so Ranger Pro is less concentration and you
      got more area from the ratio you could mix up with Ranger Pro and can get a lot more
      done.” He further stated that the Ranger Pro worked “really good.”
•     The Ranger Pro label directs the applicator to take off contaminated clothes which Mr.
      Johnson did immediately following his second major exposure.
•     Mr. Johnson also used pesticides for insect control on the school grounds; i.e, Wasp
      Zone or Wasp Freeze. “One time, I got a little glob of that on me and I went and
      washed that stuff off right away because it was just on my arms.”


20   Apparently was allowed by the school district as his supervisor, Roy, stated that Mr. Johnson would be
     spraying under him as Roy had a certified applicator license.
21 Testified that he used Roundup for approximately two months before switching to Ranger Pro.


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•   Mr. Johnson was very familiar with the labels on the Roundup/Ranger Pro products
    and he never saw anything on the labels stating that the products could cause cancer.
    Rather, “I was told more than one time it was safe enough to drink.”

Supplemental Information

•   Mr. Johnson testified that Attorney Litzenburg informed him in 2015 that, “the State of
    California declared that glyphosate was a chemical known to them to cause cancer
    and that no signs have been put up in the last two years because Monsanto has been
    suing the state to prevent it from happening.”
•   After receiving his cancer diagnosis, Mr. Johnson continued to use Ranger Pro.
    However, he contacted Monsanto approximately eight months later to find out if the
    Roundup or Ranger Pro might have something to do with his cancer. “I told her that
    I have been exposed to chemicals and I was wondering if this Ranger Pro might be
    the one and she asked what symptoms I was having.” The woman he talked to “had
    a whole spiel for me. She had a whole thing like she understood and what she needed
    to do.” “She said, we really don’t have those symptoms along with this product but if
    you want I can have somebody call you back.” No one ever called him back even
    after the World Health Organization (WHO) determined that glyphosate caused cancer
    including lymphoma. Per Monsanto’s record of this call, “The symptoms are not an
    expected response from this product.”
•   Mr. Johnson smoked from 2004 to 2006. He limited his smoking to one “Black & Mild”
    cigar per day (“Black & Mild” is a short cigar with a plastic tip made from pipe tobacco.)
    He smoked no cigarettes or pipe nor did he use chewing tobacco or snuff.
•   Apparently, the original complaint in this matter states that Mr. Johnson lived on a
    commercial sod farm earlier in his life. Mr. Johnson denies this. ("I've never lived on
    a sod farm. I don't know where that came from.")
•   While performing custodian duties, Mr. Johnson also waxed floors and cleaned
    bathrooms. He used bleach and possibly Peroxide 300 (he is not sure of the exact
    product name). He has not worked with benzene, chlorinated solvents or any other
    herbicides other than Roundup and Ranger Pro.
•   Mr. Johnson used Henry’s Wet Patch in Benicia to repair leaks in a classroom roof.
    After kneeling in the Wet Patch on his knee (wearing only jeans and a work shirt), he
    was diagnosed with squamous cell carcinoma (SCC) on that knee. However, Mr.
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        Johnson testified that Dr. Ofodile, a dermatologist, told him that the SCC was related
        to mycosis fungoides as per Stanford.
•       Mr. Johnson performed miscellaneous painting jobs while working at Benicia. He also
        occasionally filled trucks with diesel fuel (outdoors) and also used Turf Patch.
•       Mr. Johnson used Dolomark (limestone; calcium-magnesium carbonate) to line the
        softball, baseball and football fields. He wore only chemical proof gloves and boots
        and regular jeans (no Tyvek suits) when applying the limestone substance.
•       The original workman’s compensation matter in January 2015 was due to pain in Mr.
        Johnson’s shoulder and chest muscles unrelated to his mycosis fungoides. Mr.
        Johnson is now pursuing a workman’s compensation case for the mycosis fungoides
        as he claims that he was exposed to Ranger Pro as part of his job responsibilities
        working for the school district.


Workman’s Compensation Deposition (dated October 28, 2015)

This deposition summary provides further information related to Mr. Johnson’s exposure
to Roundup® and Ranger Pro®.
    •    As grounds man and Integrated Pest Manager (IPM) at the Benicia School District,
         Mr. Johnson was spraying sites at five different school locations at different times.
         He usually would spray no more than 4-5 hours per day. He would not spray all five
         sites in one day because opportunity was dependent on the number of people
         “milling around” and the amount of time available to do the work.
    •    Mr. Johnson became certified for this position as he was not allowed to spray certain
         pesticides without a license. According to him, his license was issued in April 2015.
         He further noted that he only sprayed Ranger Pro® and Roundup® prior to receiving
         his license.
    •    As IPM, he also performed more maintenance work with an increased workload. In
         this position, “I was exposed to a lot of different chemicals.” These chemicals
         included Henry’s Roofing Patch® and Dolomark® (chalk used to mark baseball




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         fields). Dolomark® contained limestone22 and during the baseball season, he would
         line up to 4 fields up to 3 times per week – each field would take one hour.
         Occasionally, he would apply the chalk on the track for field events.
     •   When first using Dolomark®, he did not know that one was supposed to wear a mask
         when using it.23 “But I found out from the paper bag you read on the side that you
         should be using a mask, gloves. And I found out that it’s a pretty serious dust that
         you shouldn’t be messing around with.” (pg. 26)
     •   Ever since that time, “I wear gloves and PPE, a mask and gloves, to the point of
         laughter”24 as he also came in contact with bug spray, wild animals, feces, etc. He
         also noted that he found out that separate boots were needed for spraying. He even
         noted that separate spray trucks and work trucks were suggested because the spray
         truck would be full of pesticide residue.
     •   “I have sprayed gallons, thousands of gallons of this.” (pg. 98)
     •   He had not been exposed to chemicals while at his home as he has never owned a
         home. He recalled no chemical exposures while working as a handyman.
     •   Mr. Johnson discussed two significant exposures to Ranger Pro® and Roundup®.
         The first exposure occurred when he was using a large, 50 gallon tank sprayer that
         was mounted in the back of a truck. The sprayer was built by school district
         employees from spare parts. On this particular day, he was spraying from the top
         and spraying downhill. He was using a 200-300 foot hose. The hose became caught
         in a crack of the sidewalk and then became detached. The machine continued to
         run and spray pesticide at the point where the hose had detached (he estimates a
         total of 10-20 gallons sprayed). Mr. Johnson “had to get in there (back of the truck
         to shut down the machine/no cutoff switch), pesticide got all over me. It got down in
         my shirt, everywhere.” (pg. 75) He further stated that the pesticide got on the top of
         his head, down the side of his face and into the Tyvek suit on his chest and shoulders



22   On page 97-98, he testified that he reached in one of the canisters of chalk until an older man told him
     that it was lime and he shouldn’t be “sticking his hand in that.”
23   He testified that for about 1/3 of the time he used Dolomark®, he did not utilize a mask. He describes
     the mask as a regular dust mask. He also used gloves.
24   Noted that when he first started using PPE, he would reuse his suit but now only uses them once
     before destroying them.
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         and even down into his gloves. (Pg. 92) However, there was no burning or itching
         associated with his exposure.
         Mr. Johnson testified that he finished the working day but did not take a shower until
         he got home later that day after leaving work at 2:30 pm.25 He estimated that the
         exposure happened approximately at 8:30 am that day. (No date given for this
         exposure but prior to his lymphoma diagnosis.) (Pg. 85)
     •   He further testified that no incident report was written up for this.
     •   The machine held 50 gallons of water and a percentage of pesticide was added to
         the water depending on what plant was being targeted.26 “Ivy or pampas grass has
         a higher ratio of pesticide in the water” than what would be used for annuals. “You
         might have a five percent mix, you might have a ten percent mix.” (pg. 86)
     •   He also described further exposures on his face and hands due to drift from the
         machine whenever he used it. “I had no control over the drift. This machine was
         built by the supervisor. There was no way to regulate your pressure.” (pg. 78).
     •   Although he wore a Tyvek jumpsuit, boots, mask and goggles, the suit was not
         sealed and there was an opening at the arms, legs and neck. “All my face… ears,
         neck, all that is exposed.” (pg. 80)
     •   The second exposure happened less than a year before this deposition. He took a
         backpack out to spray and “you kind of get sweaty out there working and a little
         damp sometimes. So I didn’t really worry. And then my back started to feel wet and
         that’s when I came back to the office and realized that I had a back full of pesticide.”
         He went to Kaiser and was checked out. He specifically noted that he already had
         the skin condition at this time. He testified that he was told his skin condition was
         related to his family’s history, but no such history exists. “I don’t have anybody in my
         family that has had anything like what I have on my skin.” (pg. 34)
     •   Mr. Johnson testified that when being trained on pesticide application “the teachers
         teach that it’s just like water. That glyphosate glycine is just like water and you can




25   He did try to clean up with water and paper towels at work and removed his Tyvek suit.
26   On page 90, he states that he had been spraying for annuals during this exposure and was spraying at
     a rate as required in the Ranger Pro® manual.
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     almost drink it. It’s that safe of a pesticide that you can drink it. That’s the way they
     pushed Ranger Pro®…” (pg. 89)
 •   His physicians have not given him a cause for his cutaneous T-cell lymphoma and
     “that it is skin cancer.” They have told him that he doesn’t fit the risk factors “usually
     older white males who have been exposed to chemicals such as Agent Orange or
     arsenic, people that spend a lot of time in the sun or in tanning beds.”
 •   He testified that after the first exposure (a few months later), he noticed the “mother
     mark” on his right knee that would not go away and it became painful. He began
     finding more and more marks on his skin and especially on his left shoulder where
     he had to reach in and turn off the spray machine. (Pg. 93) He noted that it was
     there when he had his MVA in September 2013.
 •   Mr. Johnson mixed his own pesticides. He describes mixing as “one of the most
     dangerous times because you have just raw chemical and just water. But it’s
     actually one of the safest times because you have control of what’s happening.” (pg.
     134)
 •   He described having “different pains” that he doesn’t understand like the “pain in the
     chest and like the pain on the skin here and there. When I sweat, I get burning.”
     Also, “burning in my chest. The chest pain is usually a really sharp, burning pain.
     Sometimes it can feel almost like fire in your chest.” (pg.117)
 •   As of the date of this deposition, he was still working for the school district. “So I go
     to work and I suck it up and I do what I’ve got to do.” He currently (as of date of
     deposition) is responsible for all the maintenance work, grounds, etc. at the middle
     and elementary school “and I’m just guessing that they still expect me to be an IPM.”
     (pg. 125)
 •   He also stated that over the last three months, his symptoms have worsened. He
     feels overwhelmed and stressed because no one has any answers for him.




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Evaluation of Stuart Shear, MD, Dermatologist Dated September 5, 2016

Per the History of Present Illness, Mr. Johnson presented to Dr. Shear for a medical
evaluation in dermatology.

Mr. Johnson noted that in November 2013, he spent three hours kneeling on Henry’s Wet
Patch Cement® with his right knee. In October 2014, almost one year later, an excision
for a squamous cell carcinoma was performed on this knee. Dr. Shear states that this
“was caused with medical probability by exposure to Henry Wet Patch Cement®.”

In June 2014,27 Mr. Johnson first noticed a skin rash on his scalp, face, neck, trunk and
extremities. A month later, his physician diagnosed the rash as atopic dermatitis. A
biopsy on August 1, 2014, however, revealed that Mr. Johnson had epidermotrophic T
cell lymphoma. He was treated with Valchlor (0.16% nitrogen mustard) and Targretin
(oral bexarotene) and was scheduled to begin participation in a Stanford clinical trial (mid-
September 2014) using an experimental drug.28

Dr. Shear states that Mr. Johnson has cutaneous T cell lymphoma (CTCL) which is
proven by the biopsy report. Per Dr. Shear, clinical findings are classic. “As far as
causation, it has certainly been present in evidenced-based literature that the HLV/cr virus
and the Epstein bar virus can cause cutaneous t-cell lymphoma. In terms of
apportionment, is 100% due to his employment with Benicia Unified School District.
However, it is medically probable that a patient whose skin has been exposed to
Roundup® weed killer during 20-40 applications yearly from June 2011-June 2014 (3
years), that the cause was Roundup® weed killer which has evidence-based medical
literature referenced as a causative agent of cutaneous t-cell lymphoma.”

At that time Dr. Shear gave Mr. Johnson a 3% impairment of the whole person.
Additionally, “Mr. Johnson has a class 2 impairment intermittently present with no
limitations in performance of daily living and requiring no intermittent treatment.”29




27 Other records state first notice of rash was in fall of 2013 (see Table 1, 8/26/14).

28 Appears that he did not begin participation due to non-compliance with medications.

29 Per the AMA Guide to the Evaluation of Permanent Impairment, page 178, table 8-2.


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                          Part B: Introduction to Glyphosate
Glyphosate (Roundup® and Ranger PRO®) History and Use

Glyphosate is the active ingredient in various herbicide formulations known as Roundup®.
The Monsanto Company discovered the herbicide activity of glyphosate in 1970 and
initiated sales and distribution for weed control in 1974. Glyphosate is not selective and
is used on food and non-food crops. Over the subsequent four decades, glyphosate use
as an herbicide has greatly expanded. It is used in agriculture, forestry, industrial rights-
of-way and in residential applications worldwide.

Glyphosate’s use in agriculture has been further expanded by the development of
genetically modified plants that are tolerant to glyphosate treatment (Roundup-
Ready®).30 This has significantly increased the use of glyphosate on these crops for weed
control with no concern for crop injury.31 As a result, genetically modified crops contain
far more glyphosate residue than conventional crops.

The introduction of glyphosate-resistant (GR) crops in 1996 and the expiration of the
glyphosate patent have resulted in its ubiquitous use today, characterized by a 15-fold
global increase since the mid 1990’s.32 According to glyphosate pesticide registration, in
1993 approximately 13 to 20 million acres of land had been treated with 18.7 million
pounds of glyphosate and used mostly on hay/pasture, soybeans and corn.33 According
to the U.S. Geological Survey, in 2014, 300 million pounds of glyphosate were used on
agricultural land in the U.S. Since 1974 in the U.S., over 3.5 billion pounds of glyphosate
have been applied.34




30   Williams, G. et al., Safety evaluation and risk assessment of the herbicide Roundup and its active
     ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117-
     165.
31   Duke, S. S., Encyclopedia of Agrochemicals, 2003, John Wiley & Sons.
32   Benbrook, C.M., “Trends in glyphosate herbicide use in the United States and globally,” 2016,
     Environmental Sciences Europe. 28:3.
33   U.S. EPA, “Registration eligibility decision-facts: Glyphosate,” 1993 United States Environmental
     Protection Agency, Prevention, Pesticides and Toxic Substances (7508W), EPA-738-F-93-011.
34   Benbrook, C.M., “Trends in glyphosate herbicide use in the United States and globally,” 2016,
     Environmental Sciences Europe. 28:3.
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Modes of Action and Safety Considerations

Glyphosate can be applied both as a ground spray and as an aerial spray. It is used to
modify plant growth, speed up the ripening of fruit, applied as a ground spray for peanuts
and an aerial spray for sugarcane.35 Glyphosate is also sprayed directly on wheat just
prior to harvest, a rather peculiar practice called “browning or desiccating.”
Glyphosate is absorbed by the leaves and stems of the plant and readily translocated
throughout. It destroys the plant by reducing the production of certain aromatic amino
acids that form the proteins critical for plant growth and development. 36 Specifically,
glyphosate disrupts the shikimate acid pathway37 by inhibiting the activity of a key enzyme
(EPSP synthase) that is needed to form the essential amino acids. 38,39,40 This shikimate
acid pathway is a crucial process in all higher order plants. Thus, glyphosate will kill most
plants. Glyphosate-resistant crops use an alternative EPSP enzyme and are, therefore,
specifically engineered to withstand extremely high levels of glyphosate without perishing.
This metabolic process is also a crucial one in many microorganisms, but it is not utilized
directly by animals or humans.

Throughout the years, Monsanto has advertised and promoted the safety of their
Roundup® products by claiming that the active ingredient, glyphosate, works by targeting
an enzyme found in plants, but not in people or pets. However, recent evidence suggests
that glyphosate may disrupt the essential shikimate process in bacteria, particularly the
beneficial bacteria of the human intestinal tract.



35   Id.
36   Jaworski, E. G., “Mode of action of N-phosphonomethylglycine. Inhibition of aromatic amino acid
     biosynthesis,” 1972, J. Agric. Food Chem. 20 (6), pg. 1195-1198.
37   Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active
     ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
     165.
38   Boocock, M. R., “Kinetics of 5-enolpyruvylshikimate-3-phosphate synthase inhibition by glyphosate,”
     1983, FEBS Letters 154, pg. 127-133.
39   Hollander, H., & Amrhein, N., “The site of the inhibition of the shikimate pathway by glyphosate,” 1980,
     Plant Physiol 66(5), pg. 823-829.
40   Schönbrunn, E. et al., “Interaction of the herbicide glyphosate with its target enzyme 5-
     enolpyruvylshikimate 3-phosphate synthase in atomic detail,” 2001, Proc Natl Acad Sci USA Feb 13;
     98(4), pg. 1376–1380.
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Additionally, glyphosate has been shown to sporadically cause potent inhibitions in the
xenobiotic-metabolizing enzyme, CYP2C941, which is responsible for the
biotransformation, metabolism and elimination of various toxic compounds from the
body.42 A recent review by Samsel and Seneff (2013) hypothesized that glyphosate’s
known ability to disrupt the intestinal bacteria flora and to suppress a family of enzymes
that play an important role in detoxifying harmful chemicals could be contributing to a rise
in modern human diseases worldwide.43 Glyphosate has also been demonstrated to be
genotoxic and carcinogenic as discussed below in detail.

Glyphosate (Roundup®) Formulations: Chemical and Physical Information

Glyphosate is the declared active ingredient (DAI) in Monsanto’s Roundup ® herbicide
products; however, it is only one ingredient in the formulation and is not typically applied
in its isolated form. Other substances, referred to as co-formulants, are added in order
to modify the physicochemical properties, thereby improving the efficacy of the
glyphosate-based formulation.44,45,46     Examples of co-formulants are spreaders,
compatibility agents, anti-foaming agents, drift retardants and surfactants. The specific
identities and the amounts of co-formulants in the herbicide formulations have largely
been kept confidential because they are considered by the manufacturers to be
proprietary data. Often, co-formulants are declared as “inert” as they do not act directly
on the intended target, i.e., the weed. Moreover, they historically have not been included




41   Abass, K., Turpeinen, M., and Pelkonen, O. “An evaluation of the cytochrome P450 inhibition potential
     of selected pesticides in human hepatic microsomes,” 2009, Journal of Environmental Science and
     Health Part B, 44(6).
42   Gueguen, Y. et al., “Cytochromes P450: xenobiotic metabolism, regulation and clinical importance,”
     2006, Ann Biol Clin (Paris) 64, pg. 535-548.
43   Samsel, A..and Seneff, S, “Glyphosate's suppression of cytochrome P450 enzymes and amino acid
     biosynthesis by the gut microbiome: Pathways to modern diseases,” 2013, Entropy (15), pg. 1416-
     1463.
44   Defarge, N. E., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human
     cells below toxic levels,” 2013, Int J Environ Res Public Health. 13(3), pg. 264.
45   Nobels, I. et al., “Toxicity ranking and toxic mode of action evaluation of commonly used agricultural
     adjuvants on the basis of bacterial gene expression profiles,” 2013, PLoS ONE 6, pg. 264.
46   Haefs R. et al., “Studies on a new group of biodegradable surfactants for glyphosate,” 2002, Pest
     Manag. Sci. 58, pg. 825–833.
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in either toxicity tests of pesticides on mammals for the establishment of their acceptable
daily intake (ADI) or in animal carcinogenicity studies.

Most glyphosate-based formulations (GBFs) contain the same three primary
ingredients: (1) glyphosate salt, (2) co-formulants (e.g. surfactants) and (3) inert
ingredients (e.g., “water”).47 Formulations differ from one another by the specific salt
included in the formulation and the amount and type of surfactants, other co-formulants
and inert ingredients. The ingredients can be examined individually; however, one must
be mindful that the sum of these ingredients may have very different properties than the
individual ingredients alone. This is especially important when investigating the
absorption of a GBF herbicide into non-target organisms.

The salt of glyphosate in a GBF is comprised of an organic base combined with
glyphosate. Glyphosate [N-(phosphonomethyl) glycine] is amphoteric (can act as either
an acid or a base) and is practically insoluble in organic solvents.48 Glyphosate as a weak
acid has a hydrogen ion held to a phosphorous group by a weak electrostatic charge. By
replacing this hydrogen ion with a different cation (organic base), herbicide manufacturers
are able to make a more water-soluble glyphosate salt. Isopropylamine (IPA) is the
organic base that is most commonly used in Roundup formulated products.49,50 This
cation is also bound by a weak electrostatic charge and may not stay with the glyphosate
acid; once it is added to water by the applicator, it can be easily replaced by other
positively charged ions from the water.51 Thus, the glyphosate that is working in the plant
is usually not associated with the original salt.52 The specific salt used in the formulation
may not significantly impact herbicide performance but rather is selected to ensure that


47                    , Confidential draft. “Clustering glyphosate formulations with regard to the testing for
     dermal uptake,” 2001, (Tab 15; see also MONGLY01839476 for draft of this document.)
48   Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active
     ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
     165.
49   Id.
50                    , Confidential draft. “Clustering glyphosate formulations with regard to the testing for
     dermal uptake,” 2001, (Tab 15; see also MONGLY01839476 for draft of this document.)
51   Interactions between glyphosate and calcium salts found in water are the primary reason for adding
     AMS to the spray tank. (http://www.weeds.iastate.edu/mgmt/2001/glyphosateformulations.htm)
52                    , Confidential draft. “Clustering glyphosate formulations with regard to the testing for
     dermal uptake,” 2001, (Tab 15; see also MONGLY01839476 for draft of this document.)
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the formulated product handles well, is compatible with other products that might be
included and will not cause adverse crop responses. The glyphosate concentration in the
final formulation will depend on the salt used as each salt has a different molecular weight.
A lighter salt will result in a higher glyphosate concentration.53

Throughout the years, several salt types have been used to formulate glyphosate
products including isopropylamine (IPA), ammonium, sodium and potassium glyphosate
salts.54 (See Table 3 below.) Glyphosate isopropylamine salt is the one most commonly
used in Roundup® formulated products55 and most commonly used in all glyphosate-
based products.56
                                          Table 3
           Properties of Glyphosate and Common Salts of Glyphosate in Roundup®57

                                         Solubility in         MW
            Herbicidal Agent             water (g/L)         (g/mol)            Molecular Formula
                                          pH 1.9: 10.5                   C3H8NO5P or
      Glyphosate acid                                         169.07
                                          pH 7.0: 157                    HOOCCH2NHCH2PO(OH)2

      Glyphosate Potassium salt               900a            207.16     C3H7KNO5P

      Glyphosate Ammonium salt                300a            186.11     C3H11N2O5P

      Glyphosate Sodium salt                  500a            191.06     C3H7NNaO5P

                                                                         C6H17N2O5P or
      Glyphosate Isopropylamine           pH 7.0: 900
                                                              228.19     C3H9N - C3H8NO5P
      salt (IPA)                          pH 4.1: 786

            a From “Managing Glyphosate. Performance of different salts and adjuvants.” Grants Research

             and Development Corporation. GRDC Project code ICN00016.



53   The active ingredient concentration in a GBF is specified as a glyphosate equivalent or an acid
     equivalent (a.i.) referring to the free form of the acid. This allows for comparability between
     formulations.
54                    , Confidential draft. “Clustering glyphosate formulations with regard to the testing for
     dermal uptake.” 2011, (Tab 15; see also MONGLY01839476 for draft of this document.)
55 Giesey, J. P., Dobson, S., & Solomon, K. R., “Ecotoxicological risk assessment for Roundup herbicide,”

     2000, Rev. Environ. Contam. Toxicol. 167, pg. 35-120.
56 U.S. EPA, “Registration eligibility decision-Facts: Glyphosate,” 1993, United States Environmental

     Protection Agency, Prevention, Pesticides and Toxic Substances (7508W), EPA-738-F-93-011.
57 http://npic.orst.edu/factsheets/archive/glyphotech.html


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In addition to the organic base and, therefore, the salt used, the other major difference
between glyphosate-based formulations is the inclusion of co-formulants. Some co-
formulants are “pre-loaded” or included by the manufacturer in the GBF while others,
called adjuvants, are added by the end user to modify the herbicide to the particular
situation in which it is being used.58 Adjuvants are not added to the GBF by the
manufacturer mainly because different types of crops may require different types of
adjuvant, e.g., certain crops are sensitive to oils, some are difficult to wet. Thus, an
herbicide manufacturer avoids limiting the application of a given herbicide to only one
crop or situation.

As an example of adjuvant use, the addition of ammonium sulfate (AMS) and water
conditioners have been shown to significantly improve weed control with glyphosate.
Water in some regions contains excessive amounts of salts including calcium,
magnesium, iron and sodium, and these salts bind to glyphosate and reduce its
absorption and solubility. The sulfate component of AMS is negatively charged and will
bind to positively charged salts so that they cannot reduce the activity of glyphosate.
Other commonly used adjuvants include emulsifiers, dispersants, stabilizing agents,
compatibility agents, buffering agents, anti-foam agents, spreader-stickers, drift
retardants and surfactants.

Some GBFs may contain a greater percentage of co-formulants than glyphosate salt.
These are listed simply as “Other Ingredients” on the label. For example, the label on
Roundup Original Max herbicide, which contains a proprietary surfactant, reads




58 The terms “co-formulants” and “adjuvants” are sometimes used interchangeably in the literature. A fact

  sheet form Cornell University states, “A pesticide adjuvant is broadly defined as any substance added
  to the spray tank, separate from the pesticide formulation that will improve the performance of the
  pesticide. Sometimes adjuvants are more narrowly defined as a substance added to a pesticide
  mixture to improve its physical qualities and, hence, its effectiveness.” http://psep.cce.cornell.edu/facts-
  slides-self/facts/gen-peapp-adjuvants.aspx
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    ACTIVE INGREDIENT
     Glyphosate N (phosphonomethyl)glycine,
     in the form of its potassium salt ............................................................... 48.7%
     OTHER INGREDIENTS .......................................................................... 51.3%
                                                                                                        100%


The most commonly pre-loaded co-formulants used in herbicides are surfactants.
Surfactants are complex chemicals that facilitate and accentuate the emulsifying,
dispersing, spreading, wetting or other surface modifying properties of aqueous solutions.
For example, waxes on plant leaves are lipophilic and chemically non-polar and thus
repel water while herbicides such as glyphosate are highly hydrophilic and chemically
polar.

Adding surfactants will significantly increase how well glyphosate spreads on and enters
leaf surfaces. A surfactant can also reduce the amount of glyphosate washed off of plants
by rain. Surfactants in herbicides vary greatly in their nature and concentration and are
added to increase the absorption rate of the acid into the plant’s leaf and stem tissue.
Sometimes a combination of surfactants is used in one glyphosate formulation. The most
prevalently used surfactants in herbicides contain POEA (PolyOxyEthylene alkylAmine).

The co-formulants in a GBF individually, or in combination with each other, have a
profound toxicological effect on a non-target organism. Some of these co-formulants may
synergistically attenuate the negative effects of glyphosate, or as in the case of
surfactants which can increase dermal absorption, may simply increase glyphosate’s
systemic exposure. Surfactants, as well as other co-formulants, are particularly important
with respect to a risk assessment and are, therefore, discussed in detail later in this report.

Roundup is offered in dry or aqueous formulations at various concentrations. Glyphosate
is commonly formulated with water at 2.13 M (356 g/L free acid) or as an isopropylamine
salt 480 g/L.59 The ethoxylated tallowamine (POEA) surfactant in Roundup Classic is




59 Williams, G. et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active

  ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
  165.
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designated by Monsanto as MON 081860 with a concentration that is typically reported as
approximately 15% of the formulation weight to volume or 150 g/L.61,62,63,64



Toxicological Considerations of Exposure and Dose

In assessing exposure, toxicologists examine how humans come into contact with
chemicals, the amounts of the chemical that enters the body (absorbed dose) as a result
of contact and how these amounts change over time (pharmacokinetics). The goal of the
exposure assessment is to quantify the amounts over various time periods. The
quantitative expression of those amounts is referred to as dose. Thus, dose is the
measurement needed to quantify a chemical’s risk of toxicity. Therefore, the initial goal
of any exposure assessment is first to objectively establish dose.

Glyphosate Exposure

The ubiquitous use of Roundup® imposes a tremendous increase in the potential for
human exposure, not only to the active ingredient (glyphosate) but to other chemicals (or
“co-formulants”) as well. This section reviews the dose measurement methods.

Systemic Dose

When a person is exposed to a chemical such as glyphosate, the dose physically
contacting the body is referred to as the “exposure dose.” This is different from the




60 Monsanto response to the concern of the Slovenian authorities on the composition of the Plant

   Protection Product MON 79376 (360 g/ 1 glyphosate) and the surfactant MON 59117 (CAS n ° 68478-
   96-6). MONGLY02817577
61 Id.

62 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
63 Giesey, J. P., Dobson, S., & Solomon, K. R., “Ecotoxicological risk assessment for Roundup herbicide,”

   2000, Rev. Environ. Contam. Toxicol. 167, pg. 35-120.
64 Defarge, N. E., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels, 2016, Int J Environ Res Public Health, Vol. 13(3): 264.
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“systemic dose” which enters the bloodstream and reaches various organs within the
body.

Systemic dose is typically only a portion of the exposure dose and is identified through
pharmacokinetic (PK) or chemical disposition studies that can trace the fate of a chemical
after it enters the body. Pharmacokinetic studies investigate the amount of a chemical
absorbed by the body, how the chemical is distributed throughout the body to specific
tissues, how the chemical is metabolized and finally, how a compound is excreted from
the body. This is commonly known as ADME (absorption, distribution, metabolism and
excretion). This data is applied in conjunction with epidemiological and occupational
exposure studies that have included biomonitoring and dosimetry for use in the human
health risk assessment process. Thus, pharmacokinetic studies provide the necessary
link between estimates of exposure, toxicity studies and estimates of human risk. It is,
therefore, imperative that these studies are designed, conducted and interpreted
accurately.

Routes of Exposure

The route of exposure controls how a chemical gets absorbed into the body. The primary
routes by which potential toxins become absorbed into a person’s system are dermal
absorption, ingestion and inhalation.

Ingestion

Ingestion of herbicides may be intentional, as in suicides/poisonings, or unintentional
through the consumption of residue-laden foods. In the current matter of assessing
exposure in operator use, intentional ingestion is not considered since it will contribute
negligibly to the overall exposure.

Inhalation

Since the vapor pressure of glyphosate is very low (9.8x10-8 mm Hg or 1.31X10-2 mPa at
25°C),65 inhalation during mixing and preparation of an herbicide is typically not a
significant contributor to exposure unless an aerosol is produced. Thus, inhalation during
spray application of the herbicide can be a factor. Such exposure depends mainly on


65 National Toxicology Program, U.S. Department of Health and Human Services.


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droplet size of the spray and the equipment used for spraying. Different nozzle types
(often modified by farmers to increase discharge) will generate different volumetric droplet
size distributions. Lesmes-Fabian, et al., found that for the standard discharge nozzle as
used in their study, approximately 5% of the total volume of droplets was smaller than
100 µm.66 In dry climates, droplets less than 100 µm are subject to evaporation and are
respirable.

Dermal Absorption

For occupational users such as farmers, the key determinant of a person’s exposure is
how the herbicide is actually handled and/or applied.67 This dermal exposure will occur
throughout the mixing, loading and application of herbicides as well as through re-entry
(i.e., handling stems, leaves or soil after herbicide treatment).
Studies have found that workers performing the common farm task of “thinning” are more
exposed to pesticides than (for example) workers who are harvesting or pruning.68,69 One
study70 found a higher level of pesticides in the house and vehicle dust of the thinning
workers. Additionally, their children revealed higher urinary pesticide metabolite
concentrations which showed evidence of a “take-home pesticide pathway.”71 The same




66   Lesmes-Fabian, C., Garcia-Santos, G., Leuenberger, F., Nuyttens, D., & Binder, C. R, “Dermal
     exposure assessment of pesticide use: The case of sprayers in potato farms in the Colombian
     highlands,” 2012, Science of the Total Environment, 430, pg. 202-208.
67   Curwin, B.D. et al., “Urinary and hand wipe pesticide levels among farmers and non-farmers in Iowa,”
     2005, Journal of Exposure Analysis and Environmental Epidemiology, Vol. 15, pg. 500–508.
68   de Cock, J. et al., “Determinants of exposure to captan in fruit growing,” 1998, Am Ind Hyg Assoc J 59,
     1998a, pp. 166–172 and 1998b, pg. 158-165.
69   Simcox, N.J. et al., “Farmworker exposure to organophosphorus pesticide residues during apple
     thinning in central Washington State,” 1999, Am Ind Hyg Assoc J 60, pg. 752–761.
70   Coronado, GD, Thompson, B, Strong, L, Griffith, WC, and Islas, I., “Agricultural task and exposure to
     organophosphate pesticides among farm workers,” 2004, Environ Health Perspect 112, pg.142–147.
71   The take-home pesticide pathway is the pathway that children and spouses of agricultural workers are
     exposed through. (Hyland, C. and Ouahiba Laribi, Q., “Review of take-home pesticide exposure
     pathway in children living in agricultural areas,” 2017, Environmental Research. Volume 156, pg. 559–
     570.)
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study showed that workers in apple or pear crops had higher pesticide metabolite
concentrations than those who worked in peach, cherry or grape crops.72

Mechanisms of Absorption

Farmers, forestry workers and landscapers are primarily exposed to herbicide chemicals
through dermal contact during mixing, loading or application of the glyphosate formulation
as well as through re-entry. Therefore, with respect to occupational exposure, the skin is
the predominant route by which glyphosate enters the human body.

The Dermal Barrier

Human skin is a complex organ consisting essentially of two layers: a thin, outermost
layer called the epidermis and a much thicker under-layer called the dermis. It is the outer
layer of the epidermis, called the stratum corneum (SC) that provides the primary
protective barrier function of the skin. This barrier is largely responsible for resisting the
entry of foreign agents into the human body.

The stratum corneum is primarily composed of non-living cells, or corneocytes, in a brick
and mortar type system of lipid matrix. Corneocytes are terminally differentiated
keratinocytes that have migrated from the epidermis to the skin’s surface. The
composition of the stratum corneum lipid matrix is dominated by three lipid classes: (1)
cholesterol, (2) free fatty acids and (3) ceramides which are waxy lipid molecules. These
lipids adopt a highly ordered, three dimensional structure of stacked, densely packed lipid
layers73 as shown in Figure 1.




72   Coronado, GD, et al., “Organophosphate pesticide exposure and work in pome fruit: Evidence for the
     take-home pesticide pathway,” 2006, Environ Health Perspect 114 (7), pg. 999-1006.
73 van Smeden, J. and Bouwstra, J.A., “Stratum corneum lipids: Their role for the skin barrier function in

     healthy subjects and atopic dermatitis patients,” 2016, Curr Prob. Dermatol 49, pg. 8-26.
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                                    Figure 1
                         Epidermal Layers of Human Skin




                            Image courtesy of Wiki Journal of Medicine




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Percutaneous Absorption of Glyphosate

A chemical can enter the stratum corneum directly through the corneocyte cells, through
channels between the cells or through follicles, pores and glands. Due to its structure, the
stratum corneum is highly lipophilic (lipid loving) and hydrophobic (tending to repel water).
Thus, lipid-soluble chemicals are able to penetrate this layer into the circulatory system
much more efficiently than water-soluble chemicals.

Since glyphosate is a small hydrophilic molecule, it travels easily thru the channels and
follicles; however, it cannot easily pass through lipid layers. The stratum corneum is,
therefore, the rate-limiting barrier in the absorption of a hydrophilic agent such as
glyphosate. How quickly glyphosate passes through this outer layer determines the
overall absorption rate of the chemical into the body.

Once glyphosate has been absorbed into the stratum corneum, it may pass through into
the viable epidermis and then into the dermis where it is transported systemically by the
dermal blood supply or lymphatics and circulated to other areas of the body. This passive
diffusion process is governed by Fick’s law which states that the rate of absorption or flux
(J) of any substance across a barrier is proportional to its concentration difference across
that barrier.

The stratum corneum is resistant to penetration of weak acids but is much less effective
against organic acids and some inorganic chemicals. Organic and alkaline chemicals can
soften the keratin cells in the skin and pass through this layer to the dermis where they
are able to enter systemic circulation.

The thickness of the skin, as well as its lipophilicity, varies with location on the body.
Areas of the body such as the forearms, which may be particularly hairy, are most easily
penetrated by chemicals since they can enter the small ducts containing the hair shafts.
Chemicals can also enter through cuts, punctures or scrapes of the skin since these are
breaks in the protective layer. Due to the nature of their occupation, the skin of farmers
(particularly their hands) typically have a higher percentage of fine cracks and breaks
than that of the average person.




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Percutaneous Absorption Models

The term “percutaneous” refers to any action involving penetration of the skin. Accurate
determination of the rate at which agents penetrate the skin is critical for assessing the
dose and potential risk from exposure. Dermal penetration is generally considered to
occur by passive diffusion (Fick’s law); however, in living organisms, biotransformation of
a substance within the deeper viable regions of the skin (via metabolism) can also occur
prior to systemic absorption.

The amount of a chemical that is absorbed through the skin is dependent on the
properties of both the chemical and the skin. The most significant properties impacting
the absorption of a chemical are its water and lipid solubility, molecular weight, degree of
ionization and polarity.74 The most important properties of the skin are the number
(density) of follicles, the thickness of the stratum corneum and the sebum composition as
well as the distance of capillaries to the surface of the skin.

Dermal penetration studies are conducted to measure the absorption or penetration of a
substance through the skin barrier and into the skin and determine whether it has the
potential to be absorbed into the systemic circulation. A wide range of experimental
protocols exist for the determination of percutaneous absorption; the protocol used in any
particular experiment will depend on the penetrant being studied.

Penetration studies may be conducted in vivo (in whole living animals) or in vitro (outside
of a living organism). In assessing the risk of human exposure to glyphosate, the aim of
a dermal absorption study is to measure the amount of glyphosate that passes into and
through human skin and into systemic circulation.

Due to greater differences between rodents and humans verses primates and humans,
in vivo human studies would provide the most accurate dermal penetration models.
However, inasmuch as such studies would be both impractical and unethical, animals
such as rats, mice, and monkeys are used for in vivo studies of the absorption of
glyphosate.




74 Van Ravenzwaay, B. and Leibold, E., “A comparison between in vitro rat and human and in vivo rat

  skin absorption studies, 2004, Toxicol. In Vitro. 18(2), pg. 219-25.
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In Vivo Measurement Methods

In vivo dermal absorption measurement methods include two methods: (1) the indirect
method of surface disappearance and surface recovery whereby the dermal absorption
is inferred and (2) direct methods of determining dermal absorption which includes
measuring glyphosate in the blood, excreta (urine or feces) or stratum corneum or by
estimating through biological or pharmacological responses.75

Zendzian, 2000,76 published a method for measuring glyphosate in excreta and in
carcasses as well as the quantity remaining in the skin after washing. The Zendzian study
states that the United States Environmental Agency’s Office of Pesticide Programs (OPP)
has developed a standard protocol for evaluating the dermal penetration of pesticides in
the rat. This protocol was formalized in 1994 as a guideline for dermal absorption studies
of pesticides.

As of the year 2000, in excess of 263 studies on the dermal absorption of over 160
pesticide chemicals had been submitted to OPP as part of the pesticide registration and
risk assessment processes. From this standard protocol, it is possible to describe,
quantitatively with dose and time, the entrance of a chemical into and penetration through
the mammalian epidermis into the systemic circulation as well as the chemical’s
concentration in blood, the body and its excretion in urine and feces.

In Vitro Measurement Methods

Since in vivo studies are complex and expensive, in vitro methods are more widely used
as a screening method for dermal penetration estimates. In vitro experiments involve the
use of a diffusion cell, wherein two chambers, donor and receptor, are separated by a
membrane (human or animal skin). There are many variations, but all diffusion cells
involve the penetrant passively diffusing from the donor chamber into the receptor
chamber where it can be measured.




75 U.S. EPA, “Dermal exposure assessment: A summary of EPA approaches,” September 2007. United

  States Environmental Protection Agency, National Center for Environmental Assessment Office of
  Research and Development, EPA/600/R-07/040F
76 Zendzian, R.P., “Dermal absorption of pesticides in the rat,” 2000, AIHAJ, Vol. 61(4), pg. 473-83.


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In 2007, the U.S. EPA published “Dermal Exposure Assessment: A Summary of EPA
Approaches” which provides a dermal exposure assessment methodology for treated
surfaces.77 The U.S. EPA and other regulatory agencies accept a wide diversity of in
vitro protocols, but they caution comparing these studies due to differences such as cell
type (i.e. static or flow through), the membrane selected, composition of the receptor fluid
and the dosing method (infinite or finite).

Other Measurement Models and Methods

In a static diffusion cell, also known as a Franz cell,78 the penetrant diffuses from the
donor chamber through the membrane into a “static” receptor chamber of a fixed volume
which is continually stirred. In a flow through cell or Bronaugh79 cell, in vivo conditions are
simulated by using a constantly flowing receptor fluid that mimics in vivo blood flow
beneath the skin membrane. The skin membrane is bathed below by a flowing solution
maintained at 37 degrees C.

When studying the absorption of glyphosate, the membrane separating the chambers is
typically human (from cadavers), rat or monkey skin and may be full thickness or
dermatomed (sliced). Dermatomed skin, wherein only the epidermis is used after it has
been separated from the dermis, is commonly used because full-thickness skin can be
cumbersome in the diffusion apparatus. Since glyphosate is hydrophilic, the main barrier
to its diffusion across the skin resides in the stratum corneum and, therefore, the absence
of the dermal tissue is generally not of concern.80 Ideally, when fresh skin is used, the
receptor fluid should allow skin metabolic activity.




77 U.S. EPA, “Dermal exposure assessment: A summary of EPA approaches,” September 2007. United

  States Environmental Protection Agency, National Center for Environmental Assessment Office of
  Research and Development, EPA/600/R-07/040F
78 Franz TJ., “Percutaneous absorption. On the relevance of in vitro data,” 1975, J Invest Dermatol.   64,
  pg. 190–5.
79 Bronaugh, R., H. Hood, M. Kraeling, and J. Yourick, “Determination of percutaneous absorption by In

  Vitro techniques,” 1999, pg. 229-233 in Percutaneous Absorption, 3rd ed., R.L. Bronaugh and H.I.
  Maibach, eds. New York: Marcel Dekker, Inc.
80 Williams, A.., “Transdermal and dermal drug delivery: From theory to clinical practice,” 2003, London,

  Pharmaceutical Press.
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Dosing Techniques and Measurement Considerations

The loading, or dosing, of the donor chamber in all diffusion cells is accomplished in one
of two ways: infinite dosing or finite dosing. In the infinite dosing, or flux, technique, a
high concentration of glyphosate is installed into the donor chamber (so its concentration
does not decrease) while the concentration is measured in the receptor chamber over
time until steady state is reached. This allows for the calculation of a permeability
coefficient.

A finite dose technique allows the herbicide to be tested under conditions similar to those
found in vivo. The donor chamber is loaded with a known amount of herbicide which is
depleted due to penetration during the course of the experiment. The concentration of the
herbicide in the receptor fluid is measured to determine the percent of the original dose
that penetrated the skin per unit area of skin over a period of time.

Loading conditions can greatly impact calculation of percent absorption. As the applied
dose becomes greater than the absorbable amount, the excess does not contribute to
absorption but it does diminish the observed percent of dose that is absorbed.81
Therefore, when comparing in vitro results of percent absorption, all the dosing conditions
should be maintained as finite dose applications rather than flux.82

Rat skin is generally, but not always, more permeable than human skin. In a review of
79 studies which measured absorption of 110 chemicals, four chemicals were found that
are less permeable through rat skin than human skin.83 Van Ravenzwaay also found that
in comparing human in vitro skin with in vivo rat skin, the penetration of 3 of 12 chemicals




81 Frasch, H.F. et al., “Analysis of finite dose dermal absorption data: Implications for dermal exposure

  assessment,” 2014, J Expo Sci Environ Epidemiol, 24(1), pg. 65–73.
82 Guidance Notes on Dermal Absorption, OECD Environment, Health and Safety Publications, Series on

  Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
83 Jung, E, and Maibach, H., “Animal models for percutaneous absorption,” 2014, in   Shah, V., Maibach,
  H., and Jenner, J. eds. Topical Drug Bioavailability, Bioequivalence, and Penetration, 2nd ed. New
  York: Springer, pg. 21-40.
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was greater through human skin than thru rat skin. This held true at 4, 8 and 10 hours
after dosing.84

A recent study has also questioned the reliability of converting percutaneous absorption
data from rats to humans due to the mentioned differences in species as they studied the
absorption of hazardous substances.85

In Vitro Dermal Absorption of Herbicides through Rat versus Human Skin

The use of rat skin in percutaneous absorption models is premised on the theory that rat
skin is generally more permeable than human skin; however, there have been some
cases which have reported that rat skin is less permeable.86 Monsanto attempted to
demonstrate (and failed) that the dermal penetration of Propachlor® (2-chloro-N-
isopropyl-N-phenylacetamide) through human skin was lower than in rat skin. Instead,
the study revealed:
      •   Concentrate formulation: The percent penetration with human skin is equal to
          the percent penetration with rat skin.
      •   Spray dilution: The percent penetration with human skin is greater than the
          percent dermal penetration with rat skin (p<0.05).
      •   Microautoradiographies clearly revealed stores of Propachlor in the epidermis of
          human skin.87

Monsanto In Vitro Absorption Study of Glyphosate

In February 2010, Dermal Technology Laboratory Ltd., UK, completed their Monsanto-
commissioned lab study entitled “In vitro absorption of glyphosate through human



84 Van Ravenzwaay, B. and       Leibold, E., "A comparison between in vitro rat and human and in vivo rat
     skin absorption studies,” 2004, Toxicol In Vitro., Vol.18(2), pg. 219-25.
85 Korinth G, Goen T, Schaller KH, & Drexler H., “Discrepancies between different rat models for the

     assessment of percutaneous penetration of hazardous substances,” 2007a, Archives of Toxicology 81,
     pg. 833-840.
86   Hotchkiss, SA, et al., "Percutaneous absorption of 4,4'-methylene-bis (2-chloroaniline) and 4,4'-
     methylenedianiline through rate and human skin in vitro," March, 1993, Toxicology In Vitro, Volume
     7(2), pg. 141-148.
87   Monsanto email (Tab 21) from                       on 3/29/2002 to           , et al.
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epidermis” (MON 79545) wherein they investigated the absorption and distribution of
glyphosate in three different herbicide formulations. For all three formulations, they
concluded that the dermal absorption of glyphosate from exposure to the herbicide would
be minimal at less than 1%. However, there are problems with this study that contribute
to its inconsistency with other studies and, as a consequence, warrant its exclusion.

Finite dosing of 10 µL/cm2 was used on a surface of 2.54 cm2; this was left unoccluded
for an exposure period of 24 hours with no interim wash. A static-type glass diffusion cell
was used with dermatomed human skin. Each formulation was applied in three doses:
one concentrated dose and two diluted doses. Thus, the amount of glyphosate in the
25.4 µL volume applied depended on the dilution. The absorption process was followed
by taking samples of the receptor fluid (physiological saline) at recorded intervals
throughout the exposure period.

There appears to be a problem with respect to their definition of the absorbed dose:

“The absorbed dose is considered to be the glyphosate detected in the receptor fluid, while
the biologically available proportion of the dose is regarded as the sum of absorbed dose and the
amount recovered from the epidermis after tape stripping. Material removed from the surface of
the epidermis by the washing procedure is regarded as unabsorbed. Glyphosate recovered
from the epidermis at the end of the exposure is also considered to be unabsorbed,
although it is recognized that a proportion of this material may be absorbed beyond the
duration of the exposure investigated in this study. In vivo, the majority of the dose in the
epidermis, especially that recovered from the stratum corneum (i.e. that found on the tape strips),
would eventually be lost by desquamation.”(Ramsey et al, 1992)


   •   The laboratory did not include the glyphosate recovered from the tape stripping
       as they claimed that it was not biologically available.

   •   They also did not include the amount of glyphosate recovered from the epidermis
       (available for eventual absorption).

   •   Additionally, since the duration of exposure in this study was only 24 hours, the
       glyphosate present within the epidermis at the conclusion of that period should
       have been reported as absorbed or, at a minimum, absorbable beyond the 24-hour
       limit. However, this was not done. Instead, the remaining glyphosate in the
       epidermis was simply considered to be “unabsorbed.”

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Review of the raw data specific to “Cell 18” revealed that the remaining epidermis
contained 7.78 µg of glyphosate which was not included. If it had been included, the total
absorbed would have been approximately 3%. Thus, the “In vitro absorption of
glyphosate through human epidermis” study presents itself as a pre-destined design
failure. It is completely inconsistent with other Monsanto in vitro and in vivo studies and
should be excluded.

The term “Triple Pack” refers to the use of three types of dermal absorption data from: 1)
in vivo rat; 2) in vitro rat and 3) in vitro human dermal absorption studies.88 This approach
is used to refine the estimation of dermal absorption by correcting for differences between
in vitro and in vivo absorption rates in rats as well as for species differences between rats
and humans.89 This approach is based on the premise that the absorption difference
between humans and rats will show in the same proportion in both in vitro and in vivo test,
which may not be true. It should also be noted that the “Triple Pack” approach should be
used to estimate a dermal absorption value only when the three studies are conducted
under the same experimental conditions.90

More accurate measurement models generally include animal or primate in vivo
measurements since in vitro human cadaver skin does not have an intact physiologic and
metabolic system present to accommodate active blood capillary transport gradients or
metabolism as do the in vivo models. Studies have shown there are species differences
in the absorption of different chemicals: measurements in rats, rabbits or pigs may or
may not reflect human absorption.91 A more accurate model includes dermal absorption
across primate (monkey) skin. Often, though not always, in vivo monkey skin most
accurately resembles percutaneous absorption across human skin.

Numerous studies have been published using skin from different animal models.
However, the knowledge that there is a significant difference in absorption when it comes


88 U.S. EPA OPP Memorandum June 2, 2010.       “Review of Triple Pack dermal absorption studies for
   Maxim Quattro.”
89 Id.

90 “Guidance notes on dermal absorption,” OECD Environment, Health and Safety Publications, Series on

   Testing and Assessment No. 156. ENV/JM/MONO(2011) 36.
91 Rozman, KK and Klaassen CD., “Absorption, distribution and excretion of toxicants,” in Cassarett &

   Doull's Toxicology, The Basic Science of Poisons. 5th edition. 1996. McGraw-Hill.
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to different animal species and humans has led to the necessity of a thorough
interpretation when adapting data from animal studies that are to be used in relation to
humans. Interpretation of the data to refine dermal absorption values can vary between
regulatory authorities.92,93



        Dermal Absorption and Pharmacokinetic Studies of Glyphosate

Models Used to Measure Glyphosate Dermal Absorption

There are two primary models which have been used to measure glyphosate dermal
absorption: (1) the Maibach studies of 1983 and (2) the Wester et al., studies of 1991.
Both of these studies were funded by Monsanto. This section reviews these two studies
and assesses the findings in light of present-day objective science.

Maibach Study (1983)

Full Title: Maibach, H.I. (1983) (a) Elimination of 14C-glyphosate in Rhesus monkeys
following a single parenteral dose, (b) Percutaneous absorption of 14C-glyphosate in
Roundup formulation in Rhesus monkeys following a single topical dose. Unpublished
report No. MA-81-349, dated 1 April 1983, from University of California, School of
Medicine; San Francisco, California, USA. Submitted to WHO by Monsanto Int. Services
SA, Brussels, Belgium.

The purpose of this Monsanto-funded primate study was to determine the in vivo dermal
penetration of glyphosate through Rhesus monkey skin. The study consisted of two parts:

   •   Part (a): 14C-Glyphosate (MON 0139; isopropylamine salt) was administered to
       four Rhesus monkeys through intramuscular (IM) injection. Maibach found that, on
       average, 89.9% of the injected dose was excreted in the urine. He did not,
       however, measure the amount of glyphosate eliminated in the feces. Maibach



92 “Guidance notes on dermal absorption,” OECD Environment, Health and Safety Publications, Series on

  Testing and Assessment No. 156. ENV/JM/MONO(2011)36.
93 U.S. EPA OPP Memorandum June 2, 2010.     “Review of Triple Pack dermal absorption studies for
  Maxim Quattro.”
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        reported two distinct phases of urinary excretion: (1) 0-24 hours t1/2 = 6.9 hrs; (2)
        1-7 days t1/2 = 35.1 hrs, concluding that “systemic doses of glyphosate in MON 039
        are rapidly eliminated in monkeys, predominantly via the urine.”

    •   Part (b): 14C-Glyphosate (MON 0139; isopropylamine salt) was dermally applied
        to Rhesus monkeys at a concentration of 1.13 mg/cm2. The IM data from Part (a)
        was used to quantify the dermal penetration obtained in this part of the experiment.

There are problems with the findings of this study as explained below.

Since the majority of 14C-Glyphosate administered by IM injection was excreted rapidly
thru the urine, Maibach erroneously assumed that 89.9% of the dermal dose would be
eliminated in the urine as well. He used this correction factor for incomplete urinary
excretion (89.9%) to determine that 1.8% of the applied dermal dose penetrated the skin.
This conclusion was errant for several reasons:

    1) Two different routes of exposure (IM verses dermal);
    2) Two different paths of excretion (urinary and fecal);
    3) Failed to measure the 14C-Glyphosate excreted in the feces.

Additionally, a further error was made by assuming the unrecovered glyphosate was
permanently bound in the skin. The skin-washing procedure removed 14.2% (standard
deviation of 3.5%) of the applied 14C-label on the glyphosate. Therefore, only 16% (14.2
+ 1.8) of the dermally-applied glyphosate was recovered. "The total percent recovery …
was low, i.e., 16.0%. Although a definitive explanation cannot be offered for the low
recovery, previous experience suggests that much of the test material may in some way
bind to or in the skin and cannot be removed by washing. This bound material is not
apparently available for systemic absorption."94




94 Maibach, H.I., “(a) Elimination of 14C-glyphosate in Rhesus monkeys following a single parenteral

  dose, (b) Percutaneous absorption of 14C-glyphosate in Roundup formulation in Rhesus monkeys
  following a single topical dose,” 1983, Unpublished report No. MA-81-349, from University of California,
  School of Medicine, San Francisco, California, USA. Submitted to WHO by Monsanto Int. Services SA,
  Brussels, Belgium.
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The key point is that this explanation is inconsistent with generally-accepted guidelines.
For example, OECD guidelines95 cite an adequate mean recovery is in the range of 100
± 10%. (OECD, 2004). If the test material did indeed bind to or in the skin, then it could
have been available for absorption and, according to guidelines given by OECD, would
have to be included in the amount absorbed.96

In 1985, the U.S. EPA classified the Maibach, 1983, study as unacceptable since the
majority of the dose could not be accounted for. Currently, most authorized agencies
calculate by “absorbed amount + amount remaining in the treated area tissue + (when
necessary) amount remaining in the skin tissue after a washing process” when calculating
the absorption amount.97

In communications regarding the Maibach study, Richard Dirks, Ph.D., Senior Product
Toxicologist at Monsanto, wrote (April 11, 1983):

    “The total percent recovery (percent label removed by washing plus total percent label
    contained in urine) was low, i.e., 16.0%. A definitive explanation for the low recovery is
    not provided in the report, but the author does state that previous experience would
    suggest that much of the test material may in some way bind to or in the skin and cannot
    be removed by washing. In support of this, it has been reported (Vickers, 1963) that a
    "chemical reservoir" is formed in the skin after drug application which is eventually shed
    without penetration. Thus, it is concluded that the bound material is not apparently
    available for systemic absorption.” 98

Dr. Dirks erroneously concluded (not in keeping with prescribed methodology) that “…
the bound material is not apparently available for systemic absorption.” The OECD
guidelines state that the amount of substance not found in the donor chamber should be




95 Guidelines require that at least 90% of the dose be accounted for compared to just 16% in the Maibach

  study.
96 OECD/OCDE 427, “Guidelines for the testing of chemicals.   Skin absorption In vivo Method,” Adopted:
  13 April 2004.
97 Jaehwan, S., “Comparison of international guidelines of dermal absorption tests used in Pesticides

  Exposure Assessment for Operators,” 2014, Toxicol Res 4, pg. 251-260.
98 MONGLY01330783


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considered absorbed and, therefore, potentially available in the systemic circulation. This
also accounts for the amount of substance deposited in the skin.99

Subsequent experiments have demonstrated that absorption of chemicals temporarily
deposited in the skin can continue for up to 24 hours after exposure has ended. Thus
temporary skin deposition will potentially underestimate the true absorption if assessed
in blood or urine immediately following exposure (within 24 hours).100

Wester, et al., Study (1991)

Full Title: Wester, R. et al., “Glyphosate skin binding, absorption, residual tissue
distribution and skin decontamination,”1991, Fundamental and Applied Toxicology 16,
pp. 725-732.

This Monsanto-funded study included human in vitro testing as well as an in vivo primate
(monkey) testing. The test material was a Roundup® formulation supplied by Monsanto;
it is not stated what glyphosate salt was used in the formulation. The exact formulation
was not disclosed, but no surfactants or other adjuvants were listed as ingredients.

In vitro human skin absorption: A finite dose technique was used with human plasma as
the receptor fluid in a flow-through diffusion cell. Dosing concentrations ranged from 2.6
µg/cm2 to 154.0 µg/cm2 with exposure times of 30 minutes, 4 hours, 8 hours and 16 hours.
The greatest absorption (2.2 ± 0.5 %) occurred at the lowest glyphosate dose
concentration (2.6 µg/cm2) after 8 hours of exposure. This was more than twice that
which was absorbed at any of the other dose concentrations after 8 hours.

The data in this study is highly variable, i.e., it shows no discernable pattern with respect
to the dose and time of exposure other than that the highest percentage of absorption
occurred at the lowest dermal dose. The standard deviation of the mean was greater
than the mean for 12 of the 20 means reported. No overall accountability (mass balance)
was provided for this part of the study; no data was provided with respect to how much



99   OECD, “Guidance document for the conduct of skin absorption studies,” 2004a, Paris. 28, pg.1-31.
100 “Dermal absorption of pesticides – evaluation of variability and prevention,” 2009, Danish

     Environmental Protection Agency. Pesticides Research No. 124, 13.1.


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glyphosate was lost. Thus, it was not possible to compare the percentage lost to that of
the in vivo dermal study shown below.

In vivo rhesus monkeys IV doses: Three Rhesus monkeys were intravenously dosed with
93 µg glyphosate and three were dosed with 9 µg glyphosate. The study found that in the
six monkeys, 95% - 99% of the IV administered dose was recovered in the urine. Overall
accountability was greater than 96% of the administered doses. Wester, et al., used
these results to make the assumption that all dermally-absorbed glyphosate would
similarly be excreted in the urine. This assumption is invalid according to their data
reported in the next part of the study as shown below.

In vivo rhesus monkeys dermal dosing: Eight monkeys were dermally dosed with one of
two doses (as summarized in Table 4).

                                        Table 4
    Disposition of Glyphosate Following Topical Administration to Rhesus Monkeys 101

                                                           Percentage of applied dose*

          Disposition Site            Dose C = 5400 µg/20 cm2              Dose D = 500 µg/20 cm2

 Urine                                             2.2 ± 1.5                            0.8 ± 0.6
 Feces                                             0.7 ± 0.5                            3.6 ± 1.6
 Urine + Feces                                     2.9 ± 2.0                            4.4 ± 2.2
 Surface Washes                                   73.5 ± 6.0                           77.1 ± 9.2
 Contaminated Solids                              0.05 ± 0.1                            0.3 ± 0.1
 Total                                            76.5 ± 6.7                           81.8 ± 6.9

  Topical administration in 4 Rhesus monkeys per dose: *each value is the mean ± SD for 4 monkeys.



The above data reveals several critical findings:

1) The low topical dose was excreted primarily in the feces. In the monkeys
   administered Dose D, 3.6 % of the dermally-applied dose was recovered in the feces
   whereas only 0.8 % was recovered in the urine (total dermal absorption of 4.4%).


101 Wester, R. et al., “Glyphosate skin binding, absorption, residual tissue distribution and skin

  decontamination, 1991, Fundamental and Applied Toxicology 16, pg. 725-732.
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    From this data, it is apparent that urine recovery does not accurately represent the
    amount of glyphosate that was dermally absorbed. In this case, 4.5 times more
    glyphosate was found in the feces than in the urine.

2) This study finding is deeply troubling since epidemiology studies rely on urine
   concentrations to quantify the systemic dose of glyphosate exposure through dermal
   absorption. The lower dose (Dose D) at 500 µg/20 cm 2 corresponds to real world
   exposures in farmers and applicators. Thus, the exposure studies prepared by
   Monsanto that have relied on urinary excretion are in error by a factor of 4.5 times the
   current calculated values. From the data in this study, the total systemic dose from
   dermal exposure can be calculated:
                                 GLYsystemic = GLYurine + Glyfeces
                                                = GLYurine + 4.5 x Glyurine
                                 GLYsystemic = 5.5 x Glyurine

    The actual systemic dose in the human epidemiological exposure studies could have
    been accurately quantified by including the relative amount of glyphosate that would
    have been excreted in the feces but which was not measured.
3) The dose of 5,400 µg/20 cm2 is too large to accurately represent the dose/absorption
   relationship. As previously explained, dosing conditions can have enormous effects
   on percent absorption. The excessive dosing in this case is approaching infinite dosing
   and the excess does not contribute to absorption, but it does diminish the calculated
   percent of dose absorbed.102 U.S. EPA guidelines for dermal testing recommend a
   maximum practical dose on the order of 1 mg/cm2; larger doses can exceed saturation
   of the absorption process.103 The resulting error herein is an artificially reduced
   percent absorption; this high saturation dose resulting in 2.9% absorption is not
   relevant when looking at percent absorption.

4) The effect of glyphosate on skin has been shown to depend on the relative
   concentration of glyphosate. Dermal cells exposed to low levels of glyphosate have
   been shown to induce a stiffening of the cytoskeleton (the cell's internal structural



102 Frasch, H.F. et al., “Analysis of finite dose dermal absorption data: Implications for dermal exposure

  assessment,” 2014, J Expo Sci Environ Epidemiol, Vol. 24(1), pg. 65–73.
103 U.S. EPA OPPTS 870.7600, “Health effects test guidelines dermal penetration,” August 1998, pg. 4.


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    support) while higher levels of glyphosate cause gross changes in cell shape. 104 As
    realistic exposure levels were not used, the findings are automatically suspect.

5) Only 81.8 % of the applied “Dose D” was recovered. The authors claimed that the
   remaining 18.2 % was “lost” since it was not detected. If any of the missing 18.2%
   remained in the monkey in tissue or fluid that was not tested, the amount absorbed
   would have been underestimated. The lost material is beyond the acceptable limit
   according to OECD guidelines of mass balance. If all of the missing 18.2 % is assumed
   to have remained in the monkey and is included the amount absorbed, the total % of
   applied dose absorbed becomes 22.6%. Either way, a casual and unverifiable “claim”
   that 18.2% of the dose was “lost” can scarcely be regarded as objective and should
   be added to the amount absorbed (4.4%) to provide an upper limit value of 22.6%.

6) The impact of surfactants on absorption is still not considered in this study.


From Wester, et al., it is reasonable to conclude that dermal absorption at “Dose D”
reasonably estimates a dermal absorption dose ranging from 4.4% to 22.6%. More
importantly, the epidemiological exposure studies underestimate the systemic dose
from dermal absorption by a factor of 4.5 due to the failure to consider hepato/fecal
elimination at the lower dose levels.



Studies, Reviews & Articles Impacted by Wester and Maibach Studies

Inasmuch as there are obvious and significant flaws in the two Monsanto-sponsored
studies, it is important to understand the impact these have had on other studies, reviews
and published articles (some of which were authored by Monsanto consultants).

1. Williams, GM, Kroes, R., and Munro, IC, “Safety evaluation and risk assessment of
   the herbicide Roundup and its active ingredient, glyphosate, for humans,” 2000,
   Regulatory Toxicology and Pharmacology. Vol. 31, pp. 117–165.




104 Heu, C. et al., “Glyphosate-induced stiffening of HaCaT keratinocytes, a peak force tapping study on

  living cells,” 2012, Journal of Structural Biology, 178, pg. 1-7.
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    The Williams, et al., risk assessment article opined that the dermal penetration of
    glyphosate is very low based on results from studies in Rhesus monkeys and in vitro
    studies with human cadaver samples. With respect to the Wester studies, Williams
    failed to acknowledge the documented fecal elimination route and only relied on
    urinary excretion. Additionally, Williams, et al., failed to note the difference in fecal
    verses urinary excretion dependent upon dose level including the extraordinarily high
    dose level of pure product on the skin of primates within the Wester studies.

    The Williams, et al., review stated,105 “Maibach (1983) studied the in vivo dermal
    absorption of glyphosate when undiluted Roundup herbicide was applied to the skin
    of monkeys. Penetration was slow as only 0.4 and 1.8% of the applied dose was
    absorbed over 24 hours and 7 days, respectively. A second study in Rhesus monkeys
    investigated the absorption of diluted glyphosate (1:29) to simulate a spray solution
    (Wester, et al., 1991). Dermal penetration was found to be 0.8 and 2.2% at low and
    high dose (500 or 5,400 mg/cm2, respectively). Wester, et al. (1991) also reported that
    the in vitro percutaneous absorption of glyphosate through human skin was no more
    than 2% when applied for up to 16 hours either as concentrated Roundup or as a
    diluted spray solution.”

2. Niemann, Lars, et al., “A critical review of glyphosate findings in human urine samples
   and comparison with the exposure of operators and consumers,” 2015, Journal für
   Verbraucherschutz und Lebensmittelsicherheit, Vol 10, Issue 1, pp 3-12.

    The basic assumption in Niemann, et al., is that dermally absorbed glyphosate is
    eliminated nearly entirely through urine and that “measuring of urine levels could be a
    powerful tool for human biomonitoring.” The study fails to reference or acknowledge
    the Wester and Maibach studies and does not consider dermally absorbed glyphosate
    at low, steady state rates of absorption being metabolized and excreted primarily
    through the feces.

    Niemann, et al., states, “For active substances in plant protection products (PPP) with
    well-defined urinary elimination, no potential for accumulation and virtually no
    metabolism, measuring of urine levels could be a powerful tool for human
    biomonitoring. Such data may provide reliable estimates of actual internal human


105 Williams, pg. 123-124.


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    exposure that can be compared to appropriate reference values such as the
    ‘acceptable daily intake (ADI)’ or the ‘acceptable operator exposure level (AOEL)’.”

    Based on the Wester (1991) study, the evidence of “well defined urinary elimination”
    has been compromised. Such an assumption is misleading and potentially dangerous
    with respect to the human health risk assessment and comparisons to current ADI or
    the AOEL regulatory levels. Studies cited by Niemann, et al., include non-dermal dose
    assessments such as male SD rates receiving oral dosing (Brewster et al 1991)106,
    oral dosing in feed (Chan & Mahler 1992)107 and IV and oral doses in rats (Anadon, et
    al., 2009).108 None of the cited studies involve dermal dosing and do not establish
    “well defined urinary elimination” which is simply assumed. Furthermore, the Brewster
    study found that urine and feces were equally important routes of elimination and after
    7 days the total body burden (~1%) of the dose administered was mostly in bone.
    Since dermal glyphosate exposure is the primary route of exposure contributing to
    systemic exposure in agricultural users, the assumption that distribution, metabolism,
    and excretion are identical by IV and dermal routes of exposure leads to egregious
    errors in systemic dose calculations.

3. Acquavella, J. et al., “Glyphosate biomonitoring for farmers and their families: results
   from the Farm Family Exposure Study,”2004, Env. Health Perspect 112, pp. 321–
   326.
    In an internal Monsanto document entitled, “Glyphosate Stewardship, Epidemiology,
    and the Farm Family Exposure Study,” the Monsanto scientists report the impetus for
    this study:




106 Brewster, D.W., Warren, J., and Hopkins, W.E., “Metabolism of glyphosate in Sprague-Dawley rats:

  Tissue distribution, identification, and quantitation of glyphosate-derived materials following a single
  oral dose,” July 1991, Fundamental and Applied Toxicology, Volume 17, Issue 1, pg. 43-51.
107 Chan, P. and Mahler, J., “Glyphosate (CAS No. 1071­83­6) administered in dosed feed to F344/N rats

  and B6C3F1 mice,” 1992, U.S. Department of Health and Human Services. NTP Technical Reports
  Series No. 16. NIH Publication 92-3135.
108 Anadón, A. et al., “Toxicokinetics of glyphosate and its metabolite aminomethyl phosphonic acid in

  rats,” 2009, Toxicol Lett 190(1), pg. 91-95.
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      “We have been working to maintain glyphosate's favorable reputation through a strategy
      that anticipates challenges and puts appropriate initiatives in place. One of those initiatives
      is a unique research program called the Farm Family Exposure Study (FFES).” 109

    The report further states

      “The FFES was developed to fill two data gaps. First, there is a (PPE) information about
      applicator pesticide exposure under "real world" conditions. Second, there is little empirical
      exposure information for farm children although children's health is a driving force in
      environmental regulation and a focus of epidemiologic research.” 110



    This biomonitoring study evaluated urinary glyphosate concentrations for forty-eight
    farm families (farmers, spouses and their children) the day before, the day of and three
    days after a glyphosate application. The authors used the urinary concentrations to
    estimate systemic doses which they then compared to the U.S. EPA reference dose
    of 2 mg/kg/day.

    The main assumption cited in their analytic method is “Pharmacokinetic research
    indicates that absorbed glyphosate is excreted unchanged, predominantly in urine
    (Williams 2000).”111 Unfortunately, glyphosate is not excreted predominately
    through the urine in primates, especially at low doses, as demonstrated by the
    Wester, 1991, study.

    The authors used the 95% urinary recovery that Wester reported using IV dosing to
    correct their data for complete pharmacokinetic recovery. This correction factor is
    not applicable to this data since the farmers and their family members were
    presumably exposed dermally and not through IV dosing.




109 “Glyphosate Stewardship, Epidemiology, and the Farm Family Exposure Study,” MONGLY00905651

110 Id, MONGLY00905652

111 Acquavella, J., et al., “Glyphosate biomonitoring for farmers and their families: results from the Farm

  Family Exposure Study,” 2004, Environ Health Perspect, 112, pg. 321–326.
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    Monsanto also points out the limited degree of accuracy of their urinary glyphosate
    measurements in the Acquavella, et al, 2004, biomonitoring study:

     “Monsanto's analytic chemistry expertise was essential to the FFES. However, our current
     method is outdated. It requires relatively large volumes of urine (100 ml, versus 5 ml for
     the 2,4-D and chlorpyrifos methods) and produces less precise results than methods for
     other FFES chemicals. Given the likelihood that human health allegations will continue
     to surface for glyphosate, it seems advisable to invest in modernizing the analytic method
     to increase analytic flexibility and precision.”112


4. Solomon, K., “Glyphosate in the general population and in applicators: a critical review
   of studies on exposure,” 2016, Critical Reviews in Toxicology, 46(1), pp. 21-27.

    In the Solomon, 2016, review, it is again assumed that “the systemic dose of
    glyphosate can be estimated from the total amount of glyphosate excreted in the urine
    over the four or five days following and including the day of application.” A “correction
    for incomplete excretion” of 95% is made “based on observations in TK113 studies in
    monkeys which showed that 95% of total systemic dose was excreted via urine
    (Wester, et al., 1991), divided by 0.95.”114 Solomon does not consider dermally
    absorbed glyphosate at low, steady state rates of absorption being metabolized and
    excreted primarily through the feces.

5. Monsanto’s Spanish “OPEX” biomonitoring study entitled, “MON 78294: An Applicator
   Exposure Study Conducted in Spain,” Autumn 2005.

    This study was conducted in order to estimate a systemic dose for occupational users
    of glyphosate and determine whether certain uses of the product resulted in
    unacceptable levels of dermal penetration. Monsanto submitted the results of the
    studies to the Spanish regulatory authorities as part of the process to register the




112 “Glyphosate Stewardship, Epidemiology, and the Farm Family Exposure Study”, MONGLY00905655

113 TK is an abbreviation for toxicokinetic and is used here as a synonym for pharmacokinetic

114 Solomon, K., “Glyphosate in the general population and in applicators: a critical review of studies on

  exposures,” 2016, Critical Reviews in Toxicology, 46(1), pg. 21-27.
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   herbicide product for use. A report was prepared for submission to the U.S. EPA, but
   it is unclear if it was ever submitted.

   In their determination of the systemic dose, they extrapolated the Wester, et al., 1991,
   study results to their biomonitoring data. As in the other examples discussed above,
   doing so invalidated their values of the estimated systemic dose.




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Regulatory Guidance on Dermal Absorption and Recovery

Either knowingly or unknowingly, Monsanto regularly misstates or understates glyphosate
dermal absorption recovery and factors in its communications. It is not the purpose of this
toxicological risk assessment to draw conclusions about the intent of such misstatements.
However, it is helpful to understand the position of regulatory agencies on these points
and to briefly review some key guidelines pertinent to this issue.


  OECD: 18-Aug-2011 GUIDANCE NOTES ON DERMAL ABSORPTION Series on
  Testing and Assessment No. 156
  The current default approach taken by nearly all regulatory agencies is to determine the
  dermal absorption value by adding the absorbed dose and the chemical remaining in the
  skin, following washing. This is appropriate for both in vivo and in vitro studies unless
  compelling evidence demonstrates that some portion of the residue in the skin is unlikely to
  be absorbed. OECD TG 427 and 428 (OECD 2004a and 2004b) require a mean mass
  balance recovery of the test substance of between 90–110%. The OECD GD28 (OECD
  2004c) contains the same recommendation with a caveat that for volatile test substances
  and unlabeled test substances, a range of 80–120% is acceptable. However, with the in
  vivo study design, recoveries outside this range may be acceptable but must be justified.

  The criteria to justify mean mass balance recovery values outside the acceptance range
  can be summarized by the following examples:

  1. Recovery values exceed the recommended range: If the recoveries exceed the
     accepted maximum range, the data generated should not be normalized because that
     would result in potentially underestimated absorption values. If these absorption values
     are not acceptable when a risk assessment is conducted, then the study should be
     repeated to address any bias resulting from excessive recoveries.

  2. Recovery values below the recommended range: Low recoveries raise the concern
     that the value for absorbed dose could be lower than that which would be achieved from
     a study where the recoveries were within the guideline range. The reason for low
     recovery may be attributable to the following factors: (a) incomplete application of dose,
     (b) loss to the experimental equipment, (c) incomplete extraction from matrices (or
     incomplete collection of exhaled CO2), (d) evaporation, (e) unlabeled test preparations,
     metabolism or degradation or (f) insufficiently high analytical LODs/LOQs, in particular
     where non-labelling analytical methods are applied.




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Errors and Omissions in Monsanto Communications

During the glyphosate registration process in Spain, the Spanish Ministry of Health
advised Monsanto of errors in their “OPEX” study. Faced with denial of Spanish product
registration, Monsanto employees attempted to redirect attention away from deficiencies
with respect to pharmacokinetics of glyphosate. The following excerpts summarize some
of the Monsanto communications.

A. Communication of                            (11-4-2008): Subject: Pk (Pharmacokinetics)
   recovery Wester, et al.

     “The IV data gives in vivo disposition of a systemic available dose. This dose could be the
     result of aggregate systemic exposure (meaning a systemic dose after combined oral, dermal,
     inhalation exposure). The total accountability of this experiment is high >96% - ~100% and
     we know exactly the amount that was systemically available. The recovery factor for urine is
     therefore relevant and reliable.” 115

      Unfortunately, the dose was not an “aggregate systemic exposure” as stated, but the
      result of an IV “push” injection. This is clearly stated in the study. One cannot
      conclude that the recovery factor from IV dosing is “relevant and reliable” to dermal
      dosing. It is critical to note that IV administration presents a tremendously high
      acute dose to the liver. Saturation of the liver as an elimination pathway to the feces
      would result in spill over to the urinary excretion elimination pathway. Giving the
      same (IV) dose quantity over a slow drip period of 24 hours would not expose the
      liver to potential saturation. The email conversation further states:

   “The in vivo dermal absorption experiment yielded variable results (table 4) and much lower
   total accountability 77-82% which is normal for this kind of experiment. The authors take the
   outcome of the IV-experiment to justify the use of the urinary excretion results from the topical
   experiment only as an estimate for dermal uptake: ‘Since all of the IV administered doses were
   excreted in urine, the percutaneous absorption of glyphosate is estimated to be 0.8-2.2% of
   the applied dose’ (p728-729). They did not take the feces into account based on the iv-study."
   116




115 MONGLY02155831

116 Id.


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   Either knowingly or unknowingly, Monsanto employee                      failed to take
   hepatic excretion through the feces into account and appears to have relied solely on
   the IV study to make a point favorable to his company’s product. This omission
   produced acutely high blood levels not comparable to those achieved through slow,
   steady-state dermal absorption. Additionally, the erroneous urinary recovery
   assumption that Monsanto used to correct the systemic dose is in grave error by a
   factor of 4.5x and, therefore, is in no way a good “estimate.”

B. Communication of                        (11-4-2008, response to                ): Subject:    Pk
   recovery, Wester, et al.

   “Many thanks for your help which I will try to defend as Monsanto position, but the authorities
   will decide next week. That: means they are now doing the homework- if our proposed safety
   evaluation for CAYENNE formulation is compatible with the Acceptable Operating Exposure
   Level (AOEL) for glyphosate. I imagine we do not have other studies on the urine/feces
   excretion after topical applications of glyphosate to support our position. As it is critical that
   we have our product accepted in this coming meeting, I would like to complete my
   defense with a paragraph like this one:

   “Although we believe that the intravenous dose is accepted by toxicology peer reviewers as
   the best indicator to simulate the systemic presence of glyphosate, in case the Spanish
   authorities consider that the excretion through the urine should be taken from the variable
   data reported in the topical administration (urine/urine + feces = 75.86% or 18.18%), the
   average excretion in the urine of 47.02% would mean that our final exposure values should
   be multiplied by 2.13, resulting in exposure levels which are well below the AOEL. of 0.2
   mg/kg/day.” 117

   The communication above of                   states that Monsanto believes the IV
   model is the best indicator as to how systemically administered glyphosate is
   metabolized and excreted. Specifically, the memo states that the IV dose “…is the
   best indicator to simulate the systemic presence of glyphosate.” This statement is
   inaccurate since it is the dermal systemic dose that is of primary interest to both
   toxicologists and regulatory authorities. There are no reports of applicators
   intravenously injecting themselves with glyphosate. In the absence of actual primate




117 MONGLY02155830


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     dermal absorption data, the IV model should have been compared to animal models
     with urinary and fecal measurements conducted.

     However, it is not acceptable in toxicology to replace real in vivo data with a “model”
     unless the actual dermal dosing data was faulty. There is no evidence to support this.

     Based on the                communication, it appears that Monsanto fabricated a
     “variable data” problem by incorrectly interpreting the results for the purpose of
     securing regulatory approval of their product. The issue of high variability is being
     abused in order to dismiss the primate dermal absorption test results. Monsanto
     appears to have dismissed the primate data by failing to disclose why the “variable
     data” was excessive.

     The variability of the data (i.e., the percentage of urinary versus fecal elimination)
     varied due to absorption saturation at the high dose as described previously and,
     therefore, only the low dose is relevant since it is closer to real-world exposure
     scenarios. Consequently, the exposure values should be multiplied by 5.5, not
     2.13. It is perhaps noteworthy that               stated that it is “critical” to have the
     product accepted at the upcoming meeting. Thus, his solution appears to be one of
     manipulating the data by claiming there was a “variable data” problem.

C. Communication of                                (11-5-2008, response to All): Subject: Pk
   recovery, Wester, et al.

         “Even though we can absorb additional 'uncertainty factors' in our risk assessment based on
         our biomonitoring results, I feel uncomfortable with this discussion. This approach by Spain
         sets a precedent and contradicts the fact that we always claimed to fully understand
         the glyphosate pharmacokinetics. The Wester IV experiment suggests that almost the
         entire 'systemically' available dose was excreted in urine. The low dose topical in vivo
         experiment suggests that almost the entire dose (82%) that was absorbed through the skin
         was excreted in feces (3.6% feces versus 0.8% in urine). We should have a robust and well-
         documented explanation for this and stick to our original risk assessment or develop
         additional data to fully understand this matter and adjust our systemic dose calculations
         accordingly.” 118




118 id


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    Clearly, there is internal concern that deficiencies in Monsanto-published values and
    methods may be subject to criticism and further, that Monsanto itself is not fully
    conversant with the facts and/or that their risk assessment methodology may be
    insufficient to meet regulatory approval requirements.
D. Communication of David Saltmiras (11-4-2008, response to                       ): Subject: Pk
   recovery, Wester, et al.

    “Joel, Donna & I have discussed your approach and you are correct. How much below the
    AOEL are your calculations?             - by our rough calculations Jaime's approach is
    approximately 50x below the AOEL of 0.2 mg/kg/day, Even if we applied the 90th percentile
    for the passive dosimetry numbers we would be below the AOEL.” 119


The preceding two internal Monsanto memos serve as an admission that the
pharmacokinetics assumed to be correct using the IV methodology are contradicted by
the primate dermal absorption studies.                          states, “This approach by
Spain sets a precedent and contradicts the fact that we always claimed to fully understand
the glyphosate pharmacokinetics.” Thus, Monsanto’s claim of fully understanding the
pharmacokinetics of glyphosate has been contradicted. He cites the discrepancy in the
Wester study and the need to further investigate in order to fully understand the
pharmacokinetics and thereby “adjust” their systemic dose calculations.

E. Response communication of Joel Kronenberg (11-10-2008, response to All): Subject:
   Pk recovery, Wester, et al.

    “To fully address this issue would likely require a repeat of the monkey dermal and
    intravenous studies. We no longer own the custom-designed monkey chairs that prevented
    exfoliated abdominal skin from contaminating the excreta. Additionally, it is not clear whether
    similar chairs are used anymore by any researcher or if they would even be allowed. Thus,
    conducting a new series of monkey studies may not be easy nor inexpensive. Furthermore,
    it is not clear to me that such a study is necessary and would be totally without risk. Should
    we arrange a conference call to discuss this?”120




119 MONGLY02155829

120 MONGLY02155826


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    Ethical quandaries with respect to fearing that a valid pharmacokinetic study might
    pose a risk to regulatory approval of a commercial product are beyond the scope of
    this toxicological assessment. However, such implications clearly do exist in this
    communication and must be considered with respect to veracity and credibility.

F. Communication of                       (11-10-2008, response to team): Subject: Pk
   recovery, Wester, et al.

    “To me, all this discussion continues to show that we still need solid data for ADME
    (Absorption, Distribution, Metabolism and Excretion) arising from dermal exposure.


    1. Our dermal absorption endpoint is based on the literature and, as I recall, we failed to
       get the original data to support the results.

    2. The movement of glyphosate in the blood flow from dermal contact is different to that
       through oral or intravenous exposure. The little data we have suggests that the
       excretion is significantly more through the feces than the urine.

    3. Dermal exposure is the greatest risk of exposure for operators. Therefore, we need to
       be secure on the ADME of such exposure.

    4. The WHO and EU reviews focus on the IV and oral but not the dermal. My position
       is, therefore, unchanged. We need to address this properly in the Annex II dossier
       and, therefore, should be considering a study.121

    In this instance,                   of Monsanto appears to have objectively assessed
    the data and admits that “The movement of glyphosate in the blood flow from dermal
    contact is different to that through oral or intravenous exposure.”




121 MONGLY02155827


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Communication of                     (11-12-2008, response to Joel Kronenberg):
Subject: Pk recovery, Wester, et al.

    “Monsanto is a company with recurring discussions (which is good!)... You will remember
    that we discussed this in length with a lot of people before we initiated the Spanish OPEX
    study... (please see attached). The outcome was that (1) other animal data confirmed the
    Wester findings; (2) such a study would be too risky (potential for finding another
    mammalian metabolite); and (3) we would wait for the evaluation of Spain.
    Looking forward to this discussion on the 24th of November. I also recall that David has asked
    2 external pharmacologists for an opinion on the Wester study. Would that opinion be
    available by that time?”122


The above communication raises numerous ethical red flags with respect to the statement
“such a study would be too risky (potential for finding another mammalian metabolite.)”
The charge and responsibility of the toxicologist is to determine the ADME (absorption,
distribution, metabolism and excretion) as ADME are critical components in the risk
assessment process. The goal of the toxicologist is to find “another mammalian
metabolite,” not to avoid discovery of it.

It is always of great importance to identify all metabolites since certain chemicals have
been known to produce toxic metabolites under high dose levels (such as Tylenol) or
carcinogenic metabolites (such as benzene). Inasmuch as the author of the Monsanto
memo stated that the potential finding of another mammalian metabolite would be “too
risky,” one must presume a lack of objectivity. Failing to perform a needed study due to
the risk of finding an adverse result that could negatively impact marketing goals
represents an unacceptable practice in the field of toxicology.

Monsanto Communications Summary

Reviewing Monsanto’s communications in an inculpatory context is an unfortunate
necessity. The preceding Monsanto messages revolve around complex human health
factors having a direct and immediate bearing on the purpose of this toxicological
assessment. This premise is supported by clear evidence of admissions of deficiencies
and a tendency for commercial considerations to outweigh the risk of negative


122 MONGLY02155826


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consequences. Indeed, it seems the erroneous scientific conclusions presented in these
messages can serve no other conceivable purpose. In the absence of impartial oversight,
such conclusions obscure the underlying science.

The generally-accepted, peer-reviewed basis of scientific information is highly relevant in
the context of reliability of Monsanto’s health risk assessments.

Factors Intensifying Dermal Absorption of Glyphosate

Beyond the underestimation of dermal absorption by Monsanto, there are additives within
Roundup® formulations that further increase dermal absorption of glyphosate. There are
numerous factors governing the rate and degree of glyphosate dermal absorption, both
intrinsically and potentially. These include (a) “co-formulants” (ingredients other than the
active ingredient such as detergents or anti-foam agents), (b) surfactants (compounds
which lower surface tension), (c) humectants (to inhibit moisture loss), (d) adjuvants
(chemicals which modify the effect of other agents), (e) absorption enhancement due to
skin damage, lesions, cracks and other irregularities, (f) lack of personal protective gear
and (g) other factors such as penetration enhancers and skin creams. This section
reviews and assesses these factors as toxicological considerations.

Generally speaking, with the exception of substances of a proprietary nature or which
have not been disclosed by Monsanto, most of the considerations mentioned above
tend to intensify absorption rather than reduce it. The following sections review each
factor individually given the limited information available at this time.

Co-Formulants

The exact identities and amounts of the co-formulants in GBF herbicides are usually
unknown as they are kept as confidential trade secrets. In many countries (including the
U.S.), manufacturers are only required to identify the declared active ingredient (DCI),
i.e. glyphosate. The co-formulants (i.e. all ingredients other than the DCI) have rarely
been identified and have often been declared as “inert ingredients.”123




123 Defarge, N. et al., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

  cells below toxic levels,” 2016, Int J Environ Res Public Health, Vol. 26;13(3), pii: E264.
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Herbicide manufacturers frequently take advantage of regulatory agency definitions of
“inert ingredients.” Despite their name, inert ingredients may be biologically or
chemically active and are labeled inert only because of their function in the formulated
product. For example, an herbicide ingredient can be considered “inert” if it has no direct
effect on the intended target, i.e. the weed. In herbicides, the ingredients added to
enhance absorption, increase ionization, prevent foaming or reduce drifting are
characterized by the manufacturer as “inert ingredients” since they do not directly kill
the weeds. However, they are not necessarily without toxicity to animals or humans.

Independent studies of complete herbicide formulations are not generally possible as
specific herbicide formulations are protected. Manufacturers of co-formulants have
been historically unwilling to provide them to scientists who wish to assess toxicity.
Consequently, most co-formulants have evaded scientific scrutiny and regulation.

In a confidential draft report dated July, 2001, entitled, “Clustering glyphosate
formulations with regard to the testing for dermal uptake,” Monsanto scientist
       promoted the need for formula-specific studies. Mr.          stated:

     “Glyphosate has a whole series of different formulations. The differences between those
    formulations are based on:
    - The different salt types used to formulate the active ingredient
    - The use of different surfactants
    - The active ingredient/surfactant ratio
    - The concentrations of active ingredient and surfactants
    - The presence or absence of other inert ingredients such as anti-foam agents.


He also added:

    Until today Monsanto has conducted formulation specific dermal uptake research only
    on the formulation Roundup (MON2139). It is clear that because of the compositional
    differences, the dermal uptake data for Roundup can’t be extrapolated as such towards
    the wide range of formulations. Every ingredient in a formulation can have a specific
    influence of dermal uptake. Scientific experimental evidence is necessary.”




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Detergents in herbicides act as mediators which change the absorption by increasing
bioavailability124 or by affecting the skin barrier function.125,126 Brand and Mueller (2002)
showed dermal penetration of commercially formulated compounds was significantly
greater (p < 0.05) than that of pure compounds at the same concentration.127

Surfactants

Like co-formulants, the exact identities and amounts of surfactants in GBF herbicides are
usually unknown as they are kept as confidential trade secrets. The most predominately
used type of surfactant in GBFs are polyoxyethylene alkylamine (POEA)
surfactants.128,129

POEA is an acronym, not a specific chemical, which encompasses a wide range of alkyl-
amine ethoxylate compounds. Within the group of POEA surfactants, the chemistry is
complex and varied. Ethoxylated tallowamine has been the traditional surfactant
component and the most well-known ‘inert’ ingredient contained in the original
Roundup® formulation and many others. It is a POEA non-ionic surfactant consisting of
beef tallow fatty acid-derived alkyl chains converted to primary amines and ethoxylated
with between 10 to 20 ethylene oxide (EO) units.130 It is often mixed with polyethylene
glycol, or other surfactants, plus other materials to facilitate manufacturing and



124Sartorelli, et al, 1997.

125Treffel, P. & Gabrad, B., “Skin penetration and sun protection factor of ultraviolet filters from two

   vehicle,” 1996, Pharmaceut Res, Vol. 13, pg. 770-774.
126Tupker, R. et al., “Susceptibility to irritants: role of barrier function, skin dryness and history of atopic

   dermatitis,” 1990, BJD. Volume 123, Issue 2, pg. 199–205.
127Brand, R.M. & Mueller, C., “Transdermal penetration of atrazine, alachlor, and trifluralin: effect of

   formulation,”2002, Toxicol Sci., Vol. 68(1), pg. 18-23.
128Williams, G., et al., “Safety evaluation and risk assessment of the herbicide Roundup and its active

   ingredient, glyphosate, for humans,” 2000, Regulatory Toxicology and Pharmacology, Vol.31, pg. 117 -
   165.
129 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
130 From an internal Monsanto report, Surfactant Issue Analysis, Issue: Increasing public attention to the

   POEA (Polyoxyethlene alkylamine) surfactant component of glyphosate formulations in connection
   with claims of adverse impact to aquatic life (recently, amphibians) and human health (in vitro (cell
   culture) toxicity tests). MONGLY01700591
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formulation stability.131 Roundup’s surfactants include 1,4-dioxane (a probable human
carcinogen) as an impurity at about 0.03%.132

POEA significantly increases penetration in plant cells as well as in animal cells. Richard,
et al., found that the addition of surfactants “greatly facilitated” the penetration of
glyphosate through animal cell membranes.133

It is helpful to understand that, due to corporate secrecy and proprietary concealment,
POEA was first recognized as a common ingredient in herbicides in the 1980’s when
physicians in Japan reported that morbidity and deaths of patients who drank Roundup®
were due to POEA, not glyphosate. 134 POEA is an eye irritant, toxic to aquatic
organisms, penetrates cell membranes and disrupts their structure and function.
Diamond and Durkin made the following observations regarding surfactants in
glyphosate based formulations:

  1.      Multiple Formulations: The formulations are chemical mixtures and must be
          considered as mixtures in toxicity assessments. In this context, an assessment
          of the specific surfactants in any of the formulations or generalizations about the
          toxicology of surfactants as a group may not apply to the formulations. This
          consideration places extreme importance on data regarding the toxicity of the
          formulations themselves. The lack of such data will render any predictions
          about the effects of the formulations on glyphosate highly uncertain.135

  2.      Unknown Interactions: Surfactants can be expected to interact with and perturb
          the structure, physical properties and function of membranes. 136



131 Id.

132 Monsanto, 1990 in Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with

   specific reference to RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
133 Richard, S. et. al., “Differential effects of glyphosate and Roundup on human placental cells and

   aromatase,” 2005, Environmental Health Perspectives.
134 Sawada, Y., Nagai, Y., Ueyama, M., and Yamarnoto, I., “Probable toxicity of surface active agent in

   commercial herbicide containing glyphosate,” 1988, Lancet 1 (8580), pg. 29.
135 Diamond, G., Durkin, P., “Effects of surfactants on the toxicity of glyphosate with specific reference to

   RODEO,” 1997, Syracuse Research Corporation, SERA TR 97-206-1b.
136 Id.


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  3.       Objective Evidence is Lacking: For specific mechanisms of interactions
           between glyphosate and surfactants. 137

  4.       Multiplicity of Potential Reactions: The structural characteristics of extreme
           hydrophilicity and hydrophobicity of surfactants may result in very different
           interactions with hydrophobic and hydrophilic herbicides. Thus, the relatively
           water-soluble isopropylamine salt of glyphosate may interact differently with
           surfactants than the less water-soluble parent compound or other more insoluble
           herbicides.138



Indirect Disclosures of Surfactant and Co-Formulant Toxicity

In 2013, Mesnage, et al., published their study of nine herbicides containing glyphosate
including five different formulations of Roundup. After studying the chemicals’ patterns
using mass spectrometry, Mesnage and his colleagues determined the identity of co-
formulants in Roundup® and performed toxicity analyses. They were able to deduce
the chemical structure of additives in six of the nine formulations and also show that
each of these supposedly inert ingredients was more toxic than glyphosate
alone.139

Subsequently, other studies have examined the toxicity of these co-formulants and
measured significant enhancement of toxicity. While there occasionally may be
performance differences between glyphosate products, these differences are more
likely to be caused by the differences in surfactants formulated with the product.

Defarge, et al., 2016, study showed that each of the five co-formulants affected the
function of both the mitochondria in human placental cells and aromatase, an enzyme
that affects sexual development. Not only did these chemicals, which are not named
on herbicide labels, affect biological functions, they did so at levels far below the
concentrations used in commercially available products. In fact, POEA, an “inert”


137 Id.

138 Id

139 Mesnage, R., Bernay, B., and Séralini, G.E., “Ethoxylated adjuvants of glyphosate-based herbicides

   are active principles of human cell toxicity,” 2013, Toxicology 313(2-3), pg. 122-8.
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ingredient, was between 1,200 and 2,000 times more toxic to cells than glyphosate, the
“active” ingredient. They also reported that six glyphosate formulations similarly
decreased aromatase activity in human placental cells at concentrations much lower
than glyphosate alone 140

Examples of Surfactant and Co-Formulant Toxicity

There is a general agreement and consensus that co-formulants can be more toxic for
animals than glyphosate itself.141 For example, cytotoxicity of the commercial
formulation Roundup® to human peripheral mononuclear cells was 30-fold higher (LC50
= 56 mg/L) than for the active ingredient (LC 50=1640 mg/L). Several in vitro and in vivo
studies with parallel testing of glyphosate active ingredient and Roundup® showed that
only the commercial formulation was genotoxic. 142

Registration data in New Zealand revealed Roundup® contained POEA.143 Other
formulations may contain much higher levels, even as high as 60 - 80%, as in the
formulation Genamin.144 In studies using hepatic (HepG2), embryonic (HEK293) and
placental (JEG3) cell lines to compare ten formulations of glyphosate, the most toxic
formulations were those that contained POEA. This surfactant induced necrosis and
disrupted the structure and function of cell membranes with negative dose-
dependent effects on cellular respiration and membrane integrity between 1 and 3
mg/L.145




140 Defarge, N. et al., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels,” 2016, Int. J. Environ. Res. Public Health 13, pg. 264.
141 Defarge, N. et al., “Co-formulants in glyphosate-based herbicides disrupt aromatase activity in human

   cells below toxic levels,” 2016, Int. J. Environ. Res. Public Health 13, pg. 264.
142 Bolognesi, et al., “Biomonitoring of genotoxic risk in agricultural workers from five Colombian regions:

   Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and Environmental
   Health Part A, 72, pg. 986—997.
143 Watts MA, “The poisoning of New Zealand,"1994, AIT Press, Auckland. From Pesticide Action Network

   (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-monograph.pdf
144 Mesnage, R. et al., “Ethoxylated adjuvants of glyphosate-based herbicides are active principles of

   human cell toxicity,” 2013.
145 Id.


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POEA potentiates the effect of glyphosate, facilitating its penetration of cell membranes
and bioaccumulation in cells.146 The bio-concentration factor for glyphosate is also
increased in the presence of POEA in the aquatic environment. 147



Regulatory Considerations Based on Surfactant and Co-Formulant Toxicity

In the absence of clear, unambiguous information pertaining to a commercial product’s
chemical composition, some countries take a hardline approach to regulation. For
example, due to toxicity concerns, Germany removed glyphosate products containing
POEA from their market in 2014 148 and the European Union banned them in 2016.149
The New Zealand Environmental Protection Agency (NZ EPA) has current approvals
for 91 formulations of glyphosate of which 69 contain POEA. The New Zealand EPA
refuses to name them “because the composition of the formulations is commercial-in-
confidence information.”150

This situation is typical of many countries. The decree that banned the use of glyphosate
formulations containing POEA in Italy named 55 formulations, including well-known
names such as Roundup®, Rodeo® and Touchdown® and brands from Cheminova,




146 Richard, S. et al., “Differential effects of glyphosate and Roundup on human placental cells and

  aromatase,” 2005, Environ Health Perspect 113(6), pg. 716-20.
147 Annett R, Habibi HR, Hontela A., “Impact of glyphosate and glyphosate-based herbicides on the

  freshwater environment,” 2014, J Appl Toxicol 34(5), pg. 458-479.
148 Farrer P, & Falck M., “Toxic glyphosate herbicides fly under the EU’s regulatory radar,” 2014,

  Pesticides News 96, pg. 1-4.
149 EC. 2016. Glyphosate. European Commission - Fact Sheet FAQs: Glyphosate. Brussels. June 29th.

  http://europa.eu/rapid/pressrelease_MEMO-16-2012_en.htm
150 NZ Parliament. 2016. Written questions 10151, 10153, 10154. Steffan Browning to the Minister for the

  Environment. New Zealand Parliament Paremata Aotearoa, Wellington.
  https://www.parliament.nz/en/pb/order-paper-questions/ written-
  questions/?criteria.Keyword=glyphosate&criteria.
  Timeframe=&criteria.DateFrom=&criteria.DateTo=&criteria. ParliamentNumber=-
  1&criteria.ParliamentNumber=-1&criteria. MemberOfParliament=&criteria.Portfolio=Environment
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Syngenta, Nufarm, Dow AgroSciences, and Arysta as well as Monsanto and some
Italian companies.151

The key point here is that experimental studies suggest that the toxicity of POEA is
greater than the toxicity of glyphosate alone and commercial formulations alone.
However, safety evaluations performed by Monsanto have largely been performed on
pure glyphosate or without identification of all ingredients. There is also evidence
that glyphosate preparations containing POEA are more toxic than those containing
alternative surfactants. Since surfactants contribute to the toxicity of glyphosate
formulations, adverse health consequences are not necessarily caused by glyphosate
alone, but as a consequence of complex and variable mixtures. Even Monsanto has
recognized this in correspondence (as cited in this assessment).

Monsanto TNO Dermal Penetration Study with Co-Formulant Cocoamine

Monsanto’s previously reported dermal absorption studies did not include surfactant co-
formulants. Monsanto did find evidence of the effects of one surfactant, cocoamine, on
dermal absorption in their TNO dermal penetration studies. These studies were not
submitted to the U.S. EPA or to any European regulatory agency.

TNO Study: Johan van Burgsteden, “In vitro percutaneous absorption study with [14C]-
glyphosate using viable rat skin membranes,” June 14, 2002, Unaudited draft report
V4478 (Tab 24).

Glyphosphate in formulations MON 35012 and MON 0139 (70%) was examined for in
vitro percutaneous absorption through viable rat skin membranes. Both contain the IPA
salt of glyphosate, but MON 35012 also contains the surfactant cocoamine. Both the
concentrated formulation and the field dilution were tested as shown below in Table 5.
After eight hours of exposure, the test substance was removed from the application site
and samples of the receptor fluid were collected for an additional 40 hours.




151 Pesticide Action Network (PAN). http://pan-international.org/wp-content/uploads/Glyphosate-

  monograph.pdf
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                                         Table 5
              Formulations and Doses Tested in TNO Dermal Absorption Studies

                                                                      Dose (mg gly/cm2)
          Formulation     Ingredients                             Concentrate    Field dilution
          MON 35012       Glyphosate Isopropylamine salt
                          (46% w/w)                                  6.249           0.080
                          Surfactant Cocoamine (18% w/w)
                          Water & minor ingredients (35.5%
                          w/w)
          MON 0139 70%    Isopropylamine salt (62% w/w)              6.343           0.080
                          Inert ingredients (38% w/w)


The investigators in this study used doses outside the range recommendations of the
U.S. EPA 1998 Health Effects Test Guidelines for dermal penetration as follows:
     The maximum practical dose is on the order of 1 mg/cm2—larger doses tend to fall off the
     skin or exceed saturation of the absorption process. When only three doses are given, the
     highest dose should be on the order of 0.1 mg/cm2.152

There are two doses in this study, the higher dose being 6.2 times larger than the
recommended maximum dose. Furthermore, the U.S. EPA Guidelines state that:

     The maximum dose volume should not exceed 10 µL/cm2. Larger volumes of liquid have
     been found to flow on the skin and produce uneven distribution on the dosed area.153

In this study, 10 µL of the test samples was applied on a 0.64 cm 2 skin surface area. This
is the equivalent of 15.6 µL/cm2, which is more than one and one half times greater than
the recommended maximum (liquid) dose. The excess in both the concentration and the
volume of the concentrated doses will contribute to absorption saturation as described by
the U.S. EPA:

     The amount of chemical coverage on the skin surface can influence the amount of dermal
     absorption. Chemical coverage of the skin surface may be incomplete where only part of
     the surface is covered or it may be complete where the entire skin surface is covered. In



152 U.S. EPA OPPTS 870.7600, “Health Effects Test Guidelines Dermal Penetration,” August 1998, pg. 4.

153 Id.


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    both cases, only the amount of chemical in contact with the skin surface is available for
    absorption such that the capacity of the skin to absorb the chemical may be exceeded.154


The results of the eight hour exposures are shown in Table 6 below.

                                          Table 6
                     Percent Absorption of Glyphosate (percent of dose)

                                  MON 35012                         MON 0319 (70%)
                            (containing surfactant)                  (no surfactant)
                          Penetration                         Penetration
                         within 48 hrs    Mass balance        within 48 hrs      Mass balance
     Dose                          % of dose                            % of dose
                           2.6 ± 1.4 %                         1.4 ± 2.2 %
     Low dose            (2.10 µg/cm2)        73.4 %          (1.13 µg/cm2)         82 .6 %

                          10.3 ± 4.2 %                         1.3 ± 1.9 %
     High dose           (646.3 µg/cm2)      132.4 %          (80.8 µg/cm2)         128 .2 %


The following key points emerged from the exposure/absorption tests:

•   The maximum penetration of 10.3 % occurred with the higher dose of MON 35012
    concentrate which contained the surfactant Cocoamine.
•   Even at the lower glyphosate dose of 0.080 mg/cm 2 of MON 35012, the penetration
    was 2.6 % of the dose which is greater than Monsanto had previously reported.
•   The mass balance was found to range from 73 % to 132 %. This variability is very
    high as guidelines cite an adequate mean recovery is in the range of 100 ± 10%.
    (OECD, 2004). This suggests variability in the amount of absorption among the rat
    skin membrane samples at each dosing.
•   In fact, while the mean penetration of the higher dose in MON 35012 was 646.3
    µg/cm2, one membrane absorbed approximately 1,100 µg/cm2, or about 18 % of the
    applied dose. The mean penetration of the lower dose of MON 35012 was 2.10



154 U.S. EPA OPPTS 870.7600, “Health Effects Test Guidelines Dermal Penetration,” August 1998, pg. 3.


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    µg/cm2 while the maximum penetration was about 3.5 µg/cm 2 or approximately 4.4 %
    of the applied dose.
•   At the lower dose, using the worst case scenario, the missing 27% of the dose should
    be included in the amount absorbed and, therefore, the amount of absorbed
    glyphosate would be 30% of the applied dose.
The measured 10.3 % dermal absorption of glyphosate through rat skin in the presence
of a surfactant was not received well by Monsanto.

A series of communications among corporate employees followed disclosure of the test
results which collectively suggests a keen lack of interest in making their findings known
to the outside world. Thus, in a spirit of relevant disclosure and objective assessment,
samples of Monsanto internal correspondence appear on the following pages.

In a message from                        (3-29-02) to            , et al: Subject:
“TNO dermal penetration studies: new issues and topics for the conference call of
Tuesday, 2 April (8 A.M STL time),” the following was noted:

“As of today we received preliminary surprising results on in vitro dermal penetration of
propachlor and glyphosate through rat skin, it is imperative that we work closely together and
communicate well on the conduct, the practical difficulties and the results associated with these
studies.
Glyphosate:
- The EU rapporteur for glyphosate used a dermal penetration factor of 3% based on several
published in vitro/in vivo dermal penetration studies
- We launched human and rat in vitro dermal penetration studies with MON 35012 with and
without surfactant
- Preliminary results with rat skin are not acceptable (see fax); due to very bad
reproducibility (sic) that TNO cannot explain, they proposed to repeat the study in parallel with
the human skin study. However, we can already conclude that:
a. For the concentrate MON 35012, the % in vitro dermal penetration of glyphosate through rat
   skin is between 5 and 10%
b. For the spray dilution of MON 35012, the % in vitro dermal penetration of glyphosate through
   rat skin will be around 2%
c. The dermal penetration of glyphosate itself in the absence of surfactant is lower than 1.5%.”

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Rather than attempt to interpret this message, it is perhaps more instructive and revealing
to cite a follow-up communication from Mr. William Heydens (4-2-02, to Charles Healy):
Subject: “TNO dermal penetration studies: new issues and topics for the conf call of
Tuesday, 2 April (8 A.M STL time).”

“… My primary concern is with the glyphosate in terms of the potential for this work to blow
Roundup risk evaluations (getting a much higher dermal penetration than we've ever seen
before.”


It seems the primary concern among Monsanto employees was for the potential of the
test results to upset the product risk evaluations and confound the regulatory approval
process. The potential human health issues raised by the product test results were not
raised by any participant.

For undisclosed reasons, Monsanto did not share this study with the public or the
scientific community. Additionally, they also decided not to have it repeated. Some
incidental communications on this subject are available for consideration:

                     (4-4-02):

“Although we agreed to repeat the in vitro dermal penetration study with rat skins as proposed
by TNO, we came to the conclusion that the penetration of glyphosate would have been
[probably] greater than the 3% already imposed by the German authorities. We decided thus to
STOP the study (effective today morning).”


In view of the concern that the test results might derail the regulatory approval process,
the ethical red flags raised by this message are largely self-explanatory.

With further explanation,                    (4-5-02):

    “…we initiated the studies from a regulatory angle to help meet the requirements for
   operator exposure, given that the Annex I endpoint for dermal absorption for glyphosate
   was set at 3%, …the results of the rat skin studies show levels of absorption for
   glyphosate of a similar order to the Annex I endpoint, also confirm our expectation that
   surfactant concentration affects the dermal absorption… therefore, from the regulatory
   angle, there is no point in pursuing the studies further.”


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Once again, the focus is strictly on the business aspects of introducing a commercial
product. This masterpiece of sophistry effectively proclaims that Monsanto fully expected
the results, and this was all part of the plan. Unfortunately, the potential human health
issues raised by the product test results were also, once again, ignored.

Humectants

In addition to surfactants, Roundup® formulations also contain humectants which
reduce the loss of moisture. As Monsanto notes,155

“Certain co-formulants like humectants that will make it highly likely we will get large amounts
penetrating the skin.”


Humectants include chemicals such as ethylene glycol (anti-freeze). Ethylene glycol is
included in most Roundup formulations. In addition to increasing dermal absorption,
ethylene glycol is a toxic chemical in and of itself.156 It is uncertain whether Monsanto
ever studied the effect of ethylene glycol on glyphosate dermal absorption.157

Adjuvants

Adjuvants may be added to glyphosate formulations prior to use to improve their efficacy
against weeds by enhancing penetration of glyphosate into the target plant. However,
many of these may also increase the toxicity of glyphosate to other species. For
example, organosilicone surfactants, described as the most potent of adjuvants and
commonly added to glyphosate formulations, are now linked to a decline in honeybees
in the U.S.158 The common adjuvant surfactant TN-20 used in glyphosate formulations
caused cell death and mitochondrial damage in rat cells which disrupts the integrity of
the cellular barrier to glyphosate and promotes its toxicity. 159 Martini, et al., (2016)


155 Monsanto MONGLY06653096

156 MONGLY01832749 (Toxic to children at 70 cc of Roundup with 5% ethylene glycol.)

157 MONGLY01745304

158 Mullin CA, Fine JD, Reynolds RD, Frazier MT, “Toxicological risks of agrochemical spray adjuvants:

  organosilicone surfactants may not be safe,” 2016, Front Public Health, 4:92.
159 Kim YH, Hong JR, Gil HW, Song HY, Hong SY, “Mixtures of glyphosate and surfactant TN20

  accelerate cell death via mitochondrial damage-induced apoptosis and necrosis,” 2013, Toxicol In Vitro
  27(1), pg.191-197.
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demonstrated that adjuvants other than POEA inhibited proliferation and differentiation
of mammalian 3T3-L1 fibroblasts to adipocytes.160

Enhanced Absorption Due to Skin Damage

Skin, by its nature, is often compromised due to cracking and fissures, by cuts, scrapes,
chemical damage, water-submersion, burns, sensitivity reactions, eczema and infections.
This is particularly true for outdoor workers. Breaks in the protective lipophilic barrier of
the stratum corneum significantly increase absorption of hydrophilic compounds. A
compromised protective lipid barrier will allow the hydrophilic glyphosate to pass through
into the hydrophilic dermis, thus avoiding slow diffusion through the lipid layer.
Percutaneous absorption studies have demonstrated that glyphosate deposition in
damaged skin is five times that of healthy skin and penetration through damaged skin is
increased 20-fold.161 The integrity of the skin also effects the distribution of chemicals
within the skin compartments which will have implications in the efficacy of hand-washing
after herbicide exposure.162

With respect to applicators, the acute quantity of glyphosate entering the skin is low.
However, with repeated doses, especially coupled with a failure to wash the skin before
it can be absorbed, the cumulative dose increases. Studies have documented that
glyphosate penetration of skin increases linearly with time. Thus, if the worker is unaware
of the exposures, absorption continues.163

Glyphosate’s Role in Skin Damage

Evidence of glyphosate interference with mitochondrial function is increasingly emerging
in the scientific literature. Mitochondria are the powerhouse bodies within cells which are
necessary in the programmed cell death needed to form skin. Impairment of mitochondrial


160 Martini, C. et al., “Glyphosate-based herbicides with different adjuvants are more potent inhibitors of

   3T3-L1 fibroblast proliferation and differentiation to adipocytes than glyphosate alone,” 2016,
   Comparative Clinical Pathology, Volume 25, Issue 3, pg. 607–613.
161 Nielsen, J. et al., “Defense against dermal exposures is only skin deep: significantly increased

   penetration through slightly damaged skin,” 2007, Arch Dermatol Res, Vol. 299, pg..423-431.
162 Id.

163 Kezic, S. & Nielsen, J.B, “Absorption of chemicals through compromised skin,” 2009, International

   Archives of Occupational and Environmental Health, Vol. 82(6), pg. 677-88.
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function reduces the transition of dermal to epidermal cells leading to a decrease in the
protective epidermis.164

Additional studies by Heu, et al., have demonstrated glyphosate-induced structural
changes.165 In these studies, the control cells show Young’s modulus values respectively
increasing approximately 4-fold for 6 hours and 3-fold for 18 hours. These increases
reflect a significant rise in cell stiffness. Heu, et al., reported that after a gentle cytotoxic
treatment (6 h, 15 mM-glyphosate), the topography profile changes. The cells exhibit a
flattened membrane and a different distribution of native protrusions. They also show a
complex subcellular filamentous network with numerous membrane junction points.166
Thus, glyphosate itself has an intrinsic propensity to damage skin.

Lack of Personal Protective Equipment (PPE)

The presence of systemic glyphosate in humans has been well documented and
previously reported.167 Acquavella, et al., performed biomonitoring of 48 farmers, their
spouses and 79 children (4-18 years) for glyphosate in urine the day before as well as
one and three days after glyphosate application (tractor and boom). They reported
detectable levels of glyphosate in urine on the day of application in sixty percent of the
farmers (geometric mean was 3 ppb, the maximum value was 233 ppb, and the highest
estimated systemic dose was 0.004 mg/kg). The maximum value of 233 ug/L was from
a farmer whose teenage son also had the highest urinary concentration of 29 ug/L among
children. Farmers who did not use rubber gloves had five times more glyphosate
in their urine than those wearing protective gloves. Various glyphosate-based
formulas were used with various surfactants and/or salts. The proportions of participants
with detectable urinary glyphosate differed between the two states: 87% detection rate in
South Carolina; 36% in Minnesota. The urine concentrations were similarly different: 7.9



164 Heu, C., et al., “A step further toward glyphosate-induced epidermal cell death: Involvement of

   mitochondrial and oxidative mechanisms,” 2012, Environmental Toxicology and Pharmacology 34.
165 Heu C, Berquand A, Elie-Caille C, Nicod L., “Glyphosateinduced stiffening of HaCat keratinocytes, a

   Peak Force Tapping study in living cells”, 2012, J Struc Biol 178, pg. 1-7.
166 Id.

167 Acquavella JF, Alexander BH, Mandel JS, Gustin C, Baker B, et al., “Glyphosate biomonitoring for

   farmers and their families: results from the Farm Family Exposure Study,” 2004, Environ Health
   Perspect 112, pg. 321-326.
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µg/L on day of application in South Carolina; 1.4 µg/L on day of application in Minnesota.
The proportion of applicators wearing rubber gloves in Minnesota (96%) was much
greater than that in South Carolina (43%) suggesting that the use of gloves is responsible
for the differences seen. It is interesting to note that a similar proportion of glove-wearing
applicators was reported by Alavanja, et al., 1999: 39% in North Carolina; 76% in Iowa.

Other Factors Increasing Dermal Absorption

Various skin cream compounds applied to the skin prior to handling pesticides have been
demonstrated to alter percutaneous absorption as reported in a study by Brand, et al.,
(2007).168 In these studies, four commercially available moisturizing creams were tested
with respect to their capacity as transdermal penetration enhancers using the herbicide
2,4-dichlorophenoxyacetic acid (2,4-D) as a model compound. Their data demonstrated
that pre-treatment with three of the four creams increased the absorption of 2,4-D as
evidenced by either an increased cumulative penetration or shorter lag-times. Korinth, et
al., (2003) reported that skin barrier creams have been demonstrated to enhance the
penetration rates of different industrial solvents. The creams significantly enhanced the
penetration rates of solvents from complex mixtures compared with the single solvents.169

Ethanol is also well known as a topical penetration enhancer as it is frequently used in
transdermal drug delivery systems (patches). Bommannan, et al., (1991)170 found during
in vivo studies with human skin that ethanol enters the skin and removes measurable
quantities of the lipid barrier material from the stratum corneum. This lipid extraction may
lower the skin barrier function and render the membrane more permeable which is the
most likely explanation for the effect of ethanol as a skin penetration enhancer. The
mechanism by which ethanol facilitates permeation of a solute, such as glyphosate, is




168 Brand, R. et al., “Transdermal absorption of the herbicide 2,4-dichlorophenoxyacetic acid is enhanced

  by both ethanol consumption and sunscreen application,” 2007, Food and Chemical Toxicology,
  Volume 45, Issue 1, pg. 93-97.
169 Korinth G, Geh S, Schaller KH, Drexler H., “In vitro evaluation of the efficacy of skin barrier creams and

  protective gloves on percutaneous absorption of industrial solvents,” 2003, Int Arch Occup Environ
  Health, Vol. 76(5), pg. 382-6.
170 Bommannan D, Potts RO, Guy RH, “Examination of the effect of ethanol on human stratum-corneum

  in vivo using infrared-spectroscopy,” 1991, J Control Release, Vol. 16, pg. 299–304.
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referred to as the “'pull” (or “drag”) effect.171 Hand sanitizer use has become widespread
in the U.S. and typical hand sanitizers contain on average of 62% ethanol.

Thus, the use of creams and lotions to treat dry, cracking skin as well as the use of hand
sanitizers potentiate the dermal absorption of glyphosate among occupational
applicators.




171 Heard CM, Kung D, Thomas CP, “Skin penetration enhancement of mefenamic acid by ethanol and

  1,8-cineole can be explained by the “pull” effect,” 2006, Int J Pharm., Vol. 321:167–170.
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           Part C: Toxicological Assessment of Glyphosate
                            Carcinogenicity
Methodology

For the purposes of toxicological assessment, regulatory rulings play a role no more or
less important than any other objective evidence. The generally-accepted, peer-reviewed
toxicological literature is not based on unsubstantiated, subjective opinions. A responsible
scientific investigation applies a well-established and prescribed risk assessment
methodology.

This assessment applies the generally accepted and U.S. EPA-prescribed investigative
methodology in assessing the potential carcinogenicity of glyphosate. Expert opinions
must always be based on objective, reliable evidence without deviation from the
methodology. The strands of evidence are never assumed to stand by themselves in
isolation but are viewed as pieces of a larger puzzle. Scientific interpretation of the puzzle
forms the basis of the investigative process in which each piece is assessed on its merits.
Only in this manner can a scientifically credible assessment be conducted.

Regulatory Considerations

On July 7, 2017, the State of California listed glyphosate as a carcinogen, a chemical
“known to cause cancer” under the state’s Proposition 65 law. The ruling followed a move
by the World Health Organization’s International Agency for Research on Cancer (IARC)
classifying glyphosate as a “probable human carcinogen.” Monsanto is fighting the state’s
action but the California Supreme Court denied the company’s request to stop the listing
from taking effect while litigation is underway. Monsanto’s vice president of global strategy
announced that “We will continue to aggressively challenge this improper decision.”
Monsanto further alleged that IARC “ignored crucial scientific data that undermines its
conclusion.” To date, Monsanto has produced no objective evidence to directly support
its contention.

Glyphosate is currently undergoing registration review as mandated by the Federal
Insecticide, Fungicide and Rodenticide Act (FIFRA) which requires all registered
pesticides to be re-evaluated every 15 years. As part of the review, the U.S. EPA’s Office
of Pesticide Programs (OPP) released a report dated September 12, 2016, focusing on


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the carcinogenic potential of glyphosate.172 The report included an evaluation of all
cancer bioassays submitted under FIFRA.

Evaluation of Carcinogenic Potential Using Animal Models

U.S. EPA’s Office of Pesticide Programs (OPP) stated that it has followed the U.S. EPA’s
“Guidelines for Carcinogen Risk Assessment.” Consequently, as part of their evaluation
of the results of each cancer bioassay, the OPP performed a Cochran-Armitage test
(trend test) which statistically determines if the tumor incidences observed increased as
the dosages to the groups of test animals (rodents) increased.173

Also undertaken was the Fisher exact test which performs a pairwise comparison of
individual dose groups to controls to determine if the proportion of incidents in a dose
group is statistically increased over the controls.174

The U.S. EPA’s 2005 “Guidelines for Carcinogen Risk Assessment”175 states that “Trend
tests and pairwise comparison tests are the recommended tests for determining whether
chance, rather than a treatment-related effect, is a plausible explanation for an apparent
increase in tumor incidence.” The U.S. EPA’s guidelines then conclude that “Significance
in either kind of test is sufficient to reject the hypothesis that chance accounts for the
result.”

In addition to the trend test and pairwise comparison test, OPP performed a multiple
comparison test as it states in the U.S. EPA’s guidelines that “consideration of multiple
comparisons should also be taken into account.”

Furthermore, for some study results, the OPP compared the incidence proportions to
historical control data as the U.S. EPA’s guidelines also state that “Additional insights




172 U.S. EPA Office of Pesticide Programs, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

   2016, United States Environmental Protection Agency.
173 U.S. EPA, “Guidelines for Carcinogen Risk Assessment,” 2005, EPA/630/P-03/001F, Risk Assessment

   Forum, US Environmental Protection Agency, Washington, DC.
174 Id.

175 Id.


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about both statistical and biological significance can come from an examination of
historical control data.”

Review of OPP Cancer Bioassay Study Results

In the most recent glyphosate cancer bioassay study,176,177 the CD-1 mice bioassay
observed significant results for the Cochran-Armitage trend test and the Fisher exact test.
The results revealed 1) a significant positive trend of increased lymphoma incidents with
increased doses of glyphosate (with only a 0.7% chance that the trend is wrong) and 2)
a significant 10% increase in incidence of lymphoma at the 810 mg/kg/day dose level as
compared to the control group in the study which had zero (0) incidences of lymphoma.
Per the earlier stated U.S. EPA’s carcinogen risk assessment guidelines, “Significance in
either kind of test is sufficient to reject the hypothesis that chance accounts for the result.”
The Wood, et al., 2009b, study had significance in both tests which more than sufficiently
met the requirements of the U.S. EPA guidelines showing that the results are valid.

However, the OPP concluded in its evaluation of the Wood, et al., 2009 study that “…the
agency does not consider the increase in malignant lymphoma to be treatment-related.”
This was because the OPP did not consider significance in either test as its criteria. The
OPP merely mentioned that “a statistically significant trend was observed” and made no
further reference to the trend in their decision making, thus significantly discounting the
importance of the result.

It is both relevant and noteworthy that the rationale behind the OPP’s decision was based
on two additional conditions imposed by the OPP on the Wood, et al., 2009b, study results
These conditions were: 1) a multiple comparison analysis (Šidák correction-an additional




176 (a) Wood, E., Dunster, J., Watson, P., and Brooks, P., (2009a) “Glyphosate technical: Dietary

  combined chronic toxicity/Carcinogenicity study in the rat,” 2009a, Harlan Laboratories Limited, Page
  156 of 227 Shardlow Business Park, Shardlow, Derbyshire DE72 2GD, UK. Study No. 2060-012. April,
  23, 2009. MRID 49957404. From “Glyphosate issue paper: Evaluation of carcinogenic potential,” U.S.
  EPA’s Office of Pesticide Programs, September 12, 2016.
177 (b) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary carcinogenicity

  study in the mouse,” 2009b, Harlan Laboratories Limited, Shardlow Business Park, Shardlow,
  Derbyshire DE72 2GD, UK. Study No. 2060-011. April, 22, 2009. MRID 49957402. From “Glyphosate
  issue paper: Evaluation of carcinogenic potential,” U.S. EPA’s Office of Pesticide Programs September
  12, 2016.
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statistical analysis which made it harder to find a significant difference) and 2) comparing
the significant lymphoma incidents to historical control data.

While the U.S. EPA’s 2005 “Carcinogen Risk Assessment Guidelines” do allow for
“consideration” of multiple comparisons, the guidelines recommend that the results of the
analysis be “taken into account” and “should be treated with caution” and not as criteria
for negating its fundamental guidelines for having a significant trend or a significant
pairwise comparison. Furthermore, when evaluating the results of the Lankas, 1981,
Sprague-Dawley rats bioassay,178 the OPP determined that there was a significant
positive trend (p = 0.009) of increased testicular tumors, a significant increased tumor
incidence proportion at pairwise comparisons of 12% in the highest dose of 31.49
mg/kg/day as compared to the control at 0% (p = 0.039). The OPP applied the multiple
comparison correction which confirmed the pairwise comparisons result (p =0.013). The
OPP still concluded that “… tumors in the testes were not treatment-related” and based
this solely on the fact that, according to the OPP, the controls were “unusually low” for
this type of tumor as compared to historical controls.

In its dismissal of the significance of the Wood, et al., 2009b179, results, the second issue
was the comparison to historical controls. The OPP noted that “For this strain of mouse,
the mean incidence for untreated animals is approximately 4.5% (range: 1.5%-21.7%)
based on historical control data from Charles River (59 studies performed from 1987-
2000; Giknis and Clifford, 2005), Huntingdon Laboratories (20 studies from 1990-2002)
and Son and Gopinath, 2004.” The OPP stated that “Although the data is not from the
performing laboratory, it does indicate that the incidence in concurrent controls in this
study was low which can contribute to the pairwise significance observed at the highest
dose tested with the raw (unadjusted) p-value.”




178 Lankas, G., “A lifetime study of glyphosate in rats,” 1981, Report No. 77-2062 prepared by Bio

  Dynamics, Inc. in U.S. EPA, “Glyphosate issue paper,” 2016 and reported in Greim, et al., 2015.
179 (b) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary carcinogenicity

  study in the mouse,” 2009b, Harlan Laboratories Limited, Shardlow Business Park, Shardlow,
  Derbyshire DE72 2GD, UK. Study No. 2060-011. April, 22, 2009. MRID 49957402. From “Glyphosate
  issue paper: Evaluation of carcinogenic potential,” U.S. EPA’s Office of Pesticide Programs September
  12, 2016


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The U.S. EPA’s 2005 “Carcinogen Risk Assessment Guidelines” allow for insight from
historical controls; however, with regards to the use of historical controls, the guidelines
state “Caution should be exercised in simply looking at the ranges of historical responses
because the range ignores differences in survival of animals among studies and is related
to the number of studies in the database…Generally speaking, statistically significant
increases in tumors should not be discounted simply because incidence rates in the
treated groups are within the range of historical controls or because incidence rates in the
concurrent controls are somewhat lower than average. Random assignment of animals
to groups and proper statistical procedures provide assurance that statistically significant
results are unlikely to be due to chance alone.”

Per the guidelines, when historical control data is used, the evaluation should have
addressed several issues that affect the comparability of historical and current control
data such as genetic drift that would occur in the CD-1 mice strains over time and
differences in the protocols followed by different laboratories in performing their pathology
examination as these protocols can change between labs and over time. According to the
guidelines, “The most relevant historical data comes from the same laboratory and the
same supplier and is gathered within 2 or 3 years of the study under review. Other data
should be used only with extreme caution.”

Inexplicably, the OPP completely ignored the directive to use “extreme caution” as they
used data from other laboratories and from studies published more than 22 years before
the Wood, et al., 2009b, study (i.e. 1987 compared to 2009).

Additionally, the OPP made no indication that they took into account the potential for
genetic drift or differences in laboratory protocols for identifying lesions. Most importantly,
the lower range of historical control data reported by the U.S. EPA was 1.5% which is
close to the observed control lymphoma incidence of 0%. Further, CD-1 mice in the
bioassay by Sugimoto, 1997,180 had a lymphoma incidence of 0% in its controls and a
significantly elevated incidence of 17% at its highest dose.




180 Sugimoto, K., “Eighteen month oral oncogenicity study in mice,” 1997, The Institute of Environmental

  Toxicology, Tokyo, Japan in “Tier II summaries for glyphosate carcinogenicity studies from Greim, et
  al., 2015,” as Arysta Life Sciences, 1997a.
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FIFRA Scientific Advisory Panel Review

The OPP in their report181 stated that it was soliciting advice from FIFRA’s Scientific
Advisory Panel with respect to their evaluation and interpretation of the data on
glyphosate. The FIFRA Scientific Advisory Panel, the peer-review arm of the U.S. EPA,
held a meeting in December, 2016,182 to consider and review the scientific issues
associated with the U.S. EPA’s evaluation of the carcinogenic potential of glyphosate
(2016).

With regards to Wood, et al., 2009b, the FIFRA Scientific Advisory Panel’s memo stated
“In the response of malignant lymphomas in male CD-1 mice in Wood (2009b), it is not
clear that the difference in the observed concurrent control group incidence (0%) should
be considered unusually low as compared to the cited lower bound among historical
controls (1.5%).”

According to the FIFRA panel meeting minutes and final report, “Overall, the panel
concluded that the U.S. EPA evaluation does not appear to follow the U.S. EPA (2005)
Cancer Guidelines in several ways: notably for use of historical control data and statistical
testing requirements.” The minutes also stated that the U.S. EPA’s use of multiple
comparisons after the presence of a significant trend was “neither consistent with the
2005 “Guidelines for Carcinogen Risk Assessment” nor a conservative approach for
public health protection.”

OPP’s “Novel” Assessment Method

It is troubling to all objective scientists (including the FIFRA panel) that OPP deviated from
the long standing U.S. EPA’s evaluation of carcinogenic potential methodology by
implementing novel, non-peer-reviewed, extremely stringent “AND” requirements. U.S.
EPA rules normally apply as “EITHER” as opposed to “AND” with respect to 1) concluding
a significant dose response if one of the pairwise comparisons was significant or 2) the



181 U.S. EPA Office of Pesticide Programs, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, United States Environmental Protection Agency.
182 FIFRA SAP, “A Set of scientific issues being considered by the Environmental Protection Agency

  regarding: EPA’s evaluation of the carcinogenic potential of glyphosate,” 2016, FIFRA Scientific
  Advisory Panel Meeting Minutes and Final Report No. 2017-01.
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Cochran-Armitage tests were significant and the observed trend appeared monotonic. In
the Wood, 2009b study, all 3 tests were positive, exceeding the requirements.

Inexplicably, OPP instituted a peculiar approach for glyphosate only of requiring all 5
factors to be positive. Furthermore, OPP attempted to argue that the control data was
low (0 lymphomas in the control group) compared to 1.5% in the outdated (22-year-old)
data set. Additionally, OPP instituted the highly demanding (Šidák correction analysis)
using multiple comparison adjustments to be positive. Thus, the only factor of the 5 which
Wood, 2009b, did not pass was the Šidák correction analysis – a purely optional test.

Assessment of OPP Conclusions

OPP’s methodology was inappropriate per the FIFRA Scientific Advisory Panel. The OPP
decision to dismiss the results of the Wood, et al., 2009b, study was inevitable by virtue
of applying administrative criteria inconsistent with established methodology, guidelines
and procedures. There is no clear explanation for this.

The upshot is that the OPP decision is not in line with their mission to protect human
health. The rationale as published by OPP raises many questions and leaves a vacuum
where those with a vested interest in objective science would expect to see guidance
from a regulatory body tasked with this outcome. As noted by the Scientific Advisory
Panel, “When one uses conservatism of a test as a criterion, there is no clear stopping
point as a more conservative test can always be found.”

Thus, with respect to the current toxicological risk assessment, strict adherence to long
standing, generally-accepted methodology has been applied throughout.

Chronic Studies and Cancer Bioassays in Animals - Oral Studies

Chronic carcinogenicity bioassays are used to simulate lifetime exposures of an individual
to a chemical. Carcinogenicity bioassays evaluated in this assessment are from studies
submitted for evaluation by regulatory agencies (such as the U.S. EPA). These bioassays
tend to follow OECD accepted guidelines and protocols (Test Nos. 451 and 453) 183 and



183 Greim, H., Saltmiras, D., Mostert, V., Strupp, C., “Evaluation of carcinogenic potential of the herbicide

  glyphosate drawing on tumor incidence data from fourteen chronic/carcinogenicity rodent studies, et
  al.,” 2015, Critical Reviews in Toxicology, Vol. 45(3), pg. 185 - 208.
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are submitted to the U.S. EPA under 40 CFR Part 158.500. This statute requires chronic
carcinogenicity testing studies to be performed on two rodent species for registration of
food use pesticides OR if a pesticide is likely to have repeated human exposure over a
significant portion of the human lifespan.

Glyphosate’s cancer bioassay studies from 1979 to 2009 were evaluated by the U.S.
EPA’s Office of Pesticide Programs (OPP) and the results presented in their 2016 report
entitled “Glyphosate issue paper: Evaluation of carcinogenic potential.”184 A vast majority
of the studies reviewed by the OPP overlapped with those also reviewed in Greim, et al.,
2015,185 and summarized in detail in their report “Tier II summaries for glyphosate
carcinogenicity studies.”186 These two reports were used as sources of data in the current
evaluation of glyphosate’s carcinogenicity. Of note, all of the cancer bioassays in the OPP
evaluation and all but one in Greim, et al., 2015, are unpublished. All of the studies from
the U.S. EPA’s “Glyphosate Issue Paper” 187 and Greim, et al. (with the exception of
Chruscielska, et al., 2000), were dietary studies in which high purity glyphosate was
mixed in with laboratory animals’ food to yield various doses.

The exception, Chruscielska, et al., (2000), is a drinking water study that evaluated a
glyphosate formulation (13.85% glyphosate) and not strictly glyphosate and thus, was not
included in this evaluation.188 Another study from the “Tier II summaries” from Greim, et
al., 2015, entitled “Excel 1997” (authored by Bhide, R.) did not provide information on the
purity of glyphosate used and also was not included in the current evaluation. It was also
found to be unreliable for carcinogenicity evaluation by Greim, et al., 2015, due to
deviations from OECD test guidelines. Another mice study by Reyna and Gordon, 1973,
only examined ten mice out of 50 for histological changes which is insufficient to make


184 U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,” 2016, U.S. EPA’s Office of

  Pesticide Programs, US Environmental Protection Agency.
185 Greim, H., Saltmiras, D., Mostert, V., Strupp, C., “Evaluation of carcinogenic potential of the herbicide

  glyphosate drawing on tumor incidence data from fourteen chronic/carcinogenicity rodent studies, et
  al.,” 2015, Critical Reviews in Toxicology, Vol. 45(3), pg. 185 – 208.
186 “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al., 2015 paper,” Unpublished

  data.
187 U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,” 2016, U.S. EPA’s Office of

  Pesticide Programs, U.S. Environmental Protection Agency.
188 Chruscielska, K., et al., “Glyphosate - Evaluation of chronic activity and possible far-reaching effects

  Part 1. Studies on chronic toxicity,” 2000, Pestycydy Vol. 3-4, pg. 11 – 20.
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such a determination. To date, there are no chronic inhalation carcinogenicity studies or
chronic dermal animal bioassays.

Carcinogenicity in Chronic Dietary Studies

Reliable dietary studies for carcinogenicity are generally long-term studies in which a
substance is fed or applied to test animals at controlled rates under a variety of conditions.
Measurements of health effects, mortality, changes in body mass and other variables are
recorded and incidences of carcinogenicity are carefully noted. Rats and mice are the
most common test animals although other animals are also used.

Two-year studies in laboratory rodents remain the primary method by which test articles
are identified as having the potential to be hazardous to humans. Typically, two or more
species of both sexes are employed to demonstrate the widest possible range of
response and variability although some studies limit sex and specie. Studies in rats along
with studies in human populations (epidemiology studies) are the best means currently
available for identifying potential human hazards. Chemicals recognized by the
International Agency for Research on Cancer (IARC) as human carcinogens essentially
all cause cancer when adequately tested in at least one species of laboratory animals.

Carcinogenicity Studies in Rats

Burnett, et al., 1979 189

In this two year, chronic carcinogenicity study, an aqueous monosodium salt of
glyphosate was administered to 90 albino rats (male and female) through oral intubation
at doses of 0, 3, 10 or 30 mg/kg/day for 24 months.

The results indicated a high rate of mortality in the control group in comparison to the
treated groups. There were no treatment-related increases in tumor incidences observed.




189 Reported in U.S. EPA’s “Glyphosate issue paper: Evaluation of carcinogenic potential,” 2016.


  Burnett, P., Borders, J., Kush, J., “Report to Monsanto Company: Two year chronic oral toxicity study
  with CP-76100 in albino rats: IBT No. 8560-08924,” (Unpublished study sent to the U.S. EPA on June
  24, 1982, under 524-308); prepared by Industrial Bio-Test Laboratories Inc.
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The highest dose tested in this study was 30 mg/kg/day which is considered below the
maximum tolerable dose to assess the carcinogenic potential of glyphosate.

Lankas, 1981190

In this chronic carcinogenicity study, 50 Sprague-Dawley rats (male and female) were fed
diets containing 98.7% pure glyphosate at doses of 0, 3, 10 and 31 mg/kg/day for male
rats and 0, 3, 11, 34 mg/kg/day for female rats (corresponding to 0, 30, 100 and 300 PPM)
for 775 - 776 days for males, and 784 - 785 days for female rats before termination. The
study recorded body weights, organ weights, food consumption, hematology, clinical
chemistry, urinalysis and survival as well as necropsy and histopathological examination.
The results are shown in Table 7 below.




190 Not published but reported in U.S. EPA, “Glyphosate issue paper,” 2016, and reported in Greim, et al.,

  2015, as Monsanto (1981).
  Lankas, G., “A lifetime study of glyphosate in rats,” Report No. 77-2062 prepared by Bio Dynamics,
  Inc., 1981.
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                                                   Table 7
  Incidence of Testicular Interstitial Cell Tumors in Male Sprague-Dawley Rats (Lankas, 1981)191

 Animal Dose (mg/kg                   0                       3                10                31
      bw/day)
    (N) number of                   (50)                     (50)             (50)              (50)
  animals examined
   Tumor incidents                  0**,a                     3                 1               6*,b

    *    Denotes statistical significance at p= 0.05
    **   Denotes statistical significance at p= 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01)
    b    Fisher’s Exact Test (p ≤ 0.05)192

It was reported that the rats’ survival was not impacted by treatment at any dose level.
The 31/34 mg/kg/day (M/F) dose was considered to be a maximum tolerable dose to
assess carcinogenic potential. However, the results showed a statistically significant
trend of increased incidences of interstitial cell tumors of the testes (Leydig cell
tumor) in male rats. Furthermore, the incidence was statistically elevated in the high-dose
males as compared to the control. This was the only incidence of testicular interstitial cell
tumor among the rat studies.

Pavkov and Wyand, 1987193

Pavkov and Wyand, 1987, is a two year, chronic carcinogenicity study in which
glyphosate trimesium salt (sulfosate, 56.2% pure) was administered to male and female
Sprague-Dawley rats with 60 rats in the first dose group, 80 rats in the second dose




191 This table is adapted from U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs.
192 Fisher’s Exact Test Results are per the EPA.

193 Unpublished and reported in U.S. EPA’s “Glyphosate issue paper: Evaluation of carcinogenic

  potential,” 2016.
  Pavkov, K., Wyand, “Two year chronic toxicity and oncogenicity dietary study with SC-0224 in mice,”
  1987, Stauffer Chemical Company.
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groups and 90 rats in the third dose group. The dose groups were 0, 4.2, 21.2, or 41.8
mg/kg/day for male and 0, 5.4, 27, 55.7 mg/kg/day for female rats for 24 months.

The treatment doses had no effect on survival.                    There were no treatment-related
increases in tumor incidences in this study.

Stout and Ruecker, 1990194

This two year, chronic carcinogenicity study fed groups of 60 Sprague-Dawley rats (male
and female) diets containing 96.5% pure glyphosate at doses of 0, 89, 362 and 940
mg/kg/day for male rats and 0, 113, 457, 1183 mg/kg/day for female rats (corresponding
to 0, 2,000, 8,000 and 20,000 PPM). Ten rats per dose group were sacrificed at an interim
of 12 months for examination.

Examination of the rats covered clinical signs, ophthalmic examinations, body weight,
food consumption, hematology, clinical chemistry, urinalysis, organ weights, necropsy
and histopathological examination. The researchers observed that rats’ survival was not
impacted by treatment. A significant trend of elevated incidences of hyperplasia was
observed in the stomach squamous mucosa cells. (Hyperplasia is the abnormal
enlargement of an organ due to an increased replication rate of cells which can progress
to become malignant.)195 There were also significantly elevated trends of benign tumors
(adenomas) of the pancreas, liver and thyroid, as shown in Table 8.




194 Not published but reported in U.S. EPA, 2016 and reported in Greim, et al., 2015, as Monsanto (1990).


  Stout, L., Ruecker, P., “Chronic study of glyphosate administered in feed to albino rats,” 1990.
195 NCI, “Definition of hyperplasia,” n.d., NCI Dictionary of Cancer Terms, National Cancer Institute.

  Retrieved from: https://www.cancer.gov/publications/dictionaries/cancer-terms?cdrid=45956
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                                          Table 8
    Histopathology Results Observed in Sprague-Dawley Rats (Stout and Ruecker, 1990) 196

              Histopathology            Dose groups (PPM)           0           2000        8000        20000

                    Tissue              Dose groups (Male/Female)   (0/0)       (89/113)    (362/457)   (940/1183)
                                        mg/kg bw/day

 Non-neoplastic     Stomach squamous    Hyperplasiaa,b   Males      3/58 (5)    3/58 (5)    5/59 (8)    7/59 (12)

 lesions            mucosa                               Females    2/59 (3)    3/60 (5)    9/60 (15)   6/59 (10)

 Neoplastic         Pancreatic islet    Adenomas         Males      1/43 (2)*   8/45 (18)   5/49 (10)   7/48 (15)*,c

 lesions            cells
                    Liver               Adenomas         Males      2/44 (5)*   2/45 (4)    3/49 (6)    7/48 (15)

                    Thyroid C-Cells     Adenomas         Males      2/54 (4)    4/55 (7)    8/58 (14)   7/58 (12)

                                        Carcinomas       Males      0/54 (0)    2/55 (4)    0/58 (0)    1/58 (2)

                                        Combined         Males      2/54 (4)    6/55 (11)   8/58 (14)   8/58 (14)

                                        Adenomas         Females    2/57 (4)*   2/60 (3)    6/59 (10)   6/55 (11)

                                        Carcinomas       Females    0/57 (0)    0/60 (0)    1/59 (2)    0/55 (0)

                                        Combined         Females    2/57 (4)*   2/60 (3)    7/59 (12)   6/55 (11)

     *     Denotes statistical significance at p= 0.05
     a     Number of incidents/number of animals examined, excluding those that died or were sacrificed
           prior to week 55
     b     Percentages of incidents appear in parenthesis
     c     Fisher’s Exact Test (p ≤ 0.05)197

The trend analysis for pancreatic tumors was not statistically significant as incidents of
pancreatic tumors did not follow a dose response pattern; however, they were statistically
elevated in the low and high dose groups as compared to the controls.

In the case of tumors in multiple tissue locations, the National Toxicology Program uses
the following criteria for listing a chemical as “Reasonably Anticipated to be a Human
Carcinogen.” When “there is sufficient evidence of carcinogenicity from studies in



196 This table is adapted from both U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic

  potential,” 2016, and “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al.,
  paper, 2015.” “Fisher’s Exact Test” and “Cochran-Armitage Trend test results” were performed by U.S.
  EPA.
197 Fisher’s Exact Test results are per the U.S. EPA.


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experimental animals which indicates there is an increased incidence of malignant and/or
a combination of malignant and benign tumors (1) in multiple species or at multiple tissue
sites or (2) by multiple routes of exposure or (3) to an unusual degree with regard to
incidence, site or type of tumor or age at onset.” 198

Consequently, this study is a good indicator that glyphosate is reasonably anticipated to
be a human carcinogen.

Atkinson, et al., 1993199

This chronic toxicity/carcinogenicity study fed groups of 50 Sprague-Dawley rats (male
and female) diets containing 98.9% pure glyphosate at doses of 0, 11, 112, 320 and 1,147
mg/kg/day for male rats and 0, 12, 109, 347 and 1,134 mg/kg/day for female rats for 104
weeks before termination. The treatment doses had no effect on survival. There were no
treatment-related increases in tumor incidences in this study.

Suresh, 1996200

This two year, chronic carcinogenicity study fed groups of 50 Wister rats (male and
female) diets containing 96.8% pure glyphosate at doses of 0, 7.4, 73.9, and 740.6
mg/kg/day for male and female rats (corresponding to 0, 100, 1,000 and 10,000 PPM).
Twenty rats per sex were sacrificed at an interim of twelve months for examination.

The rats’ survival was not affected by treatment. A high volume of tumor incidences was
observed in moribund animals sacrificed after termination of the study as shown in the
table below. Tumor incidences appeared elevated above controls in the low and mid
doses (hepatocellular carcinoma and intrahepatic bile duct adenoma); these did not
exhibit dose-response relationships (as shown in Table 9) and were not statistically
significant.




198 https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html

199 Not published but reported in U.S. EPA, 2016, and reported in Greim, et al., 2015, as Cheminova

  (1993).
200 Not published but reported in U.S. EPA, 2016, and reported in Greim, et al., 2015, as Feinchemie

  Schwebda (1996).
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                                          Table 9
        Neoplastic histopathological findings in Wistar Male Rats201 (Suresh, 1996)

                                         Animal Dose        Incidence of          Incidence of
                                           in PPM           Adenoma (%)          Carcinoma (%)

      Hepatocellular (male rats)                0           24/50 (48%)        21/50 (42%)

                                               100          22/50 (44%)        28/50 (56%)

                                              1,000         10/52 (19%)        18/48 (38%)

                                             10,000         21/41 (51%)        24/50 (48%)

      Bile duct (intrahepatic                   0           2/50 (4%)          1/50 (2%)
      adenomas and                             100          1/50 (1%)          3/50 (6%)
      cholangiocarcinoma) (male
                                              1,000         0/50 (0)           2/48 (4%)
      rats)
                                             10,000         0/50 (0)           3/50 (6%)

      Hepatocellular (female rats)              0           18/50 (36%)        10/50 (20%)

                                               100          18/48 (38%)        15/48 (31%)
                                              1,000         19/49 (39%)        14/49 (29%)

                                             10,000         13/50 (26%)        9/50 (18%)

      Bile duct (intrahepatic                   0           6/50 (12%)         1/50 (2)
      adenomas and                             100          11/48 (23%)        0/48 (0)
      cholangiocarcinoma) (female
                                              1,000         12/48 (25%)        0/50 (0)
      rats)
                                             10,000         4/50 (8%)          0/50 (0)




201 This table was adapted from “Tier II summaries for glyphosate carcinogenicity studies from Greim, et

  al., 2015, paper.”
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Entomoto, A. (1997)202

This two year chronic toxicity/carcinogenicity study fed groups of 50 Sprague-Dawley rats
(male and female) diets containing 94.6 - 97.56% pure glyphosate at doses of 0, 104,
354, and 1,127 mg/kg/day for male rats and 0, 115, 393 and 1,247 mg/kg/day for female
rats corresponding to 0, 3000, 10,000 and 30,000 PPM.

Examination of the rats by this study covered clinical signs, ophthalmic examinations,
body weight, food consumption, hematology, clinical chemistry, urinalysis, organ weights,
necropsy and histopathological examination.

Results on neoplasms were considered to not be treatment-related by the authors and
were not reported.

Brammer, 2001203

This chronic carcinogenicity study fed groups of 52 Wister rats (male and female) diets
containing 97.6% pure glyphosate at doses of 0, 121, 361 and 1,214 mg/kg/day for male
rats and 0, 145, 437, 1,498 mg/kg/day for female rats (corresponds to 0, 2000, 6000, and
20,000 PPM) for 24 months before termination.

Examination of the rats by this study covered clinical signs, ophthalmic examinations,
body weight, food consumption, hematology, clinical chemistry, urinalysis, organ weights,
necropsy and histopathological examination.

A significantly higher survival trend was found in male treated rats (p=0.03) with a
significant higher survival found in the highest dosed group of male rats (p =0.02). As
shown in Table 10, a statistically significant trend (p= 0.008) was found for liver adenomas
in male rats although the middle dose did not show a response. A statistically elevated
tumor incidence was also found at the high dose concentration at p= 0.028.




202 Not published but reported in U.S. EPA, 2016, and reported in Greim, et al., 2015, as Arysta Life

  Sciences (1997).
203 Not published but reported in U.S. EPA, 2016 and in Greim, et al., 2015, as Syngenta (2001).


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                                         Table 10
             Incidence of Liver Adenomas in Male Wister rats204 (Brammer, 2001)

  Animal Dose (mg/kg/day)                  Tumor incidence                  Percentage Incidence
                 0                                0/52 a**                              0

                121                                  2/52                               4

                361                                  0/52                               0

               1,214                                 5/52b*                            10

    * Denotes statistical significance at p= 0.05
    ** Denotes statistical significance at p= 0.01
    a  Cochran-Armitage Trend Test (p ≤ 0.01)
    b  Fisher’s Exact Test (p ≤ 0.05)205



Wood, et al., 2009a206

This chronic carcinogenicity study fed groups of 51 Wister rats (male and female) diets
containing 95.7% pure glyphosate at doses of 0, 95, 316.9 and 1,229.7 mg/kg/day for
male and female rats equivalent to 0, 1500, 5000, and 15,000 PPM for 24 months before
termination.

A statistically significant trend of elevated incidences of mammary gland tumors
(adenocarcinomas) (p=0.042), combined adenomas and carcinoma (p = 0007)) were
noted in female rats as shown in Table 11 below. A statistical difference was noted at the
high dose when adenoma and carcinoma incidences were combined.




204 This table is adapted from U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend test
  results were performed by the U.S. EPA.
205 Fisher’s Exact Test results are per the U.S. EPA.

206 Not published but reported in U.S. EPA, 2016, and in Greim, et al., 2015, as Nufram, (2009a).


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                                      Table 11
       Mammary Gland Tumor Incidences in Female Wister Rats (Wood et al, 2009a)207

      Animal Dose in          Incidence of               Incidence of       Combined Incidences
        mg/kg/day             Adenoma (%)               Carcinoma (%)              (%)
               0                  0/51 (0)                2/51 (4)*,a              2/51 (4)**,b
              95                  0/51 (0)                 3/51 (6)                 3/51 (6)
            316.9                 0/51 (0)                 1/51 (2)                 1/51 (2)
           1,229.7                2/51 (4)                6/51 (12)                8/51 (16)*,c

     * Denotes statistical significance at p= 0.05
     ** Denotes statistical significance at p= 0.01
     a  Cochran-Armitage Trend Test (p ≤ 0.05)
     b  Cochran-Armitage Trend Test (p ≤ 0.01)
     c  Fisher’s Exact Test (p ≤ 0.05) 208


Summary of Rat Carcinogenicity Studies

Three out of six feeding studies with dietary doses within regulatory guidelines (i.e.
maximum tolerated dose or MTD)209 had positive trends and/or significantly elevated
tumor incidences. One study, Stout and Ruecker (1990), observed elevated tumor trends
in multiple tissue types - pancreas, liver and thyroid. In Stout and Ruecker, hyperplasia,
which can be a precursor to cancer, was also found at significantly elevated levels in the
stomach squamous mucosa.




207 This table is adapted from U.S. EPA, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend test
  results were performed by U.S. EPA.
208 Fisher’s Exact Test results are per the U.S. EPA.

209 “Long-term animal studies at or near the maximum tolerated dose level (MTD) are used to ensure an

  adequate power for the detection of carcinogenic activity,” in U.S. EPA, “Guidelines for carcinogen risk
  assessment,” EPA/630/R-00/004, September 1986, page 5.
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Other studies found elevated incidences of tumors in the testes (Lankas, 1981), liver
(Brammer, 2001) and mammary glands (Wood, et al., 2009a) 210. Statistically significant
doses were observed for testicular, pancreatic, liver and mammary glands. The results
are summarized in Table 12 below.

                                        Table 12
                     Summary of Bioassays for Detecting Carcinogenicity

                 Doses /
                Concentrati       Test gender
   Study           on               / Strain            Tumor Incidences                   Comments
 Burnett, et   0, 3, 10, or 30    Male and        Negative                               Dose below
 al., 1979     mg/kg/day          female /                                               regulatory testing
                                  Albino rats                                            guidelines
 Lankas,       0, 3, 10 and       Male /          Positive trend of elevated             Dose below
 1981          31 mg/kg/day       Sprague-        testicular interstitial cell tumors.   regulatory testing
                                  Dawley rats     Positive elevated tumor incidence      guidelines
 Pavkov        0, 4.2, 21.2, or   Male and        Negative                               Dose below
 and           41.8               female /                                               regulatory testing
 Wyand,        mg/kg/day          Sprague-                                               guidelines
 1987                             Dawley rats
 Stout and     0, 89, 362 and     Male and        Positive trend of elevated
 Ruecker,      940 mg/kg/day      female /        hepatocellular adenomas in male
 1990                             Sprague-        mice and thyroid c-cell tumor in
                                  Dawley rats     male rats. Significantly elevated
                                                  incidents of pancreatic
                                                  adenomas,
 Atkinson et   0, 11/12,          Male and        Negative                               Positive trend for
 al., 1993     112/109,           female /                                               thyroid follicular
               320/347 and        Sprague-                                               cell tumors found
               1,147/1134         Dawley rats                                            independently
               mg/kg/day
 Suresh,       0, 7.4, 73.9,      Male and        Negative
 1996          and 740.6          female /
               mg/kg/day          Wister rats




210 (a) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary combined

  chronic toxicity/carcinogenicity study in the rat,” 2009a, Harlan Laboratories Limited, Page 156 of 227
  Shardlow Business Park, Shardlow, Derbyshire DE72 2GD, UK. Study No. 2060-012. April, 23, 2009.
  MRID 49957404. From Glyphosate issue paper: Evaluation of carcinogenic potential, U.S. EPA’s
  Office of Pesticide Programs, September 12, 2016.


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                                       Table 12
                    Summary of Bioassays for Detecting Carcinogenicity

               Doses /
              Concentrati    Test gender
   Study         on            / Strain            Tumor Incidences                Comments
 Entomoto,    0, 104/115,    Male and        Negative                            Positive trend for
 1997         354/393,       female /                                            kidney adenomas
              1127/1247      Sprague-
              mg/kg/day      Dawley rats
 Brammer,     0, 121, 361    Male Wister     Positive trend in liver adenomas,
 2001         and 1,214      rats            positive significance at 1,214
              mg/kg/day                      dose
 Wood et      0, 95, 316.9   Female Wister   Positive trend and significant
 al., 2009a   and 1,229.7    Rats            incidences of mammary gland
              mg/kg/day                      tumors at 1,229.7 mg/kg/day



Furthermore, Dr. Portier, former director of the NIEHS (National Institute of Environmental
Health Sciences) and a collaborator on IARC monographs, was able to review the
complete animal laboratory data from chronic carcinogenicity studies of glyphosate and
noted additional significant tumor trends that were not reported in the U.S. EPA’s
publication nor in the supplemental material from Greim, et al, 2015. This includes:

   •   Atkinson, et al., 1993. Thyroid follicular cell adenomas and carcinomas in male
       Sprague Dawley rats: 0/50, 0/50, 0/50, 2/50, 2/49 (p=0.04)

   •   Lankas, et al, 1981. Thyroid c-cell carcinomas in female Sprague Dawley rats
       1/47, 0/49, 2/50, 6/47 (p=0.003)

   •   Entomoto, 1997. Kidney adenoma in male Sprague Dawley rats: 0/50, 0/50, 0/50,
       4/50 (p=0.004)

   •   Wood, et al., 2009b. Skin keratocanthoma in male Wister rats: 2/51, 3/51, 0/51,
       6/51 (p=0.03)

In the case of tumors in multiple tissue locations, the National Toxicology Program
identified a chemical as “Reasonably Anticipated to be a Human Carcinogen” when:




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        “There is sufficient evidence of carcinogenicity from studies in experimental
        animals which indicates there is an increased incidence of malignant and/or a
        combination of malignant and benign tumors (1) in multiple species or at multiple
        tissue sites or (2) by multiple routes of exposure or (3) to an unusual degree with
        regard to incidence, site, or type of tumor or age at onset.” 211



Carcinogenicity Studies in Mice

As with rat studies, two-year chronic carcinogenicity studies in laboratory mice provide
valuable data with respect to identifying substances having the potential to be hazardous
to humans. Typically two or more species of both sexes are employed to demonstrate the
widest possible range of response and variability, though some studies limit sex and
specie.

Knezevich and Hogan, 1983212

This chronic carcinogenicity study fed groups of 50 CD-1 mice (male and female) diets
containing 99.78% pure glyphosate at doses of 0, 161, 835 and 4,945 mg/kg/day for male
mice and 0, 195, 968, and 6,069 mg/kg/day for female mice for 24 months prior to
termination. Complete necropsy examinations were performed on all animals which died
or when they were sacrificed at termination.

Incidences of hepatocellular lesions were found to have statistically significant trends
observed for central lobular hepatocyte hypertrophy, centrilobular hepatocyte necrosis
and chronic interstitial nephritis in males and hypertrophy in females. Results appear in
Tables 13 and 14.




211 National Toxicology Program, “Listing criteria,” 2016, Report on Carcinogens, Public Health, U.S.

  Department of Health and Human Services, Retrieved from:
  https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html
212 Not published but reported in U.S. EPA, 2016, and in Greim et al., 2015, as Monsanto, (1983).


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                                            Table 13
                    Lesions in Male CD-1 Mice (Knezevich and Hogan, 1983)213

                                              Concentrations of glyphosate in diet (PPM)
     Condition                   Sex           0              1,000           5,000          30,000
     Urinary bladder              M           3/49             3/50           10/50              8/50
     hyperplasia

     Hepatocellular               M           9/49             5/50            3/50              17/50
     centrilobular
     hypertrophy                  F           0/49             5/50            1/49              1/49

     Hepatocellular               M          0/49**a           2/50            2/50          10/50**b
     centrilobular necrosis

    ** Denotes statistical significance at p= 0.01
    a  Cochran-Armitage Trend Test (p ≤0.01)
    b  Fisher’s Exact test (p ≤0.01)214


                                             Table 14
                      Kidney Tubular Cell Tumor Incidences in male CD-1 mice
                                 (Knezevich and Hogan, 1983)215

      Animal Dose in          Incidence of               Incidence of       Combined Incidences
        mg/kg/day             Adenoma (%)               Carcinoma (%)              (%)
               0                  1/49 (2)                 0/49 (0)                   1/49 (2)

             161                  0/49 (0)                 0/49 (0)                   0/49 (0)

             835                  0/50 (0)                 1/50 (2)                   1/50 (2)

            4,945                 1/50 (2)                 2/50 (4)                   3/50 (6)


The US. EPA’s OPP review noted an incidence of renal tubule tumors in the male mice,
which are considered rare, but stated that there was limited historical data for this mice



213 This table is adapted from Greim, et al., 2015. Fisher’s Exact Test and Cochran-Armitage Trend Test

  results were performed by U.S. EPA.
214 Fisher’s Exact Test results are per the U.S. EPA.

215 This table is adapted from U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend Test
  results were performed by U.S. EPA.
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strain and no significant pairwise comparison. However, it should be noted that U.S.
EPA’s “Guidelines for Carcinogen Risk Assessment”216 states that “For the evaluation of
rare tumors, even small tumor responses may be significant compared to historical data.”

Pavkov and Turnier, 1987

This two year study of chronic toxicity/carcinogenicity fed groups of CD-1 mice (male and
female) diets containing glyphosate trimesium salt (56.2 % pure glyphosate) at doses of
0, 11.7, 118, and 991 mg/kg/day for male mice and 0, 16, 159 and 1,341 mg/kg/day for
female mice. Sixty mice per sex were tested in the control group and 80 mice per sex
were tested in the low and mid-dose group while 90 mice per sex were tested in the high
dose group.

Results on neoplasms were considered to not be treatment-related by the authors and
were not reported.

Atkinson, et al., 1993217

This chronic carcinogenicity study fed groups of 50 CD-1 mice (male and female) diets
containing >97% pure glyphosate at doses of 0, 98, 297 and 988 mg/kg/day for male mice
and 0, 102, 298, and 1,000 mg/kg/day for female mice for 24 months before termination.

Results of this study observed a statistically significant trend in hemangiosarcomas in
male CD-1 mice. The only significant increase occurred at the high dose (see Table 15).




216 U.S. EPA, “Guidelines for carcinogen risk assessments,” EPA/630/R-00-004, September 1986, page

  6.
217 Not published but reported in U.S. EPA, 2016, and in Greim, et al., 2015, as Cheminova, (1993b).


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                                       Table 15
         Incidences of Hemangiosarcomas in Male CD-1 Mice218 (Atkinson et al., 1993)

  Animal Dose (mg/kg/day)                  Tumor incidence                  Percentage Incidence
                 0                                0/47 **a                              0

                98                                 0/46                                 0

                297                                0/50                                 0

                988                               4/45 **                               9

    **   Denotes significance at p = 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01)

Sugimoto, K., 1997219

This chronic carcinogenicity study fed groups of 50 CD-1 mice (male and female) diets
containing 94.6 and 97.6% pure glyphosate at doses of 0, 165, 838.1 and 4,348
mg/kg/day for male and 0, 153.2, 786.8 and 4,116 mg/kg/day for female mice equivalent
to 0, 1,600, 8,000 and 40,000 PPM for male and female mice for 18 months before
termination.

Results of this study observed a statistically significant trend in hemangioma in male CD-
1 mice and a significantly increased rate of malignant lymphomas. The only significant
increase in hemangioma occurred at the highest dose. Results are shown in Tables 16
and 17.




218 This table is adapted from U.S. EPA’s, “Glyphosate issue paper: Evaluation of carcinogenic potential,”

  2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and Cochran-Armitage Trend Test
  results were performed by U.S. EPA.
219 Not published but reported in U.S. EPA, 2016, and in Greim, et al., 2015, as Arysta Life Sciences,

  (1997a).
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                                        Table 16
             Incidences of Hemangioma in Female CD-1 Mice220 (Sugimoto, 1997)

  Animal Dose (mg/kg/day)                  Tumor incidence                 Percentage Incidence
                 0                                0/50 **a                              0
               153.2                               0/50                                 0
               786.8                               2/50                                 4
               4,116                              5/50 **                             10*,b

    *    Denotes significance at p = 0.05
    **   Denotes significance at p = 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01), 2016
    b    Fisher’s Exact Test (p ≤ 0.05)221




                                                Table 17
                  Incidences of Malignant Lymphomas in Male CD-1 Mice
           Which Survived Until Termination of the Experiment222 (Sugimoto, 1997)

  Animal Dose (mg/kg/day)                  Tumor incidence                 Percentage Incidence

                 0                                0/26 a                                0

                165                                0/34                                 0

               838.1                               1/27                                 4

               4,348                              5/29 **                              17

    **   Denotes significance at p = 0.01
    a    Cochran-Armitage Trend Test (p ≤ 0.01)


220 This table is adapted from Wood et al., 2009b, in U.S. EPA’s, “Glyphosate issue paper: Evaluation of

  carcinogenic potential,” 2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and
  Cochran-Armitage Trend Test results were performed by U.S. EPA.
221 Fisher’s Exact Test results are per the U.S. EPA.

222 This table is adapted from Wood et al., 2009b, in U.S. EPA’s, “Glyphosate issue paper: Evaluation of

  carcinogenic potential,” 2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and
  Cochran-Armitage Trend Test results were performed by U.S. EPA.
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Kumar, 2001223

This chronic carcinogenicity study fed groups of 50 Swiss albino mice (male and female)
diets containing > 95.14 % pure glyphosate at an average dose of 0, 14.7, 150.5 and
1,460.3 mg/kg/day for male equivalent to 0, 100, 1,000 and 10,000 PPM for male and
female mice for 18 months before termination.

The mortality of mice after 18 months of the study was 44, 40, 44 and 54% for males and
32, 32, 40 and 40% in females in the control through high dose groups. Mortality was
slightly elevated in the dosed mice above the control group. The authors determined that
mortality was unusually high for the strain and was not dose related without adequate
explanation. More recently, an unsubstantiated allegation of a former US EPA official
(Jess Rowland) stated that the mice used in the study were suffering from a viral infection
that might have caused cancer. Another alleged weaknesses with the study cited a high
background of malignant lymphomas in control mice used for the study. However, as
shown below in Table 18, only females revealed a high background rate of lymphoma.
Results of this study observed a highly statistically significant Cochran-Armitage Trend
Test (p ≤ 0.01) and trend among male mice with only 1 positive lymphoma mouse in the
control group and a significance (p = 0.01) incident rate of lymphoma amongst the high
dose group as detailed in Table 18.




223 Not published but reported in U.S. EPA, 2016, and in Greim et al., 2015, as Feinchemie Schwebda,

  (2001).
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                                         Table 18
          Incidences of malignant lymphomas in Swiss Albino Mice224 (Kumar, 2001)


                                  Glyphosate dose in PPM (percentage incidence)
                       Gender             0                100              1,000              10,000

 Terminal                Male         1/28 (4) a        3/30 (10)         3/28 (11)          6/23 (26) **
 sacrificed mice
                       Female         9/34 (26)        10/34 (29)         6/30 (20)          13/30 (43)

 Dead and                Male         9/22 (41)         12/20(60)        13/22 (59)          13/27 (48)
 moribund mice
                       Female         9/16 (56)        10/16 (63)        13/20 (65)          12/20 (60)

 Combined                Male        10/50 (20) a      15/50 (30)        16/50 (32)         19/50 (38) **

                       Female        18/50 (36)        20/50 (40)        19/50 (38)          25/50 (50)

     **   Denotes significance at p = 0.01
     a    Cochran-Armitage Trend Test (p ≤ 0.01)

The U.S. EPA’s evaluation noted that the population of mice in the study had a viral
infection and, therefore, did not include the results in their assessment.

Wood, et al., 2009b225

The study was conducted between October 2005 and November 2007 in which four
groups of 51 male CD-1 mice received daily dietary doses of 0, 500, 1,500 and 5,000
PPM 95.7%-technical grade glyphosate (resulting in an average glyphosate consumption
of 71.4, 234.2, and 810 mg/kg/day) for 80 weeks.226




224 Data in table is adapted “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al.,

  2015 paper.”
225 Not published but reported in U.S. EPA, 2016, and in Greim, H., Saltmiras, D., Mostert, V., Strupp, C.,

  “Evaluation of carcinogenic potential of the herbicide glyphosate drawing on tumor incidence data from
  fourteen chronic/carcinogenicity rodent studies, et al.,” 2015, Critical Reviews in Toxicology, Vol. 45(3),
  pp. 185 - 208, as Nufram, (2009).
226 Note that Greim, et al., referenced this as an 18 month study. Greim, H., Saltmiras, D., Mostert, V.,
  Strupp, C., “Evaluation of carcinogenic potential of the herbicide glyphosate drawing on tumor
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A statistically significant trend of increased incidence of lymphomas and lung
adenocarcinomas was observed (Table 19). A statistically significant elevated lymphoma
incidence was observed in the 810 mg/kg/day dose group. Additionally, significant
lymphoid hyperplasia was observed at low and mid doses in males (71.4 and 234.2
mg/kg/day) while malignant lymphomas were significantly induced at 810 mg/kg/day.



                                    Table 19
     Incidence of Malignant Lymphomas in Male CD-1 Mice227 (Wood et al., 2009b)

 Doses (mg/kg/day)                                   0             71.4         234.2          810
 Lung                     Incidences               5/51a           5/51          7/51         11/51
 Adenocarcinoma
                          % Incidences               10             10            14            22

 Lymphomas                Incidences               0/51 a          1/51          2/51         5/51b

                          % Incidences               0               2             4            10
    a   Cochran-Armitage Trend Test (p = 0.007)
    b   Fisher’s Exact Test (p=0.028)




Summary of Mice Carcinogenicity Studies

Four out of six mice (67%) feeding studies with dietary doses within regulatory guidelines
(i.e., at or near maximum tolerated dose or MTD)228 had positive trends and/or
significantly elevated tumors incidences. Two studies, Atkinson (1993) and Sugimoto
(1997) observed significant trends of hemagiosarcomas including a significant incidence
level at 4,116 mg/kg/day dose in Sugimoto (1997).



  incidence data from fourteen chronic/carcinogenicity rodent studies, et al.,” 2015, Critical Reviews in
  Toxicology, Vol. 45(3), pg. 185 - 208.
227 This table is adapted from Wood, et al., 2009b, in U.S. EPA’s, “Glyphosate issue paper: Evaluation of

  carcinogenic potential,” 2016, U.S. EPA’s Office of Pesticide Programs. Fisher’s Exact Test and
  Cochran-Armitage Trend Test results were performed by U.S. EPA.
228 “Long-term animal studies at or near the maximum tolerated dose level (MTD) are used to ensure an

  adequate power for the detection of carcinogenic activity,” in U.S. EPA “Guidelines for carcinogen risk
  assessment,” EPA/630/R-00/004, September, 1986, page 5.
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Significant trends of increasing incidences of malignant lymphomas were found with
increasing glyphosate doses in Sugimoto (1997), Kumar (2001) and Wood, et al.,
(2009b). The Wood, et al., (2009b) study also found a significantly increased trend for
incidences of lung adenocarcinomas and another study species showing significant
results for malignancies in multiple tissues.

The National Toxicology Program identifies as their criteria for listing a chemical as
“Reasonably Anticipated to be a Human Carcinogen” to be when:

         “There is sufficient evidence of carcinogenicity from studies in experimental
        animals which indicates there is an increased incidence of malignant and/or a
        combination of malignant and benign tumors (1) in multiple species or at multiple
        tissue sites or (2) by multiple routes of exposure or (3) to an unusual degree with
        regard to incidence, site, or type of tumor or age at onset.” 229

Based upon the U.S. EPA guidelines, there is evidence of uncommon tumor types,
tumors at multiple sites, tumors in multiple species, strains and dose-related increases.

Table 20 presents a summary of the mice carcinogenicity studies cited herein.




229 https://ntp.niehs.nih.gov/pubhealth/roc/criteria/index.html


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                                         Table 20
                   Summary of Bioassays for Detecting Mice Carcinogenicity

    Study           Doses /            Test gender /             Tumor                   Comments
                  Concentration           Strain               Incidences
 Knezevich        0, 161, 835 and     Male / CD-1 Mice     None                    Elevated incidences of
 and Hogan,       4,945 mg/kg/day                                                  hepatocellular necrosis
 1983                                                                              and hypertrophy in mice.
                                                                                   Also elevated urinary
                                                                                   bladder hyperplasia.
                                                                                   Elevated incidences of
                                                                                   rare kidney tubular cell
                                                                                   carcinoma; not to the
                                                                                   level of statistical
                                                                                   significance.
 Pavkov and       0, 11.7/16,         Male and female      None
 Turnier, 1987    118/159, and        / CD-1 Mice
                  991/1341
                  mg/kg/day

 Atkinson et      0, 98, 297 and      Male / CD-1 Mice     Positive trend in
 al., 1993        988 mg/kg/day                            hemangiosarcomas

 Sugimoto,        0, 165/153.2,       Male and female      Positive trend in
 1997             838.1/786.8 and     / CD -1 Mice         hemangiosarcomas
                  4,348/4,116                              and significant
                  mg/kg/day                                incidence levels of
                                                           hemangiosarcomas
                                                           and malignant
                                                           lymphoma

 Kumar, 2001      0, 14.7, 150.5,     Male and female      Positive trend and      U.S. EPA OPP stated
                  and 1,460.3         / Swiss Albino       elevated incidence      that a viral infection was
                  mg/kg/day           Mice                 of malignant            present in the colony of
                                                           lymphoma                mice. (unsubstantiated
                                                                                   allegation)230
 Wood, et al.,    0, 71.4, 234.2      Male / CD-1 Mice     Positive trend and
 2009b            and 810                                  elevated incidence
                  mg/kg/day                                of malignant
                                                           lymphoma




230 There are no documents available that provide any objective scientific evidence for viral infections.

  Rather, the health status of animals simply supported the plausibility of a viral infection.
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             Part D: Glyphosate Carcinogenicity Assessment
Introduction

A cancer slope factor (CSF) estimates the risk of cancer associated with exposure to a
carcinogenic or potentially carcinogenic substance. Mathematically, a slope factor is an
upper bound, approximating a 95% confidence limit. It is used to demonstrate cancer risk
from a lifetime exposure to a substance by ingestion, dermal exposure or inhalation.

As previously noted, the generally-accepted, peer-reviewed toxicological literature is not
based on unsubstantiated, subjective opinions. A responsible scientific investigation
applies a generally accepted and well documented risk assessment methodology. Thus,
calculating a reliable cancer slope factor is predicated upon applying the best available
information “as per schedule” according to the prescribed methodology.

U.S. EPA guidelines231 repeatedly stress the need for good information in its guidance,
which is specific and demanding. U.S. EPA methodology recommends any study used
for the purpose of calculating a cancer slope factor should meet the following criteria:

    •   Study should apply at least two dose groups plus a control group.

    •   Study should have sufficient sensitivity to provide data for multiple dose ranges

    •   Study should meet all statistical testing requirements.

    •   Study should characterize exposure at multiple exposure levels.

    •   Study should demonstrate statistically-significant results and show clear trends
        with respect to dose-response outcomes.

Following U.S. EPA methodology the Wood, et al., 2009b232 study was chosen as the
primary study to derive an exposure cancer slope factor for glyphosate since it is the most



231 U.S. EPA, “Guidelines for carcinogen risk assessment,” EPA/630/P-03/001B, March, 2005

232 (b) Wood, E., Dunster, J., Watson, P., and Brooks, P., “Glyphosate technical: Dietary carcinogenicity

  study in the mouse,” 2009b, Harlan Laboratories Limited, Shardlow Business Park, Shardlow,
  Derbyshire DE72 2GD, UK. Study No. 2060-011. April, 22, 2009. MRID 49957402. From “Glyphosate
  issue paper: Evaluation of Carcinogenic Potentia,” U.S. EPA’s Office of Pesticide Programs,
  September 12, 2016.
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sensitive study and meets and exceeds the statistical testing requirements. Wood, et al.,
2009b, is the most recent chronic carcinogenicity study performed and used three large
dose groups plus a control group. The study doses characterize exposure at low, mid and
high exposure levels. Wood, et al., 2009b, also noted a significant trend in hepatocellular
tumors and the observed trend was monotonic. As such, the study exceeds the stated
U.S. EPA assessment criteria.

Dose-Response Data

Of the various studies noted herein, three chronic dietary bioassays provided incidence
data for malignant lymphomas and occurred in mice only, these being: Sugimoto (1997),
Kumar, (2001) and Wood, et al., (2009b). The dose-response data from each of these
studies is summarized in Table 21. There were statistically significant increasing trends
in tumor incidences in the males of the species.

                                              Table 21
                 Incidence of Malignant Lymphomas in Male Mice Exposed to
                               Glyphosate in Diet for two Years

                                                        Incidence of           Numbers of
                      Strain/      Animal dose     malignant lymphomas           animals
       Study          Species      (mg/kg/day)         (percentage)             examined
 Sugimoto, 1997      CD-1 Mice          0                     0 (0) a              26

                                       165                     0 (0)               34

                                      838.1                    1 (4)               27

                                      4,348                   5 (17)               29

 Kumar, 2001         Swiss              0                    10 (20)               50
                     Albino Mice
                                      14.7                   15 (30)               50

                                      150.5                  16 (32)               50

                                     1,460.3                 19 (38)               50

 Wood, et al.,       CD-1 Mice          0                0 (0) b (monotonic)       51
 2009b
                                      71.4                     1 (2)               51

                                      234.2                    2 (4)               51

                                       810                   5 (10) c              51


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    a   Cochran-Armitage Trend Test (p ≤ 0.01)
    b   Cochran-Armitage Trend Test (p = 0.007)
    c   Fisher’s Exact Test (p=0.028)

Dose Adjustments and Extrapolation Method(s)

Human equivalent doses (HEDs) were derived from the doses administered to the Wood,
et al., 2009b study’s male CD-1 mice using a body weight (BW) scaling factor of 0.75 as
provided by the U.S. EPA.233 HEDs were calculated using the following equation:


                HED = animal mg·kg-1 dose x (animal weight (kg)/human weight (kg))1-b
Where,
                b = allometric exponent (0.75)
                        mg        0.027 𝑘𝑔 0.25         mg
              HED = 810    bw x (         )     = 113.5
                        kg         70 𝑘𝑔                kg

For all HED calculations, a human body weight of 70 kg was used for the primary Wood,
et al, study. The U.S. EPA “Exposure Factors Handbook” notes that 70 kg is commonly
assumed in U.S. EPA risk assessments.234 HEDs were also calculated for the other
lymphoma studies as shown in Table 22.

The “Tier II summaries for glyphosate carcinogenicity studies from Greim, et al., 2015
paper” only provided the range of body weights of the mice used at the initiation of the
experiment. Consequently, the lower animal doses provide a more conservative estimate
of the human equivalent dose as the mice would have an increase in body weight over
the 80 week feeding study period.

For Wood, et al., 2009b, the mice body weights ranged from 22 - 32 grams with the
midpoint weight at 27 grams. The Sugimoto, 1997, study revealed mice body weights



233 U.S. EPA, “Recommended use of body weight 3/4 as the default method in derivation of the oral

  reference dose,” 2011, (EPA/100/R11/0001), Office of the Science Advisor, Risk Assessment Forum,
  US Environmental Protection Agency, Washington, DC.
234 U.S. EPA, “Exposures Factors Handbook: Chapter 8 – Body Weight Studies,” 2011, U.S.

  Environmental Protection Agency.
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that ranged from 15 - 25 grams with the midpoint at 20 grams. Kumar, 2001, cited mice
weights ranging from 25 - 47 grams with the midpoint at 36 grams. The midpoint weights
were used for HED determination.




                                            Table 22
   Calculated Human Equivalent Doses (HED) for the Lymphoma Incidence Data Used
                           for Dose-Response Modeling

       Study           Strain/ Species            Initial       Animal Dose         HED
                                             Midpoint Mice       (mg/kg/day)     (mg/kg/day)a
                                                BW (kg)
  Sugimoto, 1997      CD-1 Mice                   0.02                 0              0
                                                  0.02                165            21.5
                                                  0.02               838.1           109
                                                  0.02               4,348          565.3
  Kumar, 2001         Swiss Albino Mice           0.036                0              0
                                                  0.036              14.7            2.21
                                                  0.036              150.5           22.7
                                                  0.036             1,460.3         219.9
  Wood, et al.,       CD- 1 Mice                  0.027                0              0
  2009b                                           0.027              71.4            10
                                                  0.027              234.2           32.8
                                                  0.027               810           113.5

    a HEDs are calculated as HED = (animal dose) x (animal BW / Human BW) 0.25




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Cancer Slope Factor

According to the U.S. EPA’s “Guidelines for Carcinogen Risk Assessment,”235 when
quantifying the cancer risk of a chemical whose carcinogenic mode of action is not
established, the linear approach is recommended as the default option. In the case of
glyphosate, the genotoxic mode of carcinogenic action has been recently postulated236
and there is limited human study evidence of genotoxicity. Thus, a linear low-dose
extrapolation approach was used as required by the methodology to estimate human
carcinogenic risk associated with glyphosate oral exposure.

Glyphosate Potential for Genotoxicity

There is evidence that that glyphosate is genotoxic and glyphosate-based formulations
such as Roundup cause oxidative stress. The recent study of Suarez-Larios et al. (2017)
reveals a genotoxic mode of action for glyphosate pesticides. An investigation was
undertaken by Suarez-Larios, et al.,237 to determine whether or not exposure to pesticides
would induce double strand breaks (DSB) in cells (a lesion related to the formation of
chromosomal rearrangements and increased leukemia risk). Of the eight pesticides
tested (endosulfan, glyphosate, pentachlorophenol, permethrin, propoxur, AMPA,
endosulfan lactone and paraoxon), four showed a significant effect on the number of cells
with double strand breaks. However, glyphosate and paraoxon (both organo-phosphates)
showed the greatest increase in the number of cells with DSB compared to the
concentration. Further, it was determined that glyphosate and paraoxon reduced the
number of viable cells in a dose-dependent manner; specifically, going from 100% cell
viability to 70% with glyphosate.




235 U.S. EPA, “Guidelines for carcinogen risk assessment,” 2005, EPA/630/P-03/001F, Risk Assessment

  Forum, U.S. Environmental Protection Agency, Washington, DC.
236 Suarez-Larios, K., et al., “Screening of pesticides with the potential of inducing DSB and successive

  recombinational repair,” 2017, Journal of Toxicology. Volume 2017.
237Suarez-Larios, K., et al., “Screening of pesticides with the potential of inducing DSB and successive

  recombinational repair,” 2017, Journal of Toxicology. Volume 2017.
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Not only did these two pesticides induce greater breakage, they also induced the
phosphorylation238 of KU80, a protein that participates in the c NHEJ recombinational
repair pathway which is responsible for repair of the cells when DSB occur.

It was further noted in the study that these effects occurred at low concentrations in an
acute treatment to cells in the laboratory setting. “Effects over longer exposure in actual
environmental settings are expected to produce cumulative damage if repeated events of
recombination take place over time.” In other words, the more often a cell is damaged by
glyphosate-induced breakage, the less likely the c NHEJ recombinational repair pathway
will be able to repair it. Thus, the linear approach required by the U.S. EPA methodology
is appropriate as the mode of action proposed by Suarez-Larios et al. is not a threshold-
based genotoxic mechanism. Other studies indicate that glyphosate can act as an
endocrine disruptor239 and has tumor-promoting activity.240

In vivo observations of human populations exposed to spraying of Roundup have
revealed statistically significant outcomes demonstrating genotoxicity at low exposure
levels241 as well as in vivo studies of laboratory animals fed Roundup.242 These studies
challenge both animal and human systems providing in vivo doses of Roundup® with
resulting genotoxicity.




238 Phosphorylation plays a critical role in the regulation of cellular processes.

239 Gasnier, C., et al., “Glyphosate-based herbicides are toxic and endocrine disruptors in human cell

  lines,” 2009, Toxicology, Vol. 262, pg. 184 -191.
  Thongprakaisang, S., et al., “Glyphosate induces human breast cancer cells growth via estrogen
  receptors,” 2013, Food and Chemical Toxicology, doi: http://dx.doi.org/10.1016/j.fct.2013.05.057
240 George, J., et al., “Studies on glyphosate-induced carcinogenicity in mouse skin: A proteomic

  approach,” 2010, Journal of Proteomics, Vol. 73, pg. 951 – 964.
241 Paz-y-Miño, C., et al., “Evaluation of DNA damage in an Ecuadorian population

  exposed to glyphosate,” 2007, Genetics and Molecular Biology, 30(2).
  Bolognesi, C., et al., “Biomonitoring of genotoxic risk in agricultural workers from five Colombian
  regions: Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and
  Environmental Health, Part A, Vol. 72, pg. 986 -997.
242 Peluso, M., et al, “32P-postlabeling detection of DNA adducts in mice treated with herbicide roundup,”

  1998, Environmental and Molecular Mutagenesis. Vol. 31(1), pp. 55 -59. DOI: 10.1002/(SICI)1098-
  2280(1998)31:1<55::AID-EM8>3.0.CO;2-A
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Furthermore, the human studies present conditions with “real world” dosing and
concentrations.

The U.S. EPA’s “Guidelines for Carcinogens” states that “In the absence of sufficiently
scientifically justifiable mode of action information, U.S. EPA generally takes public
health-protective, default positions regarding the interpretation of toxicological and
epidemiologic data: animal tumor findings are judged to be relevant to humans, and
cancer risks are assumed to conform with low dose linearity.”243



Modeling: Cancer Slope Factor

According to the U.S. EPA’s “Guidelines for Carcinogenic Risk Assessment,” “For linear
extrapolation, the POD (point of departure) is used to calculate a slope factor.”
Furthermore, the guidelines state that “in a risk characterization, the POD is part of the
determination of a margin of exposure.”

The cancer slope factor (CSF) for glyphosate was derived via a linear extrapolation from
the POD which was calculated by fitting the studies in the experimental dose response
data to a curve in the U.S. EPA’s “Benchmark Dose Software” (BMDS). The POD is the
95% lower confidence limit of the dose indicated by the model as the benchmark dose
(BMD).

The BMD addresses the many limitations of the “No Observed Adverse Effect Level”
(NOAEL) method as it is less dependent on dose selection and spacing and takes into
account the shape of the dose-response curve. Furthermore, the BMD 95% lower
confidence limit (BMDL) results in a point of departure that accounts for study quality
issues (such as adequate sample size).244 The CSF can be calculated from information
provided from the BMD, as shown below:




243 U.S. EPA, “Guidelines for carcinogen risk assessment,” 2005, EPA/630/P-03/001F, Risk Assessment

  Forum, U.S. Environmental Protection Agency, Washington, DC.
244 “Dose-Response Assessment,” n.d., Tox Tutor, U.S. National Library of Medicine, National Institute of

  Health, Retrieved from: https://toxtutor.nlm.nih.gov/06-003.html


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          CSF = BMR / BMDLHED
      Where:
          BMR: Benchmark Response Level
          BMDLHED: Benchmark Dose Lower Bound Human Equivalent Dose

The dichotomous models in the Benchmark Dose Software (BMDS version 2.6.0.1) were
fit to the lymphoma incidence data in mice. The mice doses were used for BMD modeling,
and the BMDHED and BMDLHED values were calculated using the BW 3/4 scaling using
the initial midpoint mice weights (final mice weights were not provided nor were individual
mice weights) and a human body weight of 70 kg. For the models, a BMR of 10% extra
risk was employed. BMDs and BMDLs from all models are shown in Appendix A.

The multi-stage model provided an adequate fit for the Sugimoto, 1997, CD-1 mice study
as well as the Wood, et al., 2009b, CD-1 mice study. Other studies did not fit the multi-
stage model adequately (see Table 23). The CD-1 mice were clearly the most sensitive
species/strain, and the Wood, et al., 2009b, study is the most sensitive study as also
shown in Table 23. Other models such as the probit model or log-logistic model could be
used to provide adequate fit for the other cancer studies.




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                                                 Table 23
     BMDHED and BMDLHED Values from Best-fit Models (using 10% BMR) to Lymphoma
    Incidence Data from Mice Exposed to Chronic Dietary Concentrations of Glyphosate
                  Daily with Corresponding Cancer Slope Factors (CSFs)

    Study       Gender/strain/       Carcinoma           BMDHED            BMDLHED              CSF
                  species               type           (mg/kg-day)        (mg/kg-day)       (mg/kg/day)-1
 Sugimoto,      Female              Hemangioma            1,239.7             822.4           1.21 x 10-4
 1997           CD-1 Mice
 Sugimoto,      Male                Malignant            1,832.16           1,000.15           1.0 x 10-4
 1997           CD-1 Mice           Lymphoma

 Wood, et       Male                Malignant             100.76              59.28            1.7x10-3
 al., 2009b     CD- 1 Mice          Lymphoma


The multi-stage model using a 10% BMR is the standard method for establishing the
cancer slope factor.245 Consequently, the lymphoma cancer endpoint in CD-1 mice and
the Wood, et al,, 2009b, study provided the best multi-stage model fit with p=0.91 (see
Table 24).

Furthermore, a comparison of the BMD and BMDL estimates derived for mice from the
Sugimoto, 1997, and Wood, et al., 2009b, studies indicate that male CD-1 mice are more
sensitive to lymphoma induced by glyphosate compared to other species and tumor
types.




245 Crump, K., “The linearized multi-stage model and the future of quantitative risk assessment,” 1996,

  Hum Exp. Tox, Vol. 15(10), pg. 787 – 798.
  “Dose-Response Assessment,” n.d., Tox Tutor, U.S. National Library of Medicine, National Institute of
  Health, Retrieved from: https://toxtutor.nlm.nih.gov/06-003.html


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Therefore, the BMDL10HED was chosen as the POD. The Cancer Slope Factor (CSF) of
0.0017 mg/kg/day was calculated as follows:



                                     0.10
  CSF =          –––––––––––––––––––––––––––––––––––––                      = 0.00169
                  59.28 mg/kg-day (BMDL10HED for male CD1 mice)



The calculation of a CSF for glyphosate is based upon the dose-response data for the
most sensitive species and gender as well as the study providing the best fit of the multi-
stage cancer model.

Table 24 shows a summary of BMD modeling results for glyphosate in diet/chronic
carcinogenicity studies with significant dietary doses causing neoplasms. The BMD
modeling results are shown in detail in Appendix A.




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                                                     Table 24
                  Summary of BMD Modeling Results for Glyphosate in Diet/Chronic
            Carcinogenicity Studies with Significant Dietary Doses Causing Neoplasms
                                      Goodness of Fit

                                  p-    Scaled
    Study            Modela      value Residual       AIC     BMD10Pct BMDL10Pct Basis for Selection

Lankas, 1981 Multi-stage          0.112    0.096     77.615     29.8      14.8    Not an ideal model as p-
             cancer 1st                                                           value is less than 0.5.
             degree

Stout and        Multi-stage      0.134    -0.104    133.96     1415      474     Not an ideal model as p-
Ruecker,         cancer 1st                                                       value is less than 0.5.
1990             degree

Brammer,         Multi-stage      0.110    0.242     59.257     1490      743     Not an ideal model as p-
2001             cancer 1st                                                       value is less than 0.5.
                 degree

Wood, et al,     Multi-stage      0.348    0.415     100.45     1151      591     Not an ideal model as p-
2009a            cancer 1st                                                       value is less than 0.5.
                 degree

Sugimoto,  Multi-stage            0.606     1.11     82.019     1729      1147    1st degree and 2nd degree
1997;      cancer 1st                                                             provided the exact same
hemangioma degree                                                                 BMD and BMDL

Sugimoto,        Multi-stage      0.88     0.069     37.699     2506      1368
1997;-           cancer 1st
lymphoma         degree
                                                                                  Select the model with the
                                                                                  lower BMDL (1st Model)
Sugimoto,        Multi-stage      0.881    -0.021    39.649     2669      1375
1997;            cancer 2nd
lymphoma         degree

Wood et al.,     Multi-stage      0.905    -0.316    61.916     719       423     1st degree and 2nd degree
2009b            cancer 1st                                                       provided the exact same
lymphoma         degree                                                           BMD and BMDL

Criteria for model selection:
          • Beta coefficient 2 of the multi-stage cancer 2 model hit a boundary
        •      p-value has to be greater than 0.5
        •      Scaled residual must be less than absolute 2
        •      AIC – the lower the AIC, the better



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Assessment of Dose-Dependent Linear Extrapolation and Saturation Potential

Despite the U.S. EPA’s recommendation of linear low dose extrapolation for genotoxic
chemicals and chemicals with unknown mode of action, there exists some dissension
among certain scientific points-of-view which challenges the appropriateness of a linear
non-threshold, dose-response model as biologically valid for cancer risk assessment. In
the current assessment, the recent study of Suarez-Larios et al. (2017) reveals a
genotoxic mode of action for glyphosate that is linear with respect to double strand breaks
and cumulative. In this study, it was determined that glyphosate reduced the number of
viable cells in a dose-dependent manner; specifically, going from 100% cell viability to
70% with glyphosate. Additionally, glyphosate induced the phosphorylation246 of KU80,
a protein that participates in the c NHEJ recombinational repair pathway which is
responsible for repair of the cells when DSB occur. The Suarez-Larios et al. study stated
“Effects over longer exposure in actual environmental settings are expected to produce
cumulative damage if repeated events of recombination take place over time.” In other
words, the more often a cell is damaged by Glyphosate-induced breakage, the less likely
the c NHEJ recombinational repair pathway will be able to repair it. Thus, the linear
approach required by the U.S. EPA methodology is appropriate as the mode of action
proposed by Suarez-Larios et al. is not a threshold-based genotoxic mechanism.

For example, the opinion article by Exponent published by James Bus (July 2017)
summarizes this position. He argues that biological homeostatic mechanisms protect
against adverse effects from low dose exposure to chemicals determined to be
carcinogenic using high dose studies. Which is to say, the opinion is that certain high
dose exposures in scientific studies should not be used to extrapolate human health risk
at low doses.

The Bus article points out that there are protective biological cellular mechanisms for
alleviating toxic effects at low doses creating a dose threshold effect. It also proposes that
studies showing elevated dose-specific toxicity are associated with adverse health effects




246 Phosphorylation plays a critical role in the regulation of cellular processes.


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due to saturation of the biological mechanisms controlling the administration, distribution
metabolism and excretion (ADME).247 Based on these considerations, he opines:

    •    Against a linear, non-threshold hypothesis highlighting the development of
         Kinetically-derived Maximum Dose (KMD) that identifies the onset of non-linear
         ADME toxicity and proposed as an alternative or extension of the Maximum
         Tolerated Dose (MTD) currently accepted in toxicological health risk
         assessments.248

    •    Dosing in high throughput screening (HTS) in vitro testing (such as for
         determining genotoxicity), does not take into account chemical doses
         expected/attained in vivo (in real world situations in humans or model laboratory
         animals).

The determination of Roundup and other glyphosate-based formulations’ genotoxicity as
stated by IARC was not determined from in vitro testing in isolation. Rather in vivo
observations of human populations exposed to spraying of Roundup revealed statistically
significant outcomes demonstrating genotoxicity at low exposure levels249 as well as in
vivo studies of laboratory animals fed Roundup.250 (This eliminates any confounding
issues due to the controlled setting). These studies challenge both animal and human
systems providing in vivo doses of Roundup® with resulting genotoxicity.

Furthermore, the human studies present conditions with “real world” dosing and
concentrations. Perhaps the most compelling consideration comes from the objective


247 Bus, J., “The dose makes the poison: Key implications for mode of action (mechanistic) research in a

  21st century toxicology paradigm,” 2017, Current Opinion in Toxicology, DOI:
  10.1016/j.cotox.2017.06.013
248 OECD in Bus, J., “The dose makes the poison: Key implications for mode of action (mechanistic)

  research in a 21st century toxicology paradigm,” 2017, Current Opinion in Toxicology, DOI:
  10.1016/j.cotox.2017.06.013.
249 Paz-y-Miño, C., et al., “Evaluation of DNA damage in an Ecuadorian population

  exposed to glyphosate,” 2007, Genetics and Molecular Biology, 30(2).
  Bolognesi, C., et al., “Biomonitoring of genotoxic risk in agricultural workers from five Colombian
  regions: Association to occupational exposure to glyphosate,” 2009, Journal of Toxicology and
  Environmental Health, Part A, Vol. 72, pg. 986 -997.
250 Peluso, M., et al, “32P-postlabeling detection of DNA adducts in mice treated with herbicide roundup,”

  1998, Environmental and Molecular Mutagenesis. Vol. 31(1), pp. 55 -59. DOI: 10.1002/(SICI)1098-
  2280(1998)31:1<55::AID-EM8>3.0.CO;2-A
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evidence in published epidemiological studies which documents Roundup® in the
development of lymphoma, a further connection to Roundup’s genotoxicity at a 95% level
of certainty.251

It is important to understand that toxicity assays have traditionally relied on Maximum
Tolerated Dose (MTD) as a strategy to compensate for the limited statistical power that
comes with the use of a small number of test experimental animals and other such
surrogates. The MTD is used to determine efficacy by testing increasing doses of a
chemical until a dose that produces “acceptable” side effects is found252 thereby
assuming a linear response to chemical exposure.




251 DeRoos, A., et al., “Integrative assessment of multiple pesticides as risk factors for non-Hodgkin’s

  lymphoma among men,” 2003, Occup Environ Medical, Vol. 60.
252 Chevret, S., “Maximum Tolerable Dose,” 2008, Wiley Stats Ref: Statistics Reference Online, DOI:

  10.1002/9781118445112.stat07089
  NCI, “Maximum Tolerated Dose,” n.d., NCI Dictionary of Cancer Terms, National Cancer Institute,
  National Institute of Health. Retrieved July, 6, 2017 from:
  https://www.cancer.gov/publications/dictionaries/cancer-terms?cdrid=546597
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Low Dose Linear Extrapolation versus. Kinetically-Derived Maximum Dose

There are important fundamental toxicological issues to consider here. At doses above
the MTD, toxicity has been proposed to be associated with saturation of the biological
mechanisms that control the administration, distribution, metabolism and excretion
(ADME) 253 and is, therefore, non-linear in producing toxic adverse health effects.
However, direct, objective evidence to support this contention in humans is absent as
glyphosate/Roundup® genotoxicity and lymphoma has been demonstrated in low
exposure level human epidemiological studies that are statistically significant.

Further evidence can be seen in animals in the current evaluation. The Cancer Slope
Factor (CSF) was determined from a glyphosate feeding study in CD-1 mice254 with a
high-dose, statistically-significant increased incidence of lymphoma and low-dose linear
extrapolation to determine the CSF over a statistically significant monotonic trend
(p<0.007). Health effects observed in this study were not due to saturation as glyphosate
was administered orally in diet (not via acute IV or intraperitoneal administration) allowing
for absorption through the digestive system to dictate the concentration in blood. If
saturation had occurred, a near perfectly linear dose-response curve would not have
appeared in the Wood 2009b study.

A pharmacokinetic study255 of glyphosate in rats demonstrates that 35 to 40% of the
administered dose was absorbed from the digestive tract. An intravenous dosing study
is more likely to saturate the ADME mechanism due to the acute bolus load into
systematic circulation with a significant (~80%) portion of the administered dose
eliminated primarily as un-metabolized glyphosate in urine within 24 hours of




253 Bus, J., “The dose makes the poison: Key implications for mode of action (mechanistic) research in a

  21st century toxicology paradigm,” 2017, Current Opinion in Toxicology, DOI:
  10.1016/j.cotox.2017.06.013
254 Wood, et al., “Glyphosate technical: dietary carcinogenicity study in the mouse,” 2009b, Harlan

  Laboratories Limited, Shardlow Business Park, Shardlow, Derbyshire DE72 2GD, UK, Study No. 2060-
  011.
255 Brewster, D., Warren, J., Hopkins, W., “Metabolism of glyphosate in Sprague Dawley rats:      Tissue
  distribution, identification and quantitation of glyphosate-derived materials following a single oral dose,”
  1991, Fundamental and Applied Toxicology, Vol. 17, pg. 43-51.
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administering the dose.256 The pharmacokinetics of oral or dermally absorbed glyphosate
is limited in its absorption rate into the blood without extreme high peak blood levels
(which occurs with IV administration) and does not reach saturation of the ADME
mechanisms.

As noted by Bus (2017), a large proportion of toxicological hazards are identified at doses
only in the range of an MTD and, thus, kinetically-derived maximum dose (KMD) modeling
will fail to identify these toxicological hazards particularly when hazard responses are
limited to doses above the KMD.

Bus notes that “The pragmatic end-result of KMD-based toxicity testing considerations is
that the need for high-dose specific MoA [mode of action] investigations is substantially
reduced.” Meaning, that a KMD approach (which doesn’t include high dosages) will
essentially eliminate the need for further investigation of many chemicals.

Human health risk assessments are designed to estimate cancer risks at levels of 1x10-4
to 1x10-6. Without the use of linear extrapolation from higher dose levels, approximately
400 lab animals in each dose-level group (1,600 animals total) would be required
(assuming a doubling of the cancer rate) per dose group to determine a 1x10-4 cancer risk
and 40,000 animals per dose group (160,000 animals total) to determine a 1x10-6 cancer
risk level. In order to achieve bioassay sample sizes and statistical power that would be
directly comparable to expected human exposure, thousands of test animals would be
required. Such expectations are, quite simply, unrealistic. Possibly this is why a preferred
approach of proponents of this “novel theory” is to ignore its practical consequences.

Furthermore, although Bus stated that “the dose makes the poison,” low dose linear
extrapolation from high dose (MTD bioassays) factors in differences between animals and
humans. It is by design protective of sensitive groups accounting for differences amongst
humans such as their life stages – children are more susceptible to genotoxic chemicals
than adults as are fetuses in pregnant individuals.

The information obtained from low dose linear extrapolation is used not only to develop a
cancer slope factor for increased cancer risk but also to develop regulatory toxicity values.



256 Wester, R., et al., “Glyphosate skin binding, absorption, residual tissue distribution and skin

  decontamination,”1991, Fundamental and Applied Toxicology, Vol. 16, pg. 725-732.
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To dispense with such an important set of critical goals for the sake of embracing an
unproven theory without overwhelming objective evidence to support it is more than
merely dangerous. The consequences of such a decision would be far-reaching and
highly unlikely to demonstrate positive outcomes for those most directly affected.

Consequently, it is both unrealistic and dangerous to human health to eliminate low dose
linear extrapolation. To do so would mean the exposed human population would find itself
serving as an experimental laboratory for evaluating chemical carcinogenicity. It is
doubtful that many of our citizens would volunteer for such an experiment.



Glyphosate Biomonitoring and Dose Measurements

Exposure models have been used for about 20 years to estimate the exposure of
professional operators during application of pesticides. How well these models predict
actual exposure is primarily determined by the pharmacokinetic studies and assumptions
upon which they are based (such as the dermal absorption rate). Biomonitoring and
dosimetry data are combined with PK models to reconstruct or estimate the exposure
dose. PK models simulate the ADME within a living system. It is, therefore, essential to
have a good understanding of the pharmacokinetics to ensure a good estimate of the
exposure dose.
As most Monsanto glyphosate formulations are “trade secrets” and unpublished, it is not
a surprise that the pharmacokinetics (or ADME) of glyphosate are not well understood by
the scientific community. However, it appears they are also not well understood by the
herbicide manufacturers themselves. As                      , the head of Monsanto’s
Regulatory Affairs Unit, wrote

“ADME has always been the weak link in our argument…we have not got rid of that problem.”257

When assumptions in a key Monsanto-contracted pharmacokinetics study were
questioned by the Spanish regulators,         wrote,




257 MONGLY02221147


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 Even though we can absorb additional 'uncertainty factors' in our risk assessment based on our
 biomonitoring results, I feel uncomfortable with this discussion. This approach by Spain sets a
 precedent and contradicts the fact that we always claimed to fully understand the glyphosate
 pharmacokinetics.258


Monsanto used its UK Predictive Operator Exposure Model (POEM) to calculate human
exposure which regulatory agencies in Europe then compare to the acceptable operator
exposure level (AOEL) during the pesticide registration process. As part of the exposure
calculations, Monsanto assumes that only 3 % of the dermal exposure dose is absorbed.
This is based on Monsanto’s own studies which have been shown to be flawed.
Such discrepancies can be seen in another unpublished Monsanto study in which the
percentage of dermal absorption was shown to be as high as 10% (TNO rat skin study).
Since dermal exposure is the most significant route of exposure, a small change in the
percentage of dermal exposure can have a great effect on the overall exposure.
Monsanto acknowledges this fact directly in a July 2001 draft:

One of the product specific parameters that can make a big difference in the exposure
assessment is the dermal uptake factor which is the fraction of the amount of active ingredient on
the skin surface that is absorbed by the skin tissue.259


There is evidence of a lack of objectivity which is possibly explained by Monsanto’s desire
for an herbicide formulation product to pass the regulatory process without obstacles. In
an August 16, 2011, email,                      wrote,




258 MONGLY02155829

259                      . July 2001, Confidential draft. “Clustering glyphosate formulations with regard to
      the testing for dermal uptake.”
                                                                                                           138
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In Europe, we are getting prepared to submit MON 79991 (720g/kg) for approval under the new
Reg 1107/2009. We ran the UKPOEM model using a dermal penetration value of 3% and do not
pass when applying 3.6kg/ha for the tractor-mounted sprayer. I am aware of the set of studies that
you ran on dermal absorption using pure K-salt and IPA-salt and also MON 52276 and MON 79351
which showed dermal absorption values of 1%. Putting 1% in the model we get a good result, so
will need to show that the 1% dermal absorption numbers are equally valid for the MON 79991
formulation.260


As a further example, a Monsanto document reveals their calculation of an estimation of
the exposure during use of MON 76473 with a 5 liter home garden sprayer. The declared
active ingredient (DAI) is glyphosate at a concentration of 360 mg/ml; neither the salt nor
other ingredients are specified.

The dermal dose during mixing, loading and application is calculated to be 238.4 mg/day.
The percent dermal absorption used in the calculations is 3% resulting in a dermal
exposure of 7.152 mg/day. Combined with the inhalation exposure of 0.102857 mg/day
(100% exposure absorbed), the total absorbed dose is 7.254 mg/day. For a 60 kg
operator, the result is a total exposure of 0.1209 mg/kg-day.261

If the dermal absorption is 10 % rather than 3 %, the resulting dermal exposure becomes
23.84 mg/day. The total exposure for a 60 kg operator would be

             (23.84 + 0.102857) mg/day
             ------------------------------------   = 0.399 mg/kg per day
                            60 kg
            This exposure is almost twice the AOEL of 0.2 mg/kg/day.




260 MONGLY04107779

261 UK POEM Tab 25 MONGLY06293737


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Another operator exposure risk assessment prepared by Monsanto in June 2003 for MON
78273 under UK use conditions is summarized in Table 25.262 This product is a potassium
salt of glyphosate; the concentration of glyphosate in the formulation is 540 g/ml. This is
a Tier 2 assessment based on a short-term rabbit teratogenicity study which resulted in
an AOEL of 0.2 mg/kg/day.

Again, Monsanto assumed a dermal absorption of 3%. The table also shows the exposure
estimates using 5% and 10% dermal absorption.




262 (From Exposure assessment study.pdf) MONGLY06403283 - MONGLY06403322


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                                        Table 25
                          Estimation of Spray Operator Exposure

                                                                  Total dose
                                                                   absorbed
                          Dermal    Percentage                  including 3.24     Exposure
                         Exposure     dermal         Dermal         mg/day       Level for a 60
  Handheld Outdoors       (Dose,    Absorption     absorption     inhalation,     Kg operator,
 Rotary Disc Atomizers   mg/day)        (%)         (mg/day)       (mg/day)       (mg/kg/day)
 No gloves                1782          3           53.460         56.700           0.945

 No gloves                1782          5           89.100         92.340           1.539

 No gloves                1782         10           178.200       181.440           3.024

 Gloves during           1766.1         3           52.983         56.223           0.937
 mixing/loading

 Gloves during           1766.1         5           88.305         91.545           1.526
 mixing/loading

 Gloves during           1766.1        10           176.610       179.850           2.998
 mixing/loading

 Gloves at all times     1183.41        3           35.502         38.742           0.646

 Gloves at all times     1183.41        5           59.171         62.411           1.040

 Gloves at all times     1183.41       10           118.341       121.581           2.026

 Boots, gloves,          357.21         3           10.716         13.956           0.233
 coveralls

 Boots, gloves,          357.21         5           17.861         21.101           0.352
 coveralls

 Boots, gloves,          357.21        10           35.721         38.961           0.649
 coveralls




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                                                              Total dose
                                                               absorbed        Exposure
                        Dermal    Percentage                including 3.24    Level for a
                       Exposure     dermal       Dermal         mg/day           60 Kg
  Hand held Outdoors    (Dose,    Absorption   absorption     inhalation,      operator,
   Hydraulic Nozzles   mg/day)        (%)       (mg/day)       (mg/day)      (mg/kg/day)
 No gloves              2781          3         83.430         86.670           1.445

 No gloves              2781          5         139.050       142.290           2.372

 No gloves              2781         10         278.100       281.340           4.689

 Gloves during          2755          3         82.650         85.890           1.432
 mixing/loading

 Gloves during          2755          5         137.750       140.990           2.350
 mixing/loading

 Gloves during          2755         10         275.500       278.740           4.646
 mixing/loading

 Gloves at all times   1337.85        3         40.136         43.376           0.723

 Gloves at all times   1337.85        5         66.893         70.133           1.169

 Gloves at all times   1337.85       10         133.785       137.025           2.284

 Boots, gloves,         507.6         3         15.228         18.468           0.308
 coveralls

 Boots, gloves,         507.6         5         25.380         28.620           0.477
 coveralls

 Boots, gloves,         507.6        10         50.760         54.000           0.900
 coveralls




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Recent Glyphosate Risk Assessment Results

From March 3 to March 10, 2015, 17 experts from 11 countries convened at the
International Agency for Research on Cancer (IARC) in France to review the currently
available scientific research and evaluate the carcinogenicity of five organophosphate
insecticides and herbicides. One of these herbicides was glyphosate which is found in
Roundup herbicide.
This IARC meeting was preceded by a year of review by the IARC secretariat and this
Working Group (WG). Their preparation included a comprehensive review of the latest
available scientific evidence. As per their published procedures, the WG considered
reports that were published or accepted for publication in openly available scientific
literature and data from governmental reports that were publicly available. 263
The IARC review conclusions264 in March 2015 included the classification of glyphosate
as “probably carcinogenic to humans (Group 2A.” The IARC summarized that the basis
of this decision was from:
     •    Convincing evidence that glyphosate causes cancer in laboratory animals
          as evidenced by tumors in mice in the U.S. EPA 1991 report as well as several
          more recent positive results providing the IARC with sufficient evidence of
          carcinogenicity in experimental animals.

     •    Limited evidence of carcinogenicity in humans for non-Hodgkin lymphoma
          based on studies of exposure in the U.S., Canada and Sweden published
          subsequent to 2001.

     •    A review of studies also demonstrated that glyphosate caused DNA and
          chromosomal damage in human cells; there were negative results in the tests
          using bacteria. A recent study of residents in a community where glyphosate was
          sprayed nearby showed increased blood markers of chromosomal damage
          (micronuclei).




263 IARC, “IARC Monographs Volume 112: Evaluation of five organophosphate insecticides and

   herbicides,” 2015, International Agency for research on cancer, World Health organization Retrieved
   from: https://www.iarc.fr/en/media-centre/iarcnews/pdf/MonographVolume112.pdf
264 Id.


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Consideration of Recent IARC Classification

The IARC’s Group 2A classification means that the agent is “probably carcinogenic to
humans.” This classification, according to IARC, specifically refers to agents for which the
reviewed evidence demonstrates “limited evidence of carcinogenicity in humans and
sufficient evidence of carcinogenicity in experimental animals. Limited evidence means
that a positive association has been observed between exposure to the agent and cancer
but that other explanations for the observations (called chance, bias or confounding)
could not be ruled out. This category is also used when there is limited evidence of
carcinogenicity in humans and strong data on how the agent causes cancer.”265

It is difficult to reconcile this with an EFSA report (Nov 12, 2015) which concluded that
Roundup® was “unlikely to pose a carcinogenic hazard to humans.” However, the studies
included in the EFSA report looked at the effects of glyphosate alone and none of the
formulations. They acknowledge that:

Although POEtallowamine is not present in the representative formulation, for which data have
been submitted under the European re-approval procedure and which were assessed by EFSA,
the peer review concluded that the toxicity of formulations and, in particular, their genotoxic
potential should be further considered and addressed. It is noted that a number of human
studies were not evaluated since the exposure was linked to glyphosate-based
formulations of unknown composition. Therefore, their assessment would not have changed
the overall conclusion.


It is highly significant that IARC reached its conclusions on the basis of data from
assessments of complete formulations of Roundup® in conjunction with research on
glyphosate alone from the animal studies. Additionally, IARC relied solely on
independent research in rendering their conclusion. Monsanto-sponsored studies
played little or no part in the IARC classification ruling.




265 Id.


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Cancer Risk Assessment Results: Cancer Slope Factor (CSF) Basis

Cancer risk level is determined as a consequence of applying a standard set of equations
as established by U.S. EPA to specific variables as shown in the equations below. This
section presents cancer risk level calculations using the cancer slope factor (CSF) for
glyphosate exposures to herbicide applicators and the general population as well as
dietary exposure cancer risk to the U.S. general population

Cancer Risk for Herbicide Applicators and the General Population

The cancer risks introduced from dietary glyphosate within the general U.S. population
as well as to exposed farmers and applicators is calculated based on determined
glyphosate exposure doses and the frequency and duration of exposure to the carcinogen
(glyphosate). This is then spread across the lifetime of the individual. The calculation
uses the cancer slope factor and is determined by the following equation:




Cancer Risk to the U.S. General Population via Dietary Exposure

Glyphosate exposures occur through dietary consumption of glyphosate residue on food
and in drinking water. As reported in Solomon, (2016),266 the U.S. EPA Dietary Exposure
Evaluation Model (DEEM) estimates the average exposure of the general population to
glyphosate as 0.088 mg/kg bw/day from an estimate that ranged from 0.058 – 0.23 mg/kg
bw/day.

Consequently, the upper range of the dietary exposure cancer risk level is determined as:




266 Solomon, K., “Glyphosate in the general population and in applicators: a critical review of studies on

  exposures,” 2016, Critical Reviews in Toxicology, Vol.46: sup 1, 21 -27, DOI:
  10.1080/10408444.2016.1214678
                                                                                                        145
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Table 26 displays the range of cancer risk levels from typical dietary exposure.

                                             Table 26
                Cancer Risk Levels Based on the U.S. EPA DEEM Estimated
                   Dietary and Drinking Water Exposure to Glyphosate
                        (US DEEM exposures from Solomon, 2016)

     Exposure          Dietary Residue and Drinking Water Dose              Cancer Risk Level

        Low                          0.058 mg/kg bw/day                          9.8 x 10-5

      Average                        0.088 mg/kg bw/day                          1.5 x 10-4

        High                         0.23 mg/kg bw/day                           3.9 x 10-4


Acceptable risk levels have been generally recognized and applied in public health for
decades. Levels exceeding the de minimus level are generally considered unsafe. In
this context, the above levels of cancer risk to the general public are clearly unacceptable
as the generally accepted de minimus benchmark level for cancer risk is 1 x 10-6 (one in
one million). 267

However, slightly higher levels of cancer risk are often used in public health and are based
upon prudent regulatory judgement. Factors for consideration include the impacted
population size, reasonable availability of technology to reduce risk, beneficial aspects of
the ruling, etc. For example, chlorination of public water is extremely beneficial to reduce
morbidity and mortality, but chlorination carries a low level risk of cancer due to the
formation of trihalomethane contaminants in the water.

Thus, a de minimus benchmark increase to 1 x 10-5 (one in one hundred thousand) is
occasionally applied in such a regulatory context, but the cancer risk levels shown in
Table 26 far exceed this “enhanced” risk level as well.




267 Payne-Sturges, DC, “Personal exposure meets risk assessment:A comparison of measured and
  modeled exposures and risks in an urban community,” 2004, Environmental Health Perspectives, Vol.
  112(5), pg. 589-598.
                                                                                                146
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Additionally, a study by Caldwell, et al., discusses the history and use of the de minimus
benchmark 1x10-6 risk level for hazardous air pollutants (HAPs). 268 The Caldwell study,
with two of the three authors affiliated with the U.S. EPA, states that “much of the needed
information and science policy judgments were previously compiled for U.S.EPA’s
proposed rulemaking under section 112(g) of the CAA and were supplemented by
information from several other data sources…known, probable, or possible human
carcinogens representing the upper-bound of a one in a million excess probability of
contracting cancer over a lifetime of exposure. This benchmark was based on provisions
of CAA sections 112(f) and 112 (c)(9) that allow source categories to be exempted from
regulation and residual risk to be negligible when posing less than a one in a million (1x10-
6 risk level) lifetime risk to the most exposed individual.”



Cancer Risk to Glyphosate Applicators

Also at risk are farmers and commercial applicators of glyphosate who are part of the
agricultural industry and use glyphosate for weed management and in seeding and/or
harvesting crops.

“The Agricultural Health Study” (AHS) is an ongoing cohort study which includes 89,000
farmers and their spouses from Iowa and North Carolina. The study is funded by the
National Cancer Institute and the National Institute of Environmental Health Sciences and
is partnered with the U.S. EPA and NIOSH.269 In 1993, the AHS initial study270 had a
cohort of 20,235 private farmer and commercial applicators with 70.6 and 47.5 percent
respectively reported to have applied herbicides. Their reported frequency of pesticide
application is shown in Table 27.




268 Caldwell, JC, “Application of health information to hazardous air pollutants modeled in EPA’s

   cumulative exposure project,” 1998, Toxicology and Industrial Health, Vol. 14(3), pg. 429-454.
269 Alavanja, M., et al., “The Agricultural Health Study,” 1996, Environmental Health Perspectives, Vol.

   104 (4), pg. 362 – 369. Retrieved from: https://aghealth.nih.gov/
270 Id.


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                                             Table 27
            Demographic Characteristics of “The Agricultural Health Study” 271 Cohort
                               (Total applicators n = 20,235)

   Days per year
     personally             Percentage of                                Percentage of
      mixed or             applicators in each    Years personally      applicators in each
       applied              category of days        mixed/applied       year of application
      pesticide                 per year              pesticide              category
            <5                   13.5                     <1                   3.3
           5–9                   17.2                    2–5                   12.8
          10 – 19                22.7                    6 – 10                14.9
          20 – 39                17.7                   11 – 20                27.9
          40 – 59                 5.8                   21 – 30                17.0
          60 – 150                5.5                     >30                  9.1
           >150                   1.3                   Unknown                15.0
          Unknown                16.4
     Median days                 23.3               Median Years               15.4




The days of pesticide application as well as the years of use can be used to determine
the lifetime years of exposure as:




Consequently, the risk of cancer, given the exposure levels to glyphosate amongst
applicators, is calculated using the equation:


                 Cancer Risk for Applicators = [applicator risk] + [dietary risk]



271 Id.


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Derivation of Dermal Toxicity Values

The oral cancer slope factor of 0.00169 mg/kg/day was determined from dietary doses of
glyphosate and requires an adjustment for absorption through the gastrointestinal tract.
The oral slope factor can be converted to an absorbed slope factor, which can be applied
to the dermal absorbed dose to calculate a cancer risk. The absorbed slope factor can be
derived using methods provided in the Risk Assessment for Superfund: Volume 1, Human
Health Evaluation Manual, Part A (EPA/540/1-89/002). The absorbed slope factor can be
calculated as:




The default Gastro Intestinal (GI) absorption factor, which is being applied in the absence
of a determined GI absorption factor for glyphosate in humans is 50% 272 - the default for
semi-volatile organic compounds per EPA Region 4’s Supplemental Guidance to RAGS:




Region 4 Bulletins Human Health Risk Assessment from November 1995.
For the highest exposure level reported among hand-held outdoor hydraulic nozzle
applicators (see Tables 29 and 31), the cancer risk equation is:




272 RAIS, “Toxicity Values” The Risk Assessment Information System. Retrieved from:

  https://rais.ornl.gov/tutorials/toxvals.html
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            Cancer Risk for Applicators = [applicator risk] + [dietary risk]




The resulting cancer risk level of 6.1 x 10-4 is based on a mid-point dermal absorption
rate of 10%273 as shown in Tables 28 and 29.
The glyphosate exposure levels for applicators under various conditions were provided
from Monsanto-derived exposure models and a realistic adjustment for glyphosate dermal
absorption of 3%, 5% or 10% as shown in Tables 30 and 31.
It is important to note that exposure calculations should normally include the amount
inhaled during herbicide spraying activity; however, the inhalation dose of 3.24 mg/day
was excluded as the Inhalation Unit Risk (IUR) has not been established via inhalation
chamber studies. As a consequence, the risk values shown have been underestimated.




273 10% Absorption was demonstrated in an unpublished Monsanto TNO study which is consistent with

  Wester et al. 1991, which revealed absorption range in primates of 4.4% - 22.6% with a midpoint value
  of 13.5%.
  NO Study: Johan van Burgsteden, “In vitro percutaneous absorption study with [14C]-glyphosphate
  using viable rat skin membranes,” June 14, 2002, Unaudited draft report V4478 (Tab 24).
  Wester, R. et al. 1991. “Glyphosate skin binding, absorption, residual tissue distribution and skin
  decontamination”. Fundamental and Applied Toxicology 16,725-732.




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Tables 28 and 29 list the dose levels associated with each exposure scenario:

                                       Table 28
             Estimation of Spray Operator Exposure (Rotary Disc Atomizers)



                                    Dermal    Percentage                  Exposure
                                   Exposure     Dermal       Dermal     Level for a 60
          Hand-held Outdoor         (Dose,    Absorption   Absorption   Kg Operator,
         Rotary Disc Atomizers      mg/day)       (%)       (mg/day)     (mg/kg/day)

        No gloves                   1782          3         53.460         0.891

        No gloves                   1782          5         89.100         1.485

        No gloves                   1782         10         178.200         2.97

        Gloves during               1766.1        3         52.983
                                                                           0.883
        mixing/loading

        Gloves during               1766.1        5         88.305
                                                                           1.472
        mixing/loading

        Gloves during               1766.1       10         176.610
                                                                           2.944
        mixing/loading

        Gloves at all times        1183.41        3         35.502         0.592

        Gloves at all times        1183.41        5         59.171         0.986

        Gloves at all times        1183.41       10         118.341        1.972

        Boots, gloves, coveralls    357.21        3         10.716         0.179

        Boots, gloves, coveralls    357.21        5         17.861         0.298

        Boots, gloves, coveralls    357.21       10         35.721         0.595




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                                            Table 29
               Estimation of Spray Operator Exposure (Hydraulic Nozzles)

                                                                          Exposure
                                   Dermal       Percent                   Level for a
                                  Exposure      Dermal        Dermal        60 Kg
          Hand-held Outdoor        (Dose,      Absorption   Absorption    Operator,
          Hydraulic Nozzles        mg/day)        (%)        (mg/day)    (mg/kg/day)

       No gloves                   2781           3         83.430        1.391

       No gloves                   2781           5         139.050       2.318

       No gloves                   2781           10        278.100       4.635

       Gloves during               2755           3         82.650
                                                                          1.378
       mixing/loading

       Gloves during               2755           5         137.750
                                                                          2.296
       mixing/loading

       Gloves during               2755           10        275.500
                                                                          4.592
       mixing/loading

       Gloves at all times        1337.85         3         40.136        0.669

       Gloves at all times        1337.85         5         66.893        1.115

       Gloves at all times        1337.85         10        133.785        2.23

       Boots, gloves, coveralls    507.6          3         15.228        0.254

       Boots, gloves, coveralls    507.6          5         25.380        0.423

       Boots, gloves, coveralls    507.6          10        50.760        0.846




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Tables 30 and 31 list the calculated cancer risks associated with each exposure scenario:


                                         Table 30
        Cancer Risk Levels for Spray Operator Exposures (Rotary Disc Atomizers)

                                                                             Including a
                                                                               Typical
                            Percentage                                         Average
                              Dermal       Exposure Level for                Dietary Risk
   Hand-held Outdoor        Absorption      a 60 kg Operator     Cancer        Level of
  Rotary Disc Atomizers      (mg/day)          (mg/kg/day)      Risk Level    1.5 x 10-4

 No gloves                      3                   0.891       4.2 x 10-5    1.9 x 10-4

 No gloves                      5                   1.485       7.0 x 10-5    2.2 x 10-4

 No gloves                      10                  2.97        1.4 x 10-4    2.9 x 10-4

 Gloves during                  3                               4.2 x 10-5    1.9 x 10-4
                                                    0.883
 mixing/loading

 Gloves during                  5                               7.0 x 10-5    2.2 x 10-4
                                                    1.472
 mixing/loading

 Gloves during                  10                              1.4 x 10-4    2.9 x 10-4
                                                    2.944
 mixing/loading

 Gloves at all times            3                   0.592       2.8 x 10-5    1.8 x 10-4

 Gloves at all times            5                   0.986       4.7 x 10-5    2.0 x 10-4

 Gloves at all times            10                  1.972       9.3 x 10-5    2.4 x 10-4

 Boots, gloves, coveralls       3                   0.179       8.5 x 10-6    1.6 x 10-4

 Boots, gloves, coveralls       5                   0.298       1.4 x 10-5    1.6 x 10-4

 Boots, gloves, coveralls       10                  0.595       2.8 x 10-5    1.8 x 10-4




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                                           Table 31
             Cancer Risk Levels for Spray Operator Exposures (Hydraulic Nozzles)

                              Percentage                                       Including a
                                Dermal       Exposure Level for                Dietary Risk
    Hand-held Outdoor         Absorption      a 60 kg Operator,    Cancer        Level of
    Hydraulic Nozzles          (mg/day)          (mg/kg/day)      Risk Level    1.5 x 10-4

 No gloves                         3                  1.391       6.6 x 10-5    2.1 x 10-4

 No gloves                         5                  2.318       1.1 x 10-4    2.6 x 10-4

 No gloves                        10                  4.635       2.1 x 10-4    3.7 x 10-4

 Gloves during                     3                  1.378       6.5 x 10-5    2.1 x 10-4
   mixing/loading

 Gloves during                     5                  2.296       1.1 x 10-4    2.6 x 10-4
   mixing/loading

 Gloves during                    10                  4.592        2.3 x10-4    3.7 x 10-4
   mixing/loading

 Gloves at all times               3                  0.669       3.2 x 10-5    1.8 x 10-4

 Gloves at all times               5                  1.115       5.3 x 10-5    2.0 x 10-4

 Gloves at all times              10                  2.23        1.1 x 10-4    2.5 x 10-4

 Boots, gloves, coveralls          3                  0.254       1.2 x 10-5    1.6 x 10-4

 Boots, gloves, coveralls          5                  0.423       2.0 x 10-5    1.7 x 10-4

 Boots, gloves, coveralls         10                  0.846       4.0 x 10-5    1.9 x 10-4




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      Part E: Dose Calculations Relevant to Dewayne Johnson
Mr. Johnson used Ranger Pro® composed of 41% glyphosate and 8% surfactants which
include tallowamine (POEA), polyethylene glycol (PEG), phosphate ester and
dipropylene glycol. Additionally, he used Roundup® composed of 18% glyphosate.

As discussed in detail earlier in this report, Mr. Johnson mixed the Ranger Pro as per the
pamphlet using 10 ounces of product to 5 gallons of water. However, he notes that the
formulation could be stronger in certain applications. He has also testified spraying
between 20-40 pesticide applications yearly (for 2-5 hours),274 but deposition testimony
reports a higher application frequency for more than 2 years prior to his T-cell lymphoma
diagnosis.

Mr. Johnson also details high level, severe (upper body soaking) acute exposures. Mr.
Johnson testified that he experienced drift exposure “all the time.” There was no way to
control the drift even by spraying on calm days or changing out nozzles to increase droplet
size. During spraying, Mr. Johnson used personal protective equipment including gloves,
boots, a “sweatshirt-type hoodie,” a permeable Tyvek suit, hat and goggles. (Although
Mr. Johnson wore a Tyvek suit, it was apparently the fine cloth type as he explained that
drift passed through it leaving him wet). Mr. Johnson testified that he was spraying sites
at five different school locations at different times.

During Mr. Johnson’s first high level, acute exposure, he testified that he was soaked with
glyphosate when a hose broke off the 50 gallon pump unit and he attempted to access
the unit to shut it off. “The hose came [dis-attached] from the back of the truck and it was
just juice everywhere, flying out the back of the truck. So that’s when I had to hop in
because the switches are in the back. There’s no safety switch there ... I reach in the
back there and turn it off and that’s when I got it on the back of my neck and the back of
my head and everywhere and on my face.”275




274 Mr. Johnson testified, “..spraying sites at five different school locations at different times, usually would

  spray no more than 4-5 hours per day.”
275 At 12:37, he stated.“Cause it got down to my neck and got down to about the tip of my shoulder. I
  was able to rinse a lot of that off. I don’t know if I’m wiping it in or I’m taking it off. ..But I’m using what
  I had at the time.”
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Mr. Johnson testified that there were noticeable and visible consequences of his initial
exposure. He stated, “When I got ahold of that liquid on my skin that day, it got red, it got
irritated. I finished the day off. It was seven hours. Maybe six hours.” Mr. Johnson
testified there were also other accidental high level exposures.

Mr. Johnson’s exposure history falls within the parameters of “The Agricultural Health
Study” Cohort in Table 27 (also see Tables 25, 27, 29 highlighted in yellow) which places
him below the median exposures. Mr. Johnson worked as a mixer/applicator more than
40 days per year for approximately 2.25 year which results in over 90 exposures days.
This represents a very conservative estimate as the acute soaking exposure doses left
on the skin for prolonged periods of time were not included and would have resulted in
much higher absorbed doses based on the referenced dermal absorption studies.
Compared to “The Agricultural Health Study” Cohort in Table 27, Mr. Johnson’s exposure
frequencies were in the upper range of the table; however, his 2.25 years of application
service was at the lower end. The extremes in both directions place him near the midpoint
of the table.

Thus, it is my opinion that Mr. Johnson reasonably qualifies as an exposed glyphosate
spray operator using a hydraulic nozzle (Table 29) with additional acute soaking
exposures. His dosage can also be approximated from Tables 25 and 29; however, Mr.
Johnson’s high level acute exposures are not accounted for in these tables.

It should also be noted that, due to the persistent flash-back of aerosol due to building
structure interference, Mr. Johnson’s inhaled dose may have been higher than that shown
in Tables 25 and 29.




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IARC Classification of Glyphosate Carcinogenicity, Prevalence & Latency

I will be deferring any detailed epidemiological opinions in this matter with respect to
IARC’s classification of glyphosate as a carcinogen to Christopher J. Portier, Ph.D.,
Director of the National Center for Environmental Health and Director of the
Agency for Toxic Substances and Disease Registry (ATSDR); Beate Ritz, M.D.,
Ph.D., Professor of Epidemiology at the University of California, Los Angeles
(UCLA) Fielding School of Public Health and former chair of the UCLA
Epidemiology Department; and Alfred I. Neugut, M.D., Ph.D., Professor of Cancer
Research and Professor of Medicine and Epidemiology at Columbia University.

However, I have reviewed and relied on various epidemiological literature as cited and
the general character of IARC’s recent classification of glyphosate as a “probable human
carcinogen,” as IARC’s assessment of relevant studies of exposed glyphosate applicators
provided evidence with respect to the latency period for non-Hodgkin’s lymphoma (NHL).
The toxicological community generally regards NHL as an uncommon malignancy in
those in the 40 to 44 year old category. The National Cancer Institute Surveillance,
Epidemiology and End Results (SEER) reveals an incidence rate of 13.0 per 100,000
person-years among 40 to 44 year old male African Americans.

Mr. Johnson was diagnosed with a rare type of lymphoma, CD4 folliculotropic and
syringotropic mycosis fungoides with granulomatous features. Mycosis fungoides is a
cutaneous T-cell lymphoma. (See Figure 2 below.) Based on studies by Wilson, et al.,276
in the U.S. between the years 2004–2008, 1,713 patients were diagnosed with mycosis
fungoides. Thus, using the official U.S. SEER registry statistics, the documented
incidence rate for mycosis fungoides is only 5.6 per million persons.277

With respect to male/female or racial incident rate differences, mycosis fungoides reveals
a trend for females to be less likely to present with a higher T-stage (T3–T4) than males
with an odd ratio (OR) of 0.73 on multivariate analysis or about 27% less likely (not
statistically significant at p=0.06). With respect to race, African Americans revealed
significantly increased risk of presenting with a higher T-stage (T3–T4) of mycosis


276 Wilson, et al., “Age, race, gender, stage and the incidence of cutaneous lymphoma”, Clinical

   Lymphoma Myeloma Leukemia. 2012, 12(5), pg. 291–296. doi:10.1016/j.clml.2012.06.010. NI
277 Id.


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fungoides with an OR of 1.72 (p=0.02), compared to Caucasians.278 Further studies by
Bradford, et al.,(2009)279 reveal that Incident rates for mycoses fungoides were higher
among African Americans than whites at 5.9 per million compared to 4.1 per million.
However, for cutaneous peripheral T-cell lymphoma rates were higher among non-
Hispanic whites compared to African Americans.


                             Figure 2: Mycosis fungoides image
                    (Source: https://www.skinsite.com/info_mycosis_fungoides.htm




With respect to potentially causative toxicological factors, it should be recognized that
mycosis fungoides is not a common malignancy. Due to its rarity and the fact that the
International Classification of Disease registry lists more than 60 different varieties of
lymphoma in its ICD-10-CM Diagnosis Codes, it is not possible to determine a precise
latency period specific only to mycosis fungoides.


278 Id.

279 Bradford, et al., “Cutaneous lymphoma incidence patterns in the United States: a population-based

   study of 3884 cases”, 2009, Blood. 2009 May 21; 113(21): 5064–5073.
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However, upon review of the key studies relied upon by IARC during its glyphosate
carcinogenicity review, general latency year ranges with respect to glyphosate exposure
are available. The IARC review methods appear to have followed objective, generally
accepted assessment protocols. The IARC meetings were open, transparent and subject
to comment. More than 1,000 studies were identified and screened before publishing any
findings or conclusions. All participants had full access to relevant data. Fully-referenced
“monographs” of findings were periodically published for download and review.280

With respect to real world glyphosate exposures, IARC noted similar NHL increases in
different geographic regions at different times. The NHL prevalence increases
corresponded to increased glyphosate usage in the same regions during the time periods
noted. In the United States from 1975 to 2000, the annual age-adjusted NHL incidence
rate increased more than 75% from 11.1 to 19.8 per 100,000 person-years. That is a
highly significant increase as compared to other cancers. The NHL incidence rate has
leveled recently (to 19.6 per 100,000 person-years) from 2003-2007, but incidence
increases have also occurred in other developed countries. For example, NHL incidence
rates increased across Europe from the 1960s. The cause is largely undetermined.281

In its glyphosate summary monograph, IARC further noted the study by Eriksson, et al.,
(2008) which reported the results of case-control exposures as a risk factor for NHL. The
odds ratio for exposure to glyphosate was 2.02 (95% CI, 1.10-3.71) in a univariate
analysis and 1.51 (95% CI, 0.77-2.94) in a multivariable analysis. When exposure for
more than 10 days per year was considered, the odds ratio was 2.36 (95% CI, 1.04-5.37).
With a latency period of >10 years, the odds ratio was 2.26 (95% CI, 1.16-4.40). As error
rates were properly accounted for, these are statistically significant findings.




280 Glyphosate Monograph, IARC Monographs: Volume 112, Glyphosate Evaluation.

281 Wheeler, et. al., "Spatial-temporal analysis of non-Hodgkin lymphoma in the NCI-SEER NHL case-

  control study," 2011, Environmental Health, 10:63, https://doi.org/10.1186/1476-069X-10-63
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NHL Latency Estimates

There is no single peer-reviewed, generally-recognized latency range “threshold” for the
more than 60 subtypes of lymphoma (Morton et al., 2014).282 Various sources cite latency
intervals ranging as high as 25 years or more. Most estimates are based upon absence
of information as opposed to hard evidence. For this reason, only studies which
adequately account for error rates via a 95% confidence interval (which accounts for most
confounding variables) can be considered in any comparative compilation.

From the compilation of peer-reviewed latency estimates in Table 32, a surmised latency
interval of 0.4 to 10 years falls within the general estimates of the studies cited therein.
Although no single study is conclusive and future studies will undoubtedly clarify this
issue, the weight of evidence suggests that this range offers an acceptable degree of
scientific credibility for purposes of an objective toxicological assessment.




282 Morton, et. al., "Etiologic heterogeneity among non-Hodgkin lymphoma subtypes: the Inter-Lymph

  Non-Hodgkin Lymphoma Subtypes Project," August 2014, J Natl Cancer Inst Monogr. (48), pg. 130-44.
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           Table 32: Compilation of Peer-Reviewed NHL Latency Estimates

   Study/Source                            Summary of Findings                               Latency
 USEPA Glyphosate      “Some have argued that the follow-up period (median=7 years) in       1 to 25 yrs
 Issue Paper:          De Roos, et al. (2005) is not sufficiently long to account for the
 September, 2016283    latency of NHL (Portier, et al., 2016); however, the latency period
                       for NHL following environmental exposures is relatively unknown
                       and estimates have ranged from 1-25 years (Fontana et al.,
                       1998; Kato et al., 2005; Weisenburger, 1992).”
 USEPA Glyphosate      "Eriksson, et al., (2008) evaluated the impact of time since first      10 yrs
 Issue Paper:          exposure. This study found an increased effect estimate for
 September, 2016283    subjects with more than 10 years of glyphosate exposure
                       prior to diagnosis of NHL. This finding suggests a potential for a
                       longer latency for NHL than the follow-up period in De Roos, et al.
                       (2005)."
 USEPA Glyphosate      "Two case-control studies evaluating the risk of NHL (Eriksson, et      10 yrs
 Issue Paper:          al., 2008 and McDuffie, et al., 2001) observed increased effect
 September, 2016283    estimates in the highest exposure categories analyzed. Eriksson,
                       et al. (2008) found a greater effect estimate for subjects with >10
                       days (based on the median days of exposure among controls)
                       and >10 years of exposure (for latency analysis) when compared
                       to subjects with =10 days and 1-10 years of exposure,
                       respectively; … however, given the latency analysis of NHL was
                       limited to Eriksson, et al. (2008) and lack of NHL latency
                       understanding in general, further studies are needed to
                       determine the true latency of NHL. McDuffie, et al. (2001),
                       stratifying based on the average number of days per year of
                       exposure, observed similar effect estimates in the lower exposure
                       category (>0 and =2 days/year) while a greater effect estimate
                       was observed in the highest exposure category (>2 days/year)."
 9-11 Monitoring and   "A minimum latency period of 2 years has been reported for            0.4 to 2 yrs
 Treatment, World      non-Hodgkin lymphoma (Bennett, et al. 1991) following treatment       (minimum)
 Trade Center Health   of Hodgkin disease with chemotherapy and radiotherapy which is
 Program284            similar to the latency for secondary acute leukemia (Nadler and
                       Zurbenko 2013; Tucker et al. 1988)."




283 USEPA, "Glyphosate Issue Paper: Evaluation of Carcinogenic Potential," USEPA’s Office of Pesticide

  Programs, September 12, 2016, https://www.epa.gov/sites/production/files/2016-
  09/documents/glyphosate_issue_paper_evaluation_of_carcincogenic_potential.pdf
284 "Minimum Latency & Types or Categories of Cancer," World Trade Center Health Program, Revised:

  January 6, 2015, https://www.cdc.gov/wtc/pdfs/WTCHP-Minimum-Cancer-Latency-PP-01062015.pdf
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                  Summary of Objective Toxicological Factors
The following represent primary considerations in formulating an objective toxicological
assessment of Mr. Johnson with respect to his glyphosate exposure as reported.

•    Chronic Glyphosate Exposure: It is clear from deposition testimony that Mr.
     Johnson’s exposure was ongoing and consistent. “I have sprayed gallons, thousands
     of gallons of this.”285 His reported regular penetration of glyphosate formulation
     through his Tyvek suit as a consequence of constant drift exposures of the liquid as
     well as his acute heavy soaking liquid exposures is consistent with certain Tyvek suits
     with known characteristic of microparticulate protection (> 1 micron). 286 However, the
     most common, least expensive and disposable suits such as the Tyvek 400 has
     limited water and vapor protection as the manufacturer refers to this as
     “breathability.”287 It is, therefore, accurate that glyphosate passing through the Tyvek
     suit mixes with natural sweat on the skin and is available for dermal absorption. Hence,
     Mr. Johnson’s testimony of the pesticide penetrating his suit is valid.




285 Workman’s Compensation Deposition of Mr. Johnson dated October 28, 2015, pg. 98.

286 “DuPont Tyvek TY122S WH suit offers hooded and feet protection. This suit keeps you safe in a

    variety of applications. Tyvek® 400 garments are composed of flash spun high density polyethylene
    which creates a unique, nonwoven material available only from DuPont. Tyvek® 400 provides an ideal
    balance of protection, durability and comfort of any limited use fabric technology. Tyvek® 400 fabric
    offers an inherent barrier against particles (down to 1.0 micron in size). Protection is built into the fabric
    itself; there are no films or laminates to abrade or wear away. Tyvek® 400 fabric's durability advantage
    over microporous film fabrics delivers consistently better barrier, even after wear and abrasion.
    Applications include: lead and asbestos abatement/remediation, general maintenance/operations,
    spray painting, general clean-up. Comfort fit design based on extensive wearer input to provide our
    most comfortable garment design that: enables a greater range of movement while stretching and
    bending, provides a more tailored fit, offers reinforcement in high stress areas for fewer blowouts,
    utilizes a longer zipper for easier donning and doffing and an elastic waist to better position the
    garment. Attached respirator-fit hood with elastic around face opening, designed to cover neck and
    chin and fit around respirator face mask Longer zipper extends to chin for complete coverage of neck
    area Elastic opening for tighter fit at wrist Attached Tyvek® FC boots have special coating to provide
    added skid-resistance.” https://www.envirosafetyproducts.com/dupont-tyvek-coveralls-with-attached-
    hood-boots-and-elastic-wrists-serged-seams-white-1-ea.html
287 Tyvek, “Understanding Vapor Permeability,” DuPont Corporation, http://www.dupont.com/products-

    and-services/construction-materials/building-envelope-systems/articles/understanding-vapor-
    permeability.html
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•   Excessive Dose: Mr. Johnson explained to Dr. Fishman that he sprayed 3-4 times
    per week at a rate of 20-50 gallons and sometimes as much as 100 gallons. Dr.
    Fishman states that he “does not understand” how Mr. Johnson was exposed to
    Ranger Pro in 2012 given the PPE he was wearing and deferred his opinion to an
    environmental hygienist. It seems the physician was either unaware of Tyvek’s micro-
    particulate/vapor permeability or chose not to mention it in his “no-opinion” finding.

•   Erroneous Assessment by Attending Physician: With respect to Mr. Johnson’s
    mycosis fungoides diagnosis, Dr. Fishman noted in his report that males are twice as
    likely as females to develop mycosis fungoides and that African Americans are twice
    as likely to develop it. Dr. Fishman’s finding of a factor-of-four increase in risk is not
    supported by peer-reviewed studies based on official U.S. SEER registry statistics.
    Dr. Fishman stated that these were “…the only factors impacting an onset of mycosis
    fungoides.” Excluding glyphosate exposure as a potential causative factor is not
    scientifically credible in view of the totality of objective evidence.

•   Disinformation: Mr. Johnson stated several times in testimony that he had not been
    exposed to Ranger Pro or Roundup or other glyphosate products until he began
    working at Benicia in June 2012. It is also clear from Mr. Johnson’s testimony that he
    took only limited precautions at work as he had been specifically trained to believe
    that glyphosate was harmless. "We had been trained that the glyphosate was okay
    enough for us to drink."288 His actions at the times of his various exposures are thus
    explicable in view of the information given to him.

•   Non-Credible Manufacturer Contentions: It has been demonstrated in this report
    that Monsanto employees have attempted (knowingly or unknowingly) to minimize
    glyphosate’s true absorption characteristics.




288 Deposition of Dewayne Johnson dated December 8, 2017, 09:47:22


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•   Dermal Absorption Rates Higher than Calculated by Monsanto: As previously
    discussed in great detail, the correct dermal absorption rate for glyphosate ranges
    between 4.4% and 22.6% (as opposed to the 1% and 3% values published by
    Monsanto). Thus, exposures of applicators performing mixing and application work
    using hydraulic spray systems similar to that of Mr. Johnson often exceeded the
    accepted operator exposure level (AOEL) of 0.2 mg/kg/day (Tables 25, 29).

•   Excessive Dermal Exposure Doses: The dermal absorption rate for glyphosate of
    4.4% to 22.6% is for glyphosate only, without co-formulants. It is known that co-
    formulants in glyphosate-based formulations (GBF’s) individually (or in combination
    with one other) increase dermal absorption. Based on this and upon Monsanto’s own
    in-house expert’s opinions, it is apparent that co-formulants further increase dermal
    absorption. However, beyond the underestimation of dermal absorption by Monsanto,
    there are additives within Roundup® formulations that further increase dermal
    absorption of glyphosate. There are numerous factors governing the rate and degree
    of glyphosate dermal absorption, both intrinsically and potentially. These include (a)
    “co-formulants” (ingredients other than the active ingredient such as detergents or
    anti-foam agents), (b) surfactants (compounds which lower surface tension), (c)
    humectants (to inhibit moisture loss) and (d) adjuvants (chemicals which modify the
    effect of other agents).

    The fact that Mr. Johnson was exposed to these co-formulants under these conditions
    (in part due to the semi-permeable Tyvek suit he wore) enhanced his absorption rate.
    Reports of the primary exposure events are consistent with this observation inasmuch
    as (a) Mr. Johnson reported that the interior of his suit was wet and (b) the Tyvek failed
    to completely shield Mr. Johnson’s body from the herbicide. Indeed, the Tyvek served
    to keep the liquid (including condensed vapor) “sandwiched” against Mr. Johnson’s
    skin and, to some degree, prevented the liquid from evaporating normally.




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•      “Agricultural Health Study” (AHS) Doses Underestimated by a Factor of 4.5: The
       calculated doses used in Tables 27 and 29 were referenced from the “The Agricultural
       Health Study” (AHS)289 which is an ongoing cohort study which includes 89,000
       farmers and their spouses from Iowa and North Carolina. Urine was collected and
       analyzed to determine glyphosate dose based on Monsanto’s incorrect methodology
       stating that glyphosate is almost completely eliminated in the urine without
       consideration of fecal elimination. However, prior referenced studies reveal that when
       a dose is absorbed slowly via dermal absorption verses intravenous injection (IV), it is
       excreted predominantly in the feces, not urine. The methodology used to evaluate the
       applicators in the AHS cohort only measured urinary excretion and not feces.

       Thus, the AHS data is misleading and is erroneously low. Based on Monsanto’s
       primate study,290 the observed applicator exposure doses reported (as shown in Table
       27 and 29) are off by a factor of 4.5x (not including correction for dermal absorption
       rates) as previously documented on pages 59-60 and Table 4 detailed within the
       current report. Thus, the doses in Tables 27 and 29 are actually 4.5 times higher than
       shown and the cancer risk levels in Table 31 are actually 4.5 times higher than shown.

•      Latency of Non-Hodgkin’s Lymphoma: The compilation of peer-reviewed latency
       estimates presented herein offers a surmised latency interval of 0.4 to 10 years. This
       range falls within the estimates in the cited studies (see Table 32). Based upon the
       study findings, the weight of available evidence indicates that a latency interval of 0.4
       to 10 years is scientifically reliable. Thus, Mr. Johnson’s emergence of NHL falls within
       reasonable latency parameters.




289 Alavanja, M., et al., “The Agricultural Health Study,” 1996, Environmental Health Perspectives, Vol.

      104 (4), pg. 362 – 369. Retrieved from: https://aghealth.nih.gov/
290   Wester, R. et al., “Glyphosate skin binding, absorption, residual tissue distribution and skin
      decontamination,” 1991, Fundamental and Applied Toxicology 16, pp. 725-732.
                                                                                                       165
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                           Toxicological Conclusions
Toxicologists cannot assume a position of advocacy. A scientifically credible expert
opinion is based solely on objective, reliable evidence. Additionally, analysis must be
performed without deviation from the prescribed methodology. Weight of evidence must
take all possible factors into account before reaching any conclusions. A strong attempt
has been made to apply those principles throughout this assessment.
Based on the totality of evidence available at this time, it is my opinion to reasonable
toxicological certainty that the recent IARC classification of glyphosate as a Level 2A
carcinogen is appropriate. Additionally, it is my opinion to reasonable toxicological
certainty that some formulations of glyphosate have greater potential for carcinogenic
health risks then calculated above based on enhanced absorption by adjuvants used in
the products. Glyphosate has been demonstrated to induce (but may not be limited to)
lymphopoietic malignancies as supported by multiple, independent chronic dietary animal
studies as well as the body of human epidemiological literature as assessed by IARC.
Mr. Dewayne Johnson was diagnosed with mycosis fungoides, an infrequently
encountered, rare T-cell lymphoma, approximately 2.25 years following his frequent
mixing and application of glyphosate/co-formulants for the Benicia Unified School District.
His absorbed dose of glyphosate was within the range of that encountered within the
generally accepted toxicological and epidemiological literature among hydraulic
applicators. Mr. Johnson’s medical history, family history, genetic predisposition, prior
occupational chemical exposures or lifestyle risk factors do not reveal any known risk
factors for lymphoma. Based on the documented and inherent properties of glyphosate
to produce lymphoma in animal studies as well as the results of statistically significant
human epidemiological studies, I am certain to reasonable toxicological certainty that Mr.
Johnson’s glyphosate exposures induced or significantly contributed to the onset of his
T-cell lymphoma (mycosis fungoides).




______________________________
William R. Sawyer, Ph.D., D-ABFM
Chief Toxicologist


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Appendix A: Using EPA Software to Calculate Cancer Slopes
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  Appendix A: Using EPA Software to Calculate Cancer Slopes
The following pages show computer-generated output from the U.S. EPA’s “Benchmark
Dose Software” (BMDS version 2.6.0.1). This is the standard computer software package
provided by U.S. EPA for automated cancer slope factor calculation and statistical plotting
under a variety of experimental modelling conditions.

The software-calculated cancer slope factors (CSF) for glyphosate use a very standard
set of modelling parameters. CSF was derived via a linear extrapolation from the POD
(point of departure), which is the 95% lower confidence limit of the dose indicated by the
model as the benchmark dose (BMD). Study-reported values were applied as inputs to
fulfill the required dose response data parameters. The dichotomous models in the
Benchmark Dose Software were fit to the lymphoma incidence data in mice. The mice
doses were used for BMD modeling. The “BMDHED” and “BMDLHED” values were
calculated using “BW3/4 scaling” by applying the initial mid-point mice weights. This was
done because neither final mice weights nor individual mice weights were provided in the
available study data. A human body weight of 70 kg was used throughout.

The following cancer slopes were calculated based on the indicated studies:

 No.   Contents                                                                     Page
  1    Malignant Lymphoma in Male CD-1 Mice Exposed to Glyphosate in Diet for 80     A-2
       Weeks (Wood et al., 2009b)
  2    Lymphomas in Male CD-1 Mice Exposed to Glyphosate in Diet for Two Years       A-5
       (Sugimoto, 1997)
  3    Hemangioma in male CD-1 Mice Exposed to Glyphosate in Diet for Two Years      A-8
       (Sugimoto, 1997)
  4    Mammary Gland Tumors in Female Wister Rats Exposed to Glyphosate in Diet      A-11
       for 2 Years (Wood et al, 2009a)
  5    Liver Adenomas in Male Wister Rats Exposed to Glyphosate in Diet for 2        A-14
       Years (Brammer, 2001)
  6    Pancreatic Islet Cells Adenoma in Male Sprague Dawley Rats Exposed to         A-17
       Glyphosate in Diet for 2 Years (Stout and Ruecker, 1990)
  7    Testicular Interstitial Tumors in Male Sprague-Dawley Rats Exposed to         A-20
       Glyphosate in Diet for 784-785 Days (Lankas 1981)




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                                        Figure A-1
              Malignant Lymphoma in Male CD-1 Mice Exposed to Glyphosate
                        in Diet for 80 Weeks (Wood et al., 2009b)




       Figure A-1: Malignant lymphoma in male CD-1 mice exposed to glyphosate in diet for 80
                                    weeks, Wood et al., 2009b


          ====================================================================
                   Multistage Model. (Version: 3.4 Date: 05/02/2014)
           Input Data File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/7-Wood
          et al__ 2009b glyphosate-Malignant Lymphoma-MultiCanc2-10Pct-4d.(d)
         Gnuplot Plotting File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/7-
        Wood et al__ 2009b glyphosate-Malignant Lymphoma-MultiCanc2-10Pct-4d.plt
                                Tue Jul 04 14:47:13 2017
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Appendix A: Using EPA Software to Calculate Cancer Slopes
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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(-beta1*dose^1-beta2*dose^2)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 3
    Total number of specified parameters = 0
    Degree of polynomial = 2

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =   0.00703816
                             Beta(1) = 0.000120778
                             Beta(2) =            0

                Asymptotic Correlation Matrix of Parameter Estimates

              ( *** The model parameter(s) -Background     -Beta(2)
                    have been estimated at a boundary point, or have been specified by
      the user, and do not appear in the correlation matrix )

                     Beta(1)

      Beta(1)              1

                                       Parameter Estimates

                                                                 95.0% Wald Confidence
      Interval
          Variable        Estimate      Std. Err.   Lower Conf. Limit    Upper Conf. Limit
        Background               0             NA
           Beta(1)      0.00014663   5.18611e-005         4.49837e-005         0.000248276
           Beta(2)               0             NA

   NA - Indicates that this parameter has hit a bound
        implied by some inequality constraint and thus
        has no standard error.




                                                                                         A-3
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                               Analysis of Deviance Table

          Model         Log(likelihood)     # Param's    Deviance       Test d.f.   P-value
        Full model            -29.718            4
      Fitted model            -29.958            1           0.480071        3         0.9232
     Reduced model           -33.7505            1            8.06497        3        0.04469

               AIC:            61.916


                                            Goodness    of    Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.0000         0.000     0.000      51.000        0.000
      71.4000     0.0104         0.531     1.000      51.000        0.647
     234.2000     0.0338         1.722     2.000      51.000        0.216
     810.0000     0.1120         5.711     5.000      51.000       -0.316

    Chi^2 = 0.56          d.f. = 3          P-value = 0.9045


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =           718.548

                BMDL =           422.73

                BMDU =          2009.66

   Taken together, (422.73 , 2009.66) is a 90                % two-sided confidence
   interval for the BMD

   Cancer Slope Factor =                0.000236558




                                                                                                A-4
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                                         Figure A-2
                    Lymphomas in Male CD-1 Mice Exposed to Glyphosate
                          in Diet for Two Years (Sugimoto, 1997)




      Figure A-2: Lymphomas in male CD-1 mice exposed to glyphosate in diet for two years, Sugimoto,
                                                1997




           ====================================================================
                    Multistage Model. (Version: 3.4 Date: 05/02/2014)
             Input Data File: C:/TCAS/BMDS2601/Wizard/Glyphosate/7-Sugimoto_
                           1997-Lymphoma-MultiCanc1-10Pct-4d.(d)
          Gnuplot Plotting File: C:/TCAS/BMDS2601/Wizard/Glyphosate/7-Sugimoto_
                           1997-Lymphoma-MultiCanc1-10Pct-4d.plt
                                 Tue Jul 04 17:20:56 2017
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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(
                    -beta1*dose^1)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 2
    Total number of specified parameters = 0
    Degree of polynomial = 1

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =            0
                             Beta(1) = 4.41484e-005

                Asymptotic Correlation Matrix of Parameter Estimates

              ( *** The model parameter(s) -Background
                    have been estimated at a boundary point, or have been specified by
      the user, and do not appear in the correlation matrix )

                     Beta(1)

      Beta(1)              1

                                       Parameter Estimates

                                                                 95.0% Wald Confidence
      Interval
          Variable        Estimate      Std. Err.   Lower Conf. Limit    Upper Conf. Limit
        Background               0             NA
           Beta(1)    4.20439e-005   1.71844e-005         8.36305e-006        7.57247e-005

   NA - Indicates that this parameter has hit a bound
        implied by some inequality constraint and thus
        has no standard error.




                                                                                         A-6
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                               Analysis of Deviance Table

          Model         Log(likelihood)     # Param's    Deviance       Test d.f.   P-value
        Full model           -17.6082            4
      Fitted model           -17.8493            1           0.482235        3          0.9228
     Reduced model           -23.6131            1            12.0098        3         0.00735

               AIC:           37.6986


                                            Goodness    of    Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.0000         0.000     0.000      26.000        0.000
     165.0000     0.0069         0.235     0.000      34.000       -0.487
     838.1000     0.0346         0.935     1.000      27.000        0.069
    4348.0000     0.1671         4.845     5.000      29.000        0.077

    Chi^2 = 0.25          d.f. = 3          P-value = 0.9696


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =           2505.97

                BMDL =          1368.42

                BMDU =          5346.74

   Taken together, (1368.42, 5346.74) is a 90                % two-sided confidence
   interval for the BMD

   Cancer Slope Factor =              7.30769e-005




                                                                                                 A-7
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                                        Figure A-3
                  Hemangioma in Male CD-1 Mice Exposed to Glyphosate
                         in Diet for Two Years (Sugimoto, 1997)




         Figure A-3: Hemangioma in male CD-1 mice exposed to glyphosate in diet for two years,
                                          Sugimoto, 1997



          ====================================================================
                   Multistage Model. (Version: 3.4 Date: 05/02/2014)
                  Input Data File: C:/TCAS/BMDS2601/Wizard/Glyphosate/
                  7-Sugimoto_ 1997-Hemangioma-MultiCanc1-10Pct-4d.(d)
              Gnuplot Plotting File: C:/TCAS/BMDS2601/Wizard/Glyphosate/
                  7-Sugimoto_ 1997-Hemangioma-MultiCanc1-10Pct-4d.plt
                                Tue Jul 04 16:56:21 2017
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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(
                    -beta1*dose^1)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 2
    Total number of specified parameters = 0
    Degree of polynomial = 1

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =    0.0092153
                             Beta(1) = 5.33016e-005

                Asymptotic Correlation Matrix of Parameter Estimates

              ( *** The model parameter(s) -Background
                    have been estimated at a boundary point, or have been specified by
      the user, and do not appear in the correlation matrix )

                     Beta(1)

      Beta(1)              1

                                       Parameter Estimates

                                                                 95.0% Wald Confidence
      Interval
          Variable        Estimate     Std. Err.   Lower Conf. Limit     Upper Conf. Limit
        Background               0            NA
           Beta(1)    6.09293e-005   1.6315e-005          2.89526e-005         9.2906e-005

   NA - Indicates that this parameter has hit a bound
        implied by some inequality constraint and thus
        has no standard error.




                                                                                         A-9
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                               Analysis of Deviance Table

          Model          Log(likelihood)    # Param's    Deviance       Test d.f.   P-value
        Full model            -38.9586           4
      Fitted model            -40.0094           1            2.10168        3         0.5516
     Reduced model            -50.7278           1            23.5384        3        <.0001

               AIC:            82.0189


                                            Goodness    of    Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.0000         0.000     0.000      50.000        0.000
     153.2000     0.0093         0.465     0.000      50.000       -0.685
     786.8000     0.0468         2.340     4.000      50.000        1.111
    4116.0000     0.2218        11.091    10.000      50.000       -0.371

    Chi^2 = 1.84          d.f. = 3          P-value = 0.6060


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =            1729.23

                BMDL =           1146.93

                BMDU =            2782.4

   Taken together, (1146.93, 2782.4 ) is a 90                % two-sided confidence
   interval for the BMD

   Cancer Slope Factor =              8.71892e-005




                                                                                                A-10
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                                        Figure A-4
           Mammary Gland Tumors in Female Wister Rats Exposed to Glyphosate
                         in Diet for 2 Years (Wood et al, 2009a)




     Figure A-4: Mammary gland tumors in female Wister rats exposed to glyphosate in diet for 2 years,
                                           Wood et al, 2009a


           ====================================================================
                    Multistage Model. (Version: 3.4 Date: 05/02/2014)
                   Input Data File: C:/TCAS/BMDS2601/Wizard/Glyphosate/
            7-Wood et al__ 2009a-Mammary Gland Tumors-MultiCanc1-10Pct-4d.(d)
               Gnuplot Plotting File: C:/TCAS/BMDS2601/Wizard/Glyphosate/
            7-Wood et al__ 2009a-Mammary Gland Tumors-MultiCanc1-10Pct-4d.plt
                                 Tue Jul 04 16:47:02 2017
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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(
                    -beta1*dose^1)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 2
    Total number of specified parameters = 0
    Degree of polynomial = 1

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =    0.0280282
                             Beta(1) = 0.000108031

                Asymptotic Correlation Matrix of Parameter Estimates

                  Background      Beta(1)

   Background              1         -0.45

      Beta(1)          -0.45             1

                                       Parameter Estimates

                                                                95.0% Wald Confidence
      Interval
          Variable        Estimate      Std. Err.   Lower Conf. Limit   Upper Conf. Limit
        Background       0.0340885      0.0173758        3.25953e-005           0.0681444
           Beta(1)    9.14996e-005    4.5833e-005        1.66846e-006         0.000181331




                                                                                        A-12
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                               Analysis of Deviance Table

          Model         Log(likelihood)     # Param's    Deviance       Test d.f.   P-value
        Full model           -46.9252            4
      Fitted model           -48.2259            2            2.60148        2         0.2723
     Reduced model           -51.0151            1            8.17987        3        0.04244

               AIC:           100.452


                                            Goodness    of    Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.0341         1.739     2.000      51.000        0.202
      95.0000     0.0424         2.165     3.000      51.000        0.580
     316.9000     0.0617         3.146     1.000      51.000       -1.249
    1229.7000     0.1369         6.981     8.000      51.000        0.415

    Chi^2 = 2.11          d.f. = 2          P-value = 0.3482


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =           1151.49

                BMDL =           590.749

                BMDU =          4185.77

   Taken together, (590.749, 4185.77) is a 90                % two-sided confidence
   interval for the BMD

   Cancer Slope Factor =                0.000169277




                                                                                                A-13
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                                         Figure A-5
                Liver Adenomas in Male Wister Rats Exposed to Glyphosate
                           in Diet for 2 Years (Brammer, 2001)




         Figure A-5: Liver adenomas in male Wister rats exposed to glyphosate in diet for 2 years.
                                            Brammer, 2001


          ====================================================================
                   Multistage Model. (Version: 3.4 Date: 05/02/2014)
              Input Data File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/
                 7-Brammer_ 2001-Liver Adenomas-MultiCanc1-10Pct-4d.(d)
          Gnuplot Plotting File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/
                 7-Brammer_ 2001-Liver Adenomas-MultiCanc1-10Pct-4d.plt
                                Tue Jul 04 16:33:17 2017
          ====================================================================




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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(
                    -beta1*dose^1)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 2
    Total number of specified parameters = 0
    Degree of polynomial = 1

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =   0.00303517
                             Beta(1) = 7.55647e-005

                Asymptotic Correlation Matrix of Parameter Estimates

                  Background      Beta(1)

   Background              1         -0.59

      Beta(1)          -0.59             1

                                       Parameter Estimates

                                                                95.0% Wald Confidence
      Interval
          Variable        Estimate      Std. Err.   Lower Conf. Limit   Upper Conf. Limit
        Background      0.00482209      0.0113824           -0.017487           0.0271312
           Beta(1)    7.07342e-005   3.81234e-005       -3.98623e-006         0.000145455




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                               Analysis of Deviance Table

          Model         Log(likelihood)     # Param's    Deviance       Test d.f.   P-value
        Full model           -24.9378            4
      Fitted model           -27.6285            2            5.38154        2         0.06783
     Reduced model           -30.6223            1             11.369        3        0.009889

               AIC:            59.2571


                                            Goodness    of    Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.0048         0.251     0.000      52.000       -0.502
     121.0000     0.0133         0.692     2.000      52.000        1.583
     361.0000     0.0299         1.555     0.000      52.000       -1.266
    1214.0000     0.0867         4.509     5.000      52.000        0.242

    Chi^2 = 4.42          d.f. = 2          P-value = 0.1096


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =           1489.53

                BMDL =           742.769

                BMDU =           5308.29

   Taken together, (742.769, 5308.29) is a 90                % two-sided confidence
   interval for the BMD

   Cancer Slope Factor =                 0.000134631




                                                                                                 A-16
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                                          Figure A-6
   Pancreatic Islet Cells Adenoma in Male Sprague Dawley Rats Exposed to Glyphosate
                        in Diet for 2 Years (Stout and Ruecker, 1990)




     Figure A-6: Pancreatic islet cells adenoma in male Sprague Dawley rats exposed to glyphosate in
     diet for 2 years, Stout and Ruecker, 1990


          ====================================================================
                   Multistage Model. (Version: 3.4 Date: 05/02/2014)
          Input Data File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/7-Stout
        and Ruecker_ 1990-Pancreatic Islet Cells Adenoma-MultiCanc1-10Pct-4d.(d)
       Gnuplot Plotting File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/7-Stout
        and Ruecker_ 1990-Pancreatic Islet Cells Adenoma-MultiCanc1-10Pct-4d.plt
                                Tue Jul 04 16:25:26 2017
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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(
                    -beta1*dose^1)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 2
    Total number of specified parameters = 0
    Degree of polynomial = 1

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =     0.103535
                             Beta(1) = 5.13653e-005

                Asymptotic Correlation Matrix of Parameter Estimates

                  Background      Beta(1)

   Background              1         -0.67

      Beta(1)          -0.67             1


                                       Parameter Estimates

                                                                95.0% Wald Confidence
      Interval
          Variable        Estimate      Std. Err.   Lower Conf. Limit   Upper Conf. Limit
        Background        0.101588      0.0324986           0.0378924            0.165284
           Beta(1)    5.44275e-005   7.92176e-005        -0.000100836         0.000209691




                                                                                        A-18
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                               Analysis of Deviance Table

          Model         Log(likelihood)     # Param's    Deviance      Test d.f.   P-value
        Full model           -65.2367            4
      Fitted model           -67.2273            2           3.98124       2          0.1366
     Reduced model           -67.4816            1           4.48991       3          0.2132

               AIC:           138.455


                                            Goodness    of   Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.1016         4.368     2.000      43.000       -1.195
      89.0000     0.1059         4.767     8.000      45.000        1.566
     362.0000     0.1191         5.837     5.000      49.000       -0.369
     940.0000     0.1464         7.027     7.000      48.000       -0.011

    Chi^2 = 4.02          d.f. = 2          P-value = 0.1341


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =            1935.8

                BMDL =          530.775


   BMDU did not converge for BMR = 0.100000
   BMDU calculation failed
               BMDU = Inf




                                                                                               A-19
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                                            Figure A-7
    Testicular Interstitial Tumors in Male Sprague-Dawley Rats Exposed to Glyphosate
                             in Diet for 784-785 Days (Lankas 1981)




    Figure A-7: Testicular interstitial tumors in male Sprague-Dawley rats exposed to glyphosate in diet
                                          for 784-785 days, Lankas 1981



           ====================================================================
                    Multistage Model. (Version: 3.4 Date: 05/02/2014)
               Input Data File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/
           7-Lankas 1981-Testicular Interstitial Tumors-MultiCanc1-10Pct-4d.(d)
           Gnuplot Plotting File: C:/TCAS/BMDS2601/Data/glyphosate wood 2009/
           7-Lankas 1981-Testicular Interstitial Tumors-MultiCanc1-10Pct-4d.plt
                                 Tue Jul 04 15:36:01 2017
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   BMDS_Model_Run
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      The form of the probability function is:

      P[response] = background + (1-background)*[1-EXP(
                    -beta1*dose^1)]

      The parameter betas are restricted to be positive

      Dependent variable = Incidence
      Independent variable = Dose

    Total number of observations = 4
    Total number of records with missing values = 0
    Total number of parameters in model = 2
    Total number of specified parameters = 0
    Degree of polynomial = 1

    Maximum number of iterations = 500
    Relative Function Convergence has been set to: 1e-008
    Parameter Convergence has been set to: 1e-008

                       Default Initial Parameter Values
                          Background =    0.0140572
                             Beta(1) =   0.00348372

                Asymptotic Correlation Matrix of Parameter Estimates

                  Background      Beta(1)

   Background              1         -0.6

      Beta(1)           -0.6             1

                                       Parameter Estimates

                                                               95.0% Wald Confidence
      Interval
          Variable        Estimate     Std. Err.   Lower Conf. Limit   Upper Conf. Limit
        Background        0.013197     0.0158843          -0.0179357           0.0443297
           Beta(1)      0.00353628    0.00182841       -4.73309e-005          0.00711989




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                               Analysis of Deviance Table

          Model         Log(likelihood)      # Param's    Deviance       Test d.f.   P-value
        Full model           -34.5966             4
      Fitted model           -36.8074             2            4.42156        2         0.1096
     Reduced model            -39.703             1            10.2129        3        0.01684

               AIC:           77.6147


                                            Goodness     of    Fit
                                                                    Scaled
        Dose     Est._Prob.    Expected    Observed     Size       Residual
     ------------------------------------------------------------------------
       0.0000     0.0132         0.660     0.000      50.000       -0.818
       3.0000     0.0236         1.181     3.000      50.000        1.695
      10.0000     0.0475         2.374     1.000      50.000       -0.914
      31.0000     0.1157         5.783     6.000      50.000        0.096

    Chi^2 = 4.38          d.f. = 2           P-value = 0.1116


      Benchmark Dose Computation

   Specified effect =                 0.1

   Risk Type          =        Extra risk

   Confidence level =                0.95

                BMD =           29.7942

                BMDL =           14.8213

                BMDU =          107.093

   Taken together, (14.8213, 107.093) is a 90                 % two-sided confidence
   interval for the BMD

   Cancer Slope Factor =                    0.00674706




                                                                                                 A-22
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Introduction

Dr. William Sawyer is a professional toxicologist with a doctorate in toxicology from
Indiana University School of Medicine. He is a diplomate of the American Board of
Forensic Medicine with more than 28 years of experience in public health and forensic
toxicology including five years of governmental service. His specialized areas of
expertise include causation analyses (defendant, plaintiff or criminal), dioxins, solvents,
heavy metals, petroleum, crude oil, radionuclides/NORM, alcohol toxicology, drugs-of-
abuse, pharmaceuticals, herbal products and other substances.


Contact Information

Toxicology Consultants & Assessment Specialists, LLC (TCAS, LLC)
6450 Pine Avenue
Sanibel, Florida 33957

Toxicology Consultants & Assessment Specialists, LLC (TCAS, LLC)
29 Fennell Street
Skaneateles, New York 13152

Telephone: 800-308-0080
           239-472-2436 (FL)
           315-685-2345 (NY)

E-mail:     drsawyer@experttoxicologist.com


Education

Indiana University School of Medicine                                1983 - 1988
Indianapolis, Indiana
Robert B. Forney, Ph.D., Committee Chairman
Ph.D., Toxicology, 1988

State University of New York at Geneseo                              1979 -1982
Edward Ritter, Ph.D., Committee Chairman
Master of Science degree, Cellular & Molecular Biology, 1982
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State University of New York at Geneseo                               1976 -1978
Bachelor of Science degree, Biology, 1978

State University of New York Agricultural                             1974 -1976
and Technical College at Morrisville
Associate degree, 1976


Experience

As a scientist and communicator in forensic toxicology, Dr. Sawyer provides services to
governmental agencies, corporations, investigators and select defendants or plaintiffs.
Dr. Sawyer currently serves as chief toxicologist for Toxicology Consulting and
Assessment Specialists, LLC. He has served for 23 years as an assistant professor
(adjunct) with the Department of Medicine, Upstate Medical University, Syracuse, New
York. Dr. Sawyer also has approximately 14 years of experience as a licensed clinical
and environmental laboratory director in several states.

Dr. Sawyer routinely provides impartial toxicological evaluations involving chemical
exposures, alcohol ingestion, intentional poisonings, carcinogens, pharmaceuticals,
pyrolysis products, heavy metals, organic chemicals and drugs-of-abuse in civil and
criminal litigation. Toxic exposure investigations include analytical protocol, referral of
autopsy material for analyses, environmental and occupational health risk assessments
and site assessment and causation determination. Final work products that include
scientific methods and validation, forensic documentation and written reports used on
both forensic and routine (non-judicial) assessments are provided to multiple,
nationwide clients.


Forensic Environmental and Laboratory Analyses

Through education, training and experience, Dr. Sawyer has gained extensive expertise
in forensic petroleum analyses as well as environmental and clinical forensic analyses.
With more than 23 years of laboratory experience, Dr. Sawyer has directed laboratory
analyses, sampling protocol and chain-of-custody documentation in criminal and civil
matters. He has also provided petroleum spill assessments to multiple clients including
governmental environmental agencies (NYSDEC), various state attorney general offices
(New York), defense and plaintiff law firms and industry. Petroleum spill and exposure
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assessment reports have provided objective evidence of characterization, age and
source within reasonable scientific certainty.




Professional Experience

Chief Toxicologist                                             1990-Present
Toxicology Consultants & Assessment Specialists, LLC
Sanibel, Florida
Registered, DBA, 1990
Incorporated, January, 1994 (New York)
Limited liability corporation, January 2009 (Florida)

Peer Reviewer                                                  1998-Present
Editorial Advisory Board for the “The Forensic Examiner”

Assistant Professor (adjunct)                                  1988-2012
SUNY Upstate Medical University
Department of Medicine
Syracuse, New York

Laboratory Director                                            1993-2002
EXPRESSLAB, Inc. (Lozier Laboratories)
Middlesex, New York

   •   NYSDOH Clinical License #SAWYW1 (1988-2000)
   •   NYS Environmental License (ELAP) #11369
   •   National Environmental Laboratory Accreditation Program (NELAP) #11369
   •   New Jersey DEPE License #73744
   •   South Carolina License #9101100
   •   California Environmental License

Associate Editor                                               1997-2000
Practical Reviews in Forensic Medicine & Sciences
Published by Oakstone Medical Publishing, Inc.
Jointly sponsored by Albert Einstein College of Medicine
and Montefiore Medical Center; CME
(continuing medical education) accredited
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Toxicologist                                                     1988-1993
Onondaga County Department of Health
Syracuse, New York

Responsible for municipal and civil risk assessment, evaluation of environmental
exposures and design and execution of environmental monitoring studies. Advise and
communicate with the Office of the Environment/County Executive and legislative
subcommittees with respect to public health and environmental health issues.
Established a clinical and environmental toxicology laboratory licensed under the NYS
DOH and NYS ELAP agencies (NYSDOH #SAWYW1 and NY ELAP license #10183)

Licensed Laboratory Director                                      1988-1993
Onondaga County Department of Health
Syracuse, New York
Licensed clinical laboratory, chlorinated hydrocarbons (NYS CLEU)
NYS License #SAWYW1
Assistant Director
NYS ELAP License #10183

Analytical Toxicologist (part-time)                              1983-1988
State Department of Toxicology
Indianapolis, Indiana

Laboratory Technician (part-time)                                1979-1983
Clinical Research Center
(National Institute of Health)
Strong Memorial Hospital
Rochester, New York

Laboratory Technician (part-time)                                1979-1983
Highland Hospital
Special Determinations Laboratory
Rochester, New York
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Certifications

Board Certification
Diplomate, American Board of Forensic Medicine           1996-Present
(D-ABFM)

Board Certification
Diplomate, American Board of Forensic Examiners          1994-Present
(D-ABFE)

OSHA 29 CFR1910.120                                      Re-certified
Hazardous Waste Operations & Emergency Response          December 2004
40 hour certified

Clinical Laboratory Director                             Inactive
New York State Department of Health
Certificate of Qualification
License Code #SAWYW1

Environmental Laboratory Director                        Inactive
New York State Department of Health
ELAP License #11369
ELAP License #10183

South Carolina Department of Health                      Inactive
Environmental Laboratory Director
ELAP License #9101100

New Jersey DEPE Laboratory Director                      Inactive
License #73744

Asbestos Inspector                                       Inactive
EPA Certificate #10-XXX-XX-XXXX


Societies and Honors

Sigma Xi, The Scientific Research Society                1986- Present
Associate Member
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American College of Forensic Examiners                            1995-Present
Member

National Myositis Association                                     1995-1997
Medical Advisory Board Member

American Academy of Forensic Sciences                             1985-Present
Member, promoted to Fellow, 1998

Society of Automotive Engineering                                 1986-Present
Member

International Association of Forensic Toxicologists               1985-Present
Member

Sigma Xi Research Competition                                     1987
Fifth place

Sigma Pi Alpha Scholastic Honor Society                           1984
Academic Award


Professional Presentations

Sawyer, W.R. and Rigle, D.A., Featured continuing medical education credit workshop
(2.00 credit hours) entitled, “Fundamentals of Medical Toxicology,” Annual Scientific
Meeting of The American College of Forensic Examiners, American Board of Forensic
Medicine, Las Vegas, Nevada, October 24 – October 27, 2000.

Sawyer, W.R. and Rigle, D.A., Featured continuing medical education credit workshop
(3.75 credit hours) entitled, “Forensic Medicine Toxicology,” and “Reactive Airways
Dysfunction Syndrome (RADS),” Annual Scientific Meeting of The American College of
Forensic Examiners for the American Board of Forensic Medicine, New York, New York,
October 29 - November 1, 1999.

Sawyer, W.R. and Rigle, D.A., “The Medical Aspects of Toxic Exposure Assessments,”
Annual Scientific Meeting of The American Board of Forensic Medicine and The
American College of Forensic Examiners, Naples, Florida, October 12-14, 1998.
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Sawyer, W.R. and Rigle, D.A., “Evaluating Toxic Exposures after Daubert," Featured
presentation at the 4th Annual National Expert Witness & Litigation Seminar, Hyannis,
Massachusetts, June 23, 1995.


Articles, Abstracts, Treatises and Editorial Publications

Sawyer, W.R. "Alcohol Content of Beer and Malt Beverages: Forensic Considerations,"
(Special Article Review Presentation, Critical Assessment and Original Abstract),
Practical Reviews in Forensic Medicine and Sciences, Vol. 2., No. 6, February 2000,
Oakstone Medical Publishing, Inc. from Logan, B.K., et al., Journal of Forensic
Sciences, November 1999, Vol. 44, No. 6, pg. 1292-1295.

Sawyer, W.R. "Fulminant Liver Failure in a Young Child Following Repeated
Acetaminophen Overdosing," (Special Article Review Presentation, Critical Assessment
and Original Abstract), Practical Reviews in Forensic Medicine and Sciences, Vol. 2.,
No. 6, February 2000, Oakstone Medical Publishing, Inc. from Bauer, M, et al., Journal
of Forensic Sciences, November 1999, Vol. 44, No. 6, pg. 1299-1303.

Sawyer, W.R. "Exposure to Contaminated Milk Presents 'Difficult Case' for Application
of Daubert Reliability Standard," (Special Article Review Presentation, Critical
Assessment and Original Abstract), Practical Reviews in Forensic Medicine and
Sciences, Vol. 2., No. 4, December 1999, Oakstone Medical Publishing, Inc. published
in Expert Testimony, Evidence, & Trial Consultants, October 1999, Vol. 7, Issue 10, pg.
3.

Sawyer, W.R. "The Extent of Postmortem Drug Redistribution in a Rat Model," (Special
Article Review Presentation, Critical Assessment and Original Abstract), Practical
Reviews in Forensic Medicine and Sciences, Vol. 2., No. 4, December 1999, Oakstone
Medical Publishing, Inc. from Hilberg, M.D., et al., Journal of Forensic Sciences,
September 1999, Vol. 44 No. 5, pg. 956-62.

Sawyer, W.R. "Potassium Nitrite Reaction with 11-Nor-Delta9-Tetrahydrocannabinol-9-
Carboxylic Acid in Urine in Relation to the Drug Screening Analysis," (Special Article
Review Presentation, Critical Assessment and Original Abstract), Practical Reviews in
Forensic Medicine and Sciences, Vol. 2., No. 3, November 1999, Oakstone Medical
Publishing, Inc. from Lewis, S.A., Journal of Forensic Sciences, September 1999, Vol.
44 No. 5, pg. 951-55.
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Sawyer, W.R. "GC/Mass Spectrometry Data from Fire Debris Samples: Interpretation
and Application," (Special Article Review Presentation, Critical Assessment and Original
Abstract), Practical Reviews in Forensic Medicine and Sciences, Vol. 2., No. 3,
November 1999, Oakstone Medical Publishing, Inc. from Wallace, J.R., Journal of
Forensic Sciences, September 1999, Vol. 44, No. 5, pg. 996-1012.

Sawyer, W.R. "Toluene Diisocyanate Colocalizes with Tubulin on Cilia of Differentiated
Human Airway Epithelial Cells," (Special Article Review Presentation, Critical
Assessment and Original Abstract), Practical Reviews in Forensic Medicine and
Sciences, Vol. 1., No. 12, August 1999, Oakstone Medical Publishing, Inc. from Lange,
R.W., et al., Toxicological Sciences, July 1999, Vol. 50, No. 1, pg. 64-71.

Sawyer, W.R. "Differential Diagnosis Methodology Accepted by U.S. Circuit Court of
Appeals," Practical Reviews in Forensic Medicine and Sciences, Vol. 1, No. 12, August
1999, Oakstone Medical Publishing, Inc. Referenced Literature: The Testifying Expert,
July 1999, Vol. 7, Issue 7, pg. 9 and Vol. 7, Issue 6, pg. 2.

Sawyer, W.R. "The Enigma of Arsenic Carcinogenesis: Role of Metabolism," (Special
Article Review Presentation, Critical Assessment and Original Abstract), Practical
Reviews in Forensic Medicine and Sciences, Vol. 1., No. 11, July 1999, Oakstone
Medical Publishing, Inc. from Goering, P.L., et al., Toxicological Sciences, May 1999,
Vol. 49, No. 1, pg. 5-14.

Sawyer, W.R. "Blood Alcohol Content Testimony," Practical Reviews in Forensic
Medicine and Sciences, Vol. 1., No. 11, July 1999, Oakstone Medical Publishing, Inc.
Referenced Literature: The Testifying Expert, June 1999, Vol. 7, Issue 6, pg. 9 and
Goldfrank’s Toxicologic Emergencies.

Sawyer, W.R. "Forensic Evaluation of Pulmonary Toxicity Attributed to Amiodarone,"
(Special Presentation), Practical Reviews in Forensic Medicine and Sciences, Vol. 1.,
No. 10, June 1999, Oakstone Medical Publishing, Inc. Literature Review Backer, et al.,
American Heart, Vol. 123 (6), June, 1992, PDR, 1999, et al.

Sawyer, W. R. "Fatal Ingestion of Paroxetine (Deroxatt TM)," (Special Article Review
Presentation, Critical Assessment and Original Abstract), Practical Reviews in Forensic
Medicine and Sciences, Vol. 1., No. 10, June 1999, Oakstone Medical Publishing, Inc.
from Tracqui, P., et al., Bulletin of The International Association of Forensic
Toxicologists, January 1999, Vol. 27, No. 1, pg. 9-10.
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Personal Information

Dr. Sawyer is a member of the Gulf Coast Swim Team as a distance swimmer and
completed several “Swim Around Key West” 12.5 mile ocean swim races in under six
hours. He is also a triathlete with the distinction of being a four-time Ironman. He loves
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